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18   HAMZEH:         Yes, so what’s up you bitch?
19
20   SHHAB:          Yes, I do not know anything, every day you have been going through a
21                   change. I do not know anything, man, because you did not tell me yet, this
22                   is better. Of course man, you have changed, you have totally changed. I
23                   thought to myself that Samy has changed, I mean, whatchmacallit, When
24                   you talked to me on Sunday, you said, whatchamcallit , I thought, he got
25                   an excuse, man, do you understand me? Today, I saw Rami today and I
26                   told him that Samy will give you the money which he owes you. He will
27                   come and give them to you.
28
29   HAMZEH:         Did he say how much?
30
31   SHHAB:          No, he did not say. He didn’t tell me anything; he told me that’s fine, I
32                   will see. Man, it is fucking cold.
33
34   HAMZEH:         If you are cold, button up your jacket.
35
36   SHHAB:          I should have brought a hat, man.
37
38   HAMZEH:         I have a hat.
39
40   SHHAB:          This is better, so that [UI], what’s his name? Do you follow me? So, they
41                   wouldn’t question why Samy and Shhab are together. Do you follow me?
42                   This is better.
43
44   HAMZEH:         [Yawning] yes, oh God, there is no god but God.
45
46   SHHAB:          Oh, Samy!




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 1
 2   HAMZEH:         It is getting closer.
 3
 4   SHHAB:          It is getting closer.
 5
 6   HAMZEH:         As much as I tell you I’m happy, I’m scared.
 7
 8   SHHAB:          Tell me the whole story from the beginning, man. How man, I do not
 9                   understand how you…
10
11   HAMZEH:         God willing, I will go there and I know some people who would manage
12                   to get me a weapon, God willing.
13
14   SHHAB:          Where would you go? To Jordan?
15
16   HAMZEH:         To Jordan.
17
18   SHHAB:          Ok, ok.
19
20   HAMZEH:         From Jordan, I will go to the [West] Bank, to Bethlehem.
21
22   SHHAB:          How would you go to the [West] Bank?
23
24   HAMZEH:         Via the bridge.
25
26   SHHAB:          Would they let you get in?
27
28   HAMZEH:         Of course, I have a passport, an American passport and they would let me
29                   in. Then I will go to Bethlehem and look for someone who would get me a
30                   weapon, God willing.
31
32   SHHAB:          From there in Bethlehem? Is he related to you?
33
34   HAMZEH:         Yes.
35
36   SHHAB:          Man, just be frank with me, let’s not keep on guessing, we put the
37                   telephones [in the car] and here we are walking.
38
39   HAMZEH:         I am telling you, I will get a weapon and hunt as many as I can by the will
40                   of God, I mean a number…till I die, I’ll keep on doing that till I die. [UI].
41
42   SHHAB:          Are you going to hunt soldiers or...
43
44   HAMZEH:         Of course.
45
46   SHHAB:          Machine gun?

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1
 2   HAMZEH:         By Almighty God, I’ll keep on shooting as much as I can, if I am caught,
 3                   of course, I am not going to let them catch me. If they try to catch me, I’ll
 4                   keep on shooting at them so they will shoot at me. Do you follow me?
 5                   Because if I get caught, by almighty God, by almighty God, I would be
 6                   tortured all my life, the rest of my life.
7
 8   SHHAB:          But why, Samy? You were not like this, what made you do this, and you
 9                   want to [UI]?
10
11   HAMZEH:         Your Lord, your Lord guides whoever He wants.
12
13   SHHAB:          Wow!
14
15   HAMZEH:         Yup.
16
17   SHHAB:          OK, how did you talk to your father and what did he say?
18
19   HAMZEH:         I talked to my father last year. I told him such and such and that’s what is
20                   going to happen. He told me to be patient until he finds a job because our
21                   situation was not good. At the beginning, he rejected the idea. Then he
22                   told me “I cannot stop you, even the Messenger said, it is forbidden to
23                   prevent anyone from heading to Jihad. “ My mother knew about the issue
24                   and she told me that what I was doing is forbidden, and it is a kind of
25                   infidelity and such and such. You know, my mother is worried about me.
26                   She started to cry and such. Anyways, yesterday, my father came and took
27                   me out, I mean, outside the house.
28
29   SHHAB:          Let’s sit down.
30
31   HAMZEH:         We talked.
32
33   SHHAB:          Okay, sit down here. We need to see your father, man.
34
35   HAMZEH:         We talked, and he told me…
36
37   SHHAB:          What did you talk about?
38
39   HAMZEH:         He told me to tell my mother that you are going to Jordan to get married.
40
41   SHHAB:          Okay.
42
43   HAMZEH:         I did that but she told me that I was lying. I told her, mother, whatever
44                   God wills, would happen. I mean I hope for the best.
45
46   SHHAB:          Did she cry?

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 1
 2   HAMZEH:         Yes, my biggest worry is my mother.
 3
 4   SHHAB:          And your sisters, what are they doing?
 5
 6   HAMZEH:         Nobody knows.
 7
 8   SHHAB:          Not even your brother-in-law?
 9
10   HAMZEH:         My brother-in-law knows.
11
12   SHHAB:          Would he help you?
13
14   HAMZEH:         Um.
15
16   SHHAB:          He has money, right?
17
18   HAMZEH:         Um. He is the one who will take me to the Bridge.
19
20   SHHAB:          He is the one who will take you to the Bridge? How would he do that?
21
22   HAMZEH:         In his car.
23
24   SHHAB:          From Jordan? What are you going to do now? You are travelling from
25                   here to Jordan.
26
27   HAMZEH:         Um.
28
29   SHHAB:          How long are you going to stay in Jordan?
30
31   HAMZEH:         In Jordan I will stay a week or two maximum. I’ll see my relatives and
32                   stay for a while. I’ll calm the situation, then…
33
34   SHHAB:          Oh, then you will go to the Bridge, to Palestine.
35
36   HAMZEH:         Yes.
37
38   SHHAB:          To the [West] Bank.
39
40   HAMZEH:         Pretending that I am there for tourism. I’ll go and I pray that God
41                   facilitates my affairs. If God facilitates my affairs to get to Gaza, I will go
42                   to Gaza.
43
44   SHHAB:          You will get there?
45


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 1   HAMZEH:         God willing, I’m saying if God facilitates my affairs, and if He does not, at
 2                   least I will buy a weapon and start hunting them. I am going there to do
 3                   something. I am not going there to fool around.
4
5    SHHAB:          But why don’t you go to Gaza? I mean you go to Gaza.
6
 7   HAMZEH:         I do not know, you cannot get to Gaza, Shhab. You need someone who
 8                   knows how to get you there. Someone who knows about such things,
 9                   instead of falling in the hands of spies. All of them are spies over there.
10                   The whole county cooperates with Israel there.
11
12   SHHAB:          Wow!
13
14   HAMZEH:         Yeah.
15
16   SHHAB:          Is your brother-in-law able to get you to Gaza?
17
18   HAMZEH:         How is he going to get me to Gaza?
19
20   SHHAB:          Does he know people over there since he is going to get you to
21                   Bethlehem?
22
23   HAMZEH:         Man, no., he will get me to the Bridge, man. The Bridge is on the border
24                   with Jordan.
25
26   SHHAB:          Are you going to the Bridge?
27
28   HAMZEH:         Yes the bridge between Jordan and Palestine.
29
30   SHHAB:          Oh, and later from the bridge, where would you go after that?
31
32   HAMZEH:         To Palestine, from Jordan to Palestine.
33
34   SHHAB:          Okay, you are going to Palestine, where in Palestine?
35
36   HAMZEH:         To Bethlehem.
37
38   SHHAB:          All the people of Bethlehem are Christians.
39
40   HAMZEH:         I know that, yes.
41
42   SHHAB:          Do you have relatives over there?
43
44   HAMZEH:         Yes, I have relatives.
45
46   SHHAB:          That means you are going to stay with your relatives over there.

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1
 2   HAMZEH:         Yes but it is a cover up, it is all cover up. I’ll be pretending that I am
 3                   staying and visiting my relatives. Then I will start, I will start searching
 4                   here and there amongst the people you totally trust. [For those] who are
 5                   able to get me to Gaza and those who can. If I cannot get to Gaza, I will do
 6                   it in the [West] Bank. I mean I am not going to return empty handed. I
 7                   mean, I am 100% sure that I am not coming back; do you follow me? As
 8                   if I am seeing death with my own eyes, God willing. I swear by God
 9                   Almighty, as if I see death with my own eyes.
10
11   SHHAB:          But, Samy, is that it? Have you made up your mind, I mean you will not
12                   change your mind.
13
14   HAMZEH:         For sure. Shall I tell you why?
15
16   SHHAB:          Yes.
17
18   HAMZEH:         First of all, I have a family. Second I can go there, unlike the guys who
19                   cannot go, do you follow me?
20
21   SHHAB:          I see.
22
23   HAMZEH:         I have an American passport and I can go.
24
25   SHHAB:          To Palestine.
26
27   HAMZEH:         Yeah. There are a lot of guys who would like to go but they cannot.
28
29   SHHAB:          From here.
30
31   HAMZEH:         From here and Jordan and everywhere.
32
33   SHHAB:          From Jordan it is difficult to go.
34
35   HAMZEH:         I’m telling you.
36
37   SHHAB:          Even if you are Jordanian, you cannot go.
38
39   HAMZEH:         I’m telling you, yeah. It is difficult, but God willing, I do not want
40                   anything from this life other than killing as much as I can and die.
41
42   SHHAB:          To be a martyr. But, Samy, what would happen to your family here, your
43                   mother and your father?
44
45   HAMZEH:         My family, my father and my mother. My father has a job and thanks be to
46                   God, the Lord of the Universe. If they want to go back to Jordan, they

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 1                   would go to Jordan. I ask you to keep on visiting my family and check on
 2                   them. I mean if they do need anything, I mean… they won’t need money--
 3
 4   SHHAB:          I understand.
 5
 6   HAMZEH:         --Anything.
 7
 8   SHHAB:          I understand, [If they need] something, I do understand.
 9
10   HAMZEH:         Yeah.
11
12   SHHAB:          I understand what you are saying.
13
14   HAMZEH:         God willing, I have given up on life, all of it. I have given it up and I do
15                   not want this life. I do not want money, living. I have changed once and
16                   for all overnight.
17
18   HAMZEH:         Man, you have changed suddenly. Whenever I talk to you, you come up
19                   with a different idea, once you would tell, “I would do this project, I want
20                   to get a license,” and so on
21
22   HAMZEH:         All these projects were to cover up.
23
24   SHHAB:          The Islamic State---
25
26   HAMZEH:         All of this was a cover up, cover up, cover up, so that I would look like
27                   I’m searching and applying for things in the country. Do you follow me?
28
29   SHHAB:          Yes.
30
31   HAMZEH:         So that it doesn’t give the impression that I don’t care, or things like that.
32                   So, when they look at me, they would think, “he is working, and caring
33                   and doing, and applying which indicates that he is looking forward to a
34                   good life ahead.” Do you understand me?
35
36   SHHAB:          Yeah.
37
38   HAMZEH:         So now, I’m pretending to be a visitor. I mean, they will let me in for a
39                   visit.
40
41   SHHAB:          They will let you enter for a visit. That’s the easiest thing.
42
43   HAMZEH:         They will let me in for a visit because I have an American passport, but if
44                   a son of a bitch here or there spills the beans, I will be arrested for sure --
45
46   SHHAB:          But you should not tell anyone.

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 1
 2   HAMZEH:         --I will be arrested 100%--no one knows.
 3
 4   SHHAB:          Even in Jordan, do not tell anyone when you go there.
 5
 6   HAMZEH:         Yeah, It is impossible because Jordan is more dangerous than here.
 7
 8   SHHAB:          Yeah.
 9
10   HAMZEH:         If you say anything in Jordan; it is very dangerous--
11
12   SHHAB:          Yeah.
13
14   HAMZEH:         --as I’m telling you.
15
16   SHHAB:          Yeah, be careful.
17
18   HAMZEH:         I mean here you are far away and relatively safe but in Jordan, they would
19                   jail you. Shhab, God willing, God willing I want God to make me achieve
20                   what I am thinking about. Thanks be to God, I perform my prayers and
21                   even pray more than is required.
22
23   SHHAB:          You started to pray?
24
25   HAMZEH:         Yeah, I have been praying long time ago.
26
27   SHHAB:          You did not tell me that you were praying, you have been hiding that from
28                   me. But now, I do understand.
29
30   HAMZEH:         You see, I pray for God and not to show off. Praying is for God.
31
32   SHHAB:          No, I mean you were still going out and so forth and not telling me, but
33                   then you told me, so I changed my mind and thought I shouldn’t tell you.
34
35   HAMZEH:         I’m telling you I did repent and now as I am telling you I may go out, play
36                   and do things. All of it is a cover up so nobody would suspect so none
37                   would suspect, I mean to look like I’m still a bad unemployed dude.
38
39   SHHAB:          Yeah, I do understand.
40
41   HAMZEH:         But, deep inside me, I am at peace with myself and with my God. You
42                   know, Shhab, I am telling you that because I trust you and you are my
43                   friend; but nobody knows about this issue.
44
45   SHHAB:          That’s why I wanted to sit down with you and know from you talk to you
46                   and I would know from you.

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1
 2   HAMZEH:         I told you everything I have, Shhab. I told you everything. God willing, I
 3                   have three options when I get over there.
4
5    SHHAB:          What are they?
6
 7   HAMZEH:         The first option, which I like best, is to get to Gaza and join the fight with
 8                   the guys there.
 9
10   SHHAB:          With Hamas?
11
12   HAMZEH:         If things do not work out, I’ll either buy a handgun or find an explosive
13                   belt.
14
15   SHHAB:          Wow, an explosive belt?
16
17   HAMZEH:         M-hum.
18
19   SHHAB:          You would wear an explosive belt?
20
21   HAMZEH:         M-hum.
22
23   SHHAB:          Wow!
24
25   HAMZEH:         By God Almighty.
26
27   SHHAB:          By God, Samy. I don’t know, man! Wow! You mean you would wear an
28                   explosive belt and attack a bus or, I mean how? ...
29
30   HAMZEH:         A bus or a restaurant or they have a celebration, where they would park
31                   their cars and so on, their gatherings and places. The important thing is not
32                   to die in vain.
33
34   SHHAB:          You mean that you are certainly going. Did the guy who is over there in
35                   Palestine, told you to come, right?
36
37   HAMZEH:         Yes.
38
39   SHHAB:          He told you to come and have everything ready. I mean they know what
40                   you are going to do? I mean he will not tell you to come since you do not
41                   live next door to him; he is not your neighbor, then later forget it, don’t
42                   come, right?
43
44   HAMZEH:         God willing, and may God save us from the spies.
45
46   SHHAB:          Don’t tell anyone. Who knows about this other than me?

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 1
 2   HAMZEH:         I told you.
 3
 4   SHHAB:          I, you and whatchamacallit.
 5
 6   HAMZEH:         You, my father, my brother-in-law, and ‘Umar?
 7
 8   SHHAB:          ‘Umar, our ‘Umar?
 9
10   HAMZEH:         ‘Umar.
11
12   SHHAB:          ‘Umar won’t talk. Right?
13
14   HAMZEH:         No, no, he won’t.
15
16   SHHAB:          Why did you tell ‘Umar?
17
18   HAMZEH:         Because ‘Umar has relatives in Gaza.
19
20   SHHAB:          Yes.
21
22   HAMZEH:         He has relatives in Gaza; I told him the whole story. I told him that if I can
23                   get to Gaza. He told me that he does not think I can get to Gaza and may
24                   God grant you forgiveness. He gave me their addresses and telephone
25                   numbers.
26
27   SHHAB:          That means ‘Umar did what he is supposed to. He is a good man.
28
29   HAMZEH:         But you should not talk to him about this issue.
30
31   SHHAB:          I will not even talk to your father about this issue.
32
33   HAMZEH:         Because I told him that nobody knows, do you understand, I told him that
34                   no one knows.
35
36   SHHAB:          I have not seen ‘Umar in a long time, a long time and I will not talk to him
37                   about this or anything else, man.
38
39   HAMZEH:         My stay over there might be a long one until the mission is accomplished.
40
41   SHHAB:          Do you mean that you are going to stay in Palestine for a while?
42
43   HAMZEH:         Not for long but until I can manage.
44
45   SHHAB:          With what? The explosive belt?
46

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 1   HAMZEH:         By a handgun, or go to Gaza; I wish I can go to Gaza, go to Gaza, I will do
 2                   my best to get there. You will remember me and you would say that he is
 3                   my friend. Can you imagine how happy I am? By God, I am scared of one
 4                   thing; I might be arrested.
 5
 6   SHHAB:          How would you get arrested?
 7
 8   HAMZEH:         You never know.
 9
10   SHHAB:          I don’t think so.
11
12   HAMZEH:         Maybe at the borders.
13
14   SHAHB:          How would you get arrested on the borders?
15
16   HAMZEH:         If they get the word about me [laughing] I’ll be known to them. You never
17                   know.
18
19   HAMZEH:         Every day--
20
21   SHAAB:          I do not think so.
22
23   HAMZEH:         --I pray to God to facilitate my affairs, to facilitate my affairs and I pray
24                   that God be with me. God willing, God willing, He will be with me.
25
26   SHHAB:          You do not talk like the old Samy I used to talk to…Do you understand
27                   what I’m saying? You are not the same, you have changed a lot. Wow,
28                   you do not talk like the old Samy.
29
30   HAMZEH:         When someone knows that he will die soon, imagine the situation. One
31                   knows that he would die soon, get martyred or jailed; how would his life
32                   be? How would he think? That’s it, I have totally changed, Shhab. God
33                   willing and thanks be to God, the Lord of the Universe that has guided me
34                   to this path.
35
36   SHHAB:          Who has guided you to this path? How did you change overnight?
37
38   HAMZEH:         As I told you, as I told, I started praying, a prayer and invocation and I
39                   started to cut down on going out. The first thing God has made me quit my
40                   job. Do you see how that turned out to be good? When I started to pray,
41                   the first thing, God made me quit my job. Do you believe that?
42
43   SHHAB:          Yeah, at Casablanca.
44
45   HAMZEH:         Yeah, God made me quit my job totally. When I quit my job, I cut down
46                   on going out and women…Then I quit all of them at the same time. As for

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 1                   weed, I was thinking about everything. I started thinking about the weed I
 2                   used to smoke. I started to cut down on smoking weed, then I quit cold
 3                   turkey. After I stopped smoking weed, Shhab, I started reading the Quran.
 4                   Whenever I read the Quran, I felt my body shaking and I develop goose
 5                   pumps. I do not lie to you, my body shakes when I read the Quran. I
 6                   started reading the Quran little by little and my heart became pure and at
 7                   peace, at peace. You see, from what I was involved in to only one thought
 8                   which is to go there and get martyred. You see, Shhab? Glory be to God,
 9                   glory be to God. God has facilitated all my affairs...
10
11   SHHAB:          How?
12
13   HAMZEH:         I convinced my father and…
14
15   SHHAB:          When you first talked to your father, what did he tell you, frankly?
16
17   HAMZEH:         It was last year as I told you. He postponed this topic. He told me to wait
18                   until January. I talked to him last April--
19
20   SHHAB:          Ha, ha.
21
22   HAMZEH:         -- he asked me to wait until January when we’ll talk about the issue, and
23                   we need your work, and we want you to spend on us, and we need a job,
24                   and I’m not working, and this type of talk. We kept saving money after my
25                   father started working. He came up with different excuses. He started
26                   asking me to work, and take this and do that--
27
28   SHHAB:          And it was your father who [UI].
29
30   HAMZEH:         Yeah, exactly. Later, things were fine, and I kept working at William
31                   Ho’s. I kept working at William Ho’s, and [UI] I went to him once and
32                   told him that and I told him this and that and [UI], so he [UI]. He told me:
33                   “By God, Samy, I don’t know what to tell you --
34
35   SHHAB:          Hmm.
36
37   HAMZEH:         -- may Allah be with you”. By God, that’s what he told me. He told me:
38                   “May God be with you”.
39
40   SHHAB:          You’re his martyred son.
41
42   HAMZEH:         O Lord, O Lord. I hope to reach such level, O Lord, I don’t want anything
43                   in this world.
44
45   SHHAB:          I heard your brother-in-law is a good man.
46

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1    HAMZEH:         Oh, yeah.
2
3    SHHAB:          I haven’t seen him yet.
4
 5   HAMZEH:         Oh, yeah. He is a good man. He told me, Samy, I swear to Almighty God,
 6                   he told me that no one will take you to the bridge except me, and if you
 7                   refuse the amount that I will be giving you, you should know that I’ll be
 8                   upset with you, and I’ll be seriously upset with you.
 9
10   SHHAB:          [UI] money [UI].
11
12   HAMZEH:         He said he’ll give me money.
13
14   SHHAB:          Money to buy a weapon, right?
15
16   HAMZEH:         Yes. He told me that I’m like you, and my thoughts are the same as yours,
17                   he said. He told me: “But you can, while I can’t”--
18
19   SHHAB:          He…
20
21   HAMZEH:         -- He said: “Because I can’t, I would like to help. Let me help”. I told him
22
23   SHHAB:          It means that he’s also religious.
24
25   HAMZEH:         Yeah, yeah. He said: “Let me help”. I told him: “Go ahead”. I’ll leave it to
26                   God’s will, Shhab. By God, I will miss you so much, by God. O Lord
27                   make it easy for me.
28
29   SHHAB:          Did you make a reservation?
30
31   HAMZEH:         Yes I did without telling him.
32
33   SHHAB:          Who?
34
35   HAMZEH:         My father [laughing.]
36
37   SHHAB:          So you were pretending to travel with your sister and brother-in-law
38                   [laughing.]
39
40   HAMZEH:         Yesterday, he told me that—no, it was the day before yesterday. He said,
41                   “Samy if you don’t know someone and you havened secured yourself yet,
42                   I will not let you go. I said how would you not let me go? He said I will
43                   not let you go. I said how you would not let me go; at that point I pulled
44                   the ticket and showed it to him. He looked at it [Laughing].
45
46   SHHAB:          Wow, he was shocked. That was it. No way out…

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 1
 2   HAMZEH:         No way at all, no way...I though [UI] my mother.
 3
 4   SHHAB:          It is hard when it comes to mother, man.
 5
 6   HAMZEH:         Oh God! I don’t know how I will bid farewell to her. [UI.]
 7   SHHAB:          So, Samy, you want to travel to Jordan with your sister and brother-in-law,
 8                   and they want to stay in Jordan…Your sister lives in Jordan, right?
 9
10   HAMZEH:         In Kuwait.
11
12   SHHAB:          So he will be going to Jordan as a visit only?
13
14   HAMZEH:         Yes.
15
16   SHHAB:          And you will leave them in Jordan and go?
17
18   HAMZEH:         I will stay in Jordan for some time to see all my relatives.
19
20   SHHAB:          You will call me when you are in Jordan?
21
22   HAMZEH:         God willing.
23
24   SHHAB:          Just to say “hi” to me. Would you be calling me when you are in
25                   Palestine?
26
27   HAMZEH:         God willing.
28
29   SHHAB:          Really? And from there, you can go to Gaza.
30
31   HAMZEH:         God willing, Oh God.
32
33   SHHAB:          If you cannot go to Gaza, you would get a machine gun and start
34                   shooting….
35
36   HAMZEH:         I will start spraying them. Yes I will be a suicide attacker [Laughing].
37
38   SHHAB:          That is difficult, man.
39
40   HAMZEH:         Yeah. It is difficult, it is difficult. I mean I expect if they try to arrest me
41                   and attack me with machine guns, I will fight until I get shot at. I will not
42                   let them arrest me, do you understand?
43
44   SHHAB:          Yeah.
45
46   HAMZEH:         I will never let them arrest me. That’s because their prison is torture

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 5   SHHAB:          Samy, are you determined to go and you will not change your mind.
 6
 7                   [Silence]
 8
 9   SHHAB:          So I am talking with a martyr now.
10
11   HAMZEH:         God willing, may God grant me martyrdom, may God grant me
12                   martyrdom.
13
14   SHHAB:          I mean when you go to the [West] Bank, you’ll stay with your relatives,
15                   such as your maternal cousin, or paternal cousin--
16
17   HAMZEH:         At my maternal aunt’s home.
18
19   SHHAB:          Your maternal aunt’s home. Do they know about the issue?
20
21   HAMZEH:         No.
22
23   SHHAB:          So, you’re going to their home, but they’re unaware about it?
24
25                   [Silence]
26
27   SHHAB:          But how can you go there, Samy, while they don’t know about it?
28
29   HAMZEH:         But how would they know? I mean, do you want me to tell them on the
30                   phone that I’ll do such and such thing there?!!
31
32   SHHAB:          No, but once you go there, I mean, once you’re by them, you should talk
33                   to them.
34
35   HAMZEH:         Of course.
36
37   SHHAB:          Yes, this is what I meant rather than going there, and they don’t know
38                   about it.
39
40   HAMZEH:         No, they don’t know about it now, no.
41
42   SHHAB:          No, they don’t know now. Wow! [Pause] You’ll go with your maternal
43                   cousins; you would take some of them with you. Samy, do you know how
44                   to shoot?
45



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 1   HAMZEH:         What is shooting?! Is it difficult? The issue is that if you have a weapon in
 2                   the [West] Bank, Palestine and you use it and kill some people, you should
 3                   know that you are dead. But, if you arrive to Gaza to fight, there are others
 4                   who would fight with you, do you read me? But if you are in Palestine,
 5                   you would be fighting alone.
 6
 7   SHHAB:          Hamas is the group that fights in Gaza.
 8
 9   HAMZEH:         Yeah, the idea is, if I am with Hamas, there is an army behind me, an army
10                   that fights with me, but if I go to Palestine, it’s like I’m fighting against a
11                   whole army.
12
13   SHAAB:          It’s like when the guys are going to fight.
14
15   HAMZE:          Yeah, exactly. Those who are stabbing, running over, and doing things are
16                   fighting an army.
17
18   SHHAB:          Yeah.
19
20   HAMZEH:         On their own. No one is with them.
21
22   SHHAB:          Yeah, on their own.
23
24   HAMZEH:         Yeah.
25
26   SHHAB:          But it is different in Gaza, there’s what his name? Hamas.
27
28   HAMZEH:         There are people who provide training in Gaza; there are armed people
29                   and others who fight. In Palestine there are several groups of resistance,
30                   several resistance groups in Jerusalem and the West Bank. But I do not
31                   want to join them because I am afraid that there are spies who would
32                   snitch about me.
33
34   SHHAB:          Who are they?
35
36   HAMZEH:         There are a lot of spies . . .
37
38   SHHAB:          Where? In the [West] Bank?
39
40   HAMZEH:         Oh yeah, oh yeah. There are Palestinians who cooperate with Israel.
41
42   SHHAB:          Why don’t you go to them, the guy whom you talked with; the one who
43                   would get you a weapon, why he does not take you to Gaza?
44
45   HAMZEH:         How would I go? He told me if we can manage, we will flee.
46

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 1   SHHAB:           Who is he? Is he your cousin?
 2
 3   HAMZEH:          No, he is a friend of my cousin. [Pause] It’s all planning. At the beginning,
 4                    last year when I told you…last year, we were supposed to go from Egypt;
 5                    however, all the tunnels were destroyed. They didn’t spare a tunnel. They
 6                    filled it with water, I mean like a sea--
 7
 8   SHHAB:           Yeah.
 9
10   HAMZEH:          They turned it into a sea.
11
12   SHHAB:           They cut it.
13
14   Hamzeh:          They cut it apart.
15
16   SHHAB:           They cut it.
17
18   HAMZEH:          Not even an ant can pass from there.
19
20   SHHAB:           They isolated Gaza, man. When you reach Palestine, you can go to Gaza.
21
22   HAMZEH:          God willing.
23
24   SHHAB:           [UI] Palestine [UI]. You can enter Gaza from there.
25
26   HAMZEH:          M-hum.
27
28   SHHAB:           Am I right or not?
29
30   HAMZEH:          Yeah. [Pause] God willing I get in.
31
32   SHHAB:           By God, that’s difficult.
33
34   HAMZEH:          Very difficult.
35
36   SHHAB:           Do you mean that if your plans do not work, will you think of coming
37                    back and that’s it.
38
39   HAMZEH:          If I get to Gaza, the Jordanian and the American passports will be
40                    cancelled and I will be under surveillance from the whole world, from the
41                    whole world.
42
43   SHHAB:           Wow!
44
45   HAMZEH:          Oh, yeah. I’ll be under surveillance by the whole world. I mean, if you
46                    leave the country, you’ll be chased either by the Jordanian Government, or

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 1                   Egypt, or chased by…The bastard Arabs help them. The Arabs themselves
 2                   help them out, and this is what upsets you nowadays: How do you as an
 3                   Arab and a Muslim help out the Jews?!! How? I don’t know.
 4
 5   SHHAB:          But what I’m saying, Samy, is I mean, we slaughter and kill one
 6                   individual, and that’s it, while they slaughter a million people, do you
 7                   follow me? They tell you, you kill one individual, they slaughter a million,
 8                   and that’s why some say let’s not engage in war activity.
 9
10   HAMZEH:         No, to the contrary. Engage in war. To the contrary, this might scare the
11                   Jews. The Jews are scared of that. You know, the [UI] Palestinians who go
12                   out and kill…If everyone kills a Zionist--
13
14   SHHAB:          Yeah.
15
16   HAMZEH:         If we talk about 25% of the Palestinian population attack the Jews, that’s
17                   it. That’s the end of the Jews.
18
19   SHHAB:          Hmm.
20
21   HAMZEH:         Their population is small, not big. They are scared of such thing. They’re
22                   cowards. Let them kill millions.
23
24   SHHAB:          They keep killing anyway.
25
26   HAMZEH:         They keep killing. I mean, the living conditions are bad anyway, and if the
27                   war breaks out, if the war breaks out, Israel is the first one who would be
28                   scared. They would say that we’re the ones who built, secured, and we
29                   made this land, and once the war breaks out, everything would be
30                   destroyed. This is how they think. People would be worried to venture out
31                   and visit someone. People…The Jews are scared to venture into the streets
32
33   SHHAB:          Wow!
34
35   HAMZEH:         They’re scared to walk on the streets.
36
37   SHHAB:          Wow!
38
39   HAMZEH:         A lot of people are leaving. A lot of them are leaving.
40
41   SHHAB:          How do you know?
42
43   HAMZEH:         Oh yeah, a lot of Jews are leaving.
44
45   SHHAB:          Oh, Jews?
46

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 1   HAMZEH:         Jews.
 2
 3   SHHAB:          Leaving Israel?
 4
 5   HAMZEH:         Fleeing, yes.
 6
 7   SHHAB:          Wow!
 8
 9   HAMZEH:         They’re fleeing.
10
11   SHHAB:          I mean…
12
13   HAMZEH:         It’s getting close, Shhab, by God it’s getting close. It’s getting very close
14
15   SHHAB:          I cannot tell you anything, you made up your mind, you are determined
16                   and that you will not come back and that’s it. I can’t tell you a thing. You
17                   made up your mind. What was I going to tell you, Samy? By God it’s
18                   hard.
19
20   HAMZEH:         Let me tell you something, Shhab, which is better? To be a martyr and go
21                   straight to Paradise or lead a shitty life like this? Which one is better?
22
23   SHHAB:          [UI], man. As I told you, your way of thinking is different, man and you
24                   know that, man.
25
26   HAMZEH:         [UI].
27
28   SHHAB:          Your family, man, your mother, man. Do you follow me, Samy?
29
30   HAMZEH:         Allah will take care of my family. [UI] Whatever happens, happens
31
32                   [Long pause]
33
34   SHHAB:           Do you have the strength to use an explosive belt?
35
36   HAMZEH:         By God, yes. When one sees the paradise with his own eyes, he would do
37                   anything to go to paradise.
38
39   SHHAB:          Frankly, what do you wish for?
40
41   HAMZEH:         I would love to fight and kill them, kill them. I’ll be a dog, if I tell that I
42                   am scared of death. I am not scared of death, I am not scared of death, but
43                   I don’t want to die without doing anything. Do you understand?
44
45   SHHAB:          Does that mean you are determined and made up your mind?
46

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 1   HAMZEH:         100%, death does not mean anything for me, nothing at all because I know
 2                   where I will go, God willing, God willing what better thing one can wish
 3                   for? [UI].
 4
 5   SHHAB:          Yeah, man. It’s hard, man. Your family and…
 6
 7   HAMZEH:         Allah won’t forget them.
 8
 9   SHHAB:          [UI]. Do you follow me? I mean, it’s hard. It’s not easy, man. [UI].
10
11   HAMZEH:         It’s really hard, but this is the right thing. The one who walks…It’s two
12                   paths, two paths. Life path is divided into two: The ones who struggle in
13                   life and make an effort in life to reach paradise, and [UI] those who would
14                   end up in hell. The third group goes straight to paradise, and that’s the
15                   easiest way. Jihad is a duty, and you know that Jihad is a duty. This is a
16                   known fact. I have my father and a brother who work, while my sisters are
17                   married. Praise be to Allah, all is good, so why should I suffer and get
18                   tired in this life by committing adultery, drink, do drugs, commit sins
19                   while living happily in this world? Why? I don’t want this life. Allah
20                   created you to worship Him, Allah created you to worship Him.
21
22   SHHAB:          [UI] to fast and pray, do you follow me?
23
24   HAMZEH:         [UI] those who are daring, Shhab. The ones who are daring are the ones
25                   who say it.
26
27   SHHAB:          Hmm.
28
29   HAMZEH:         Those who are daring are the ones who say it. Those who are scared and
30                   [UI], no, they would say they want to live and enjoy their lives, and I, and
31                   I, and I, and I would like to marry, and [UI] and on and on. Such a person
32                   would struggle and commit sins in life. Those martyrs are ranked as the
33                   best in paradise, and you know [UI].
34
35   SHHAB:          Yeah.
36
37   HAMZEH:         I mean, you haven’t committed sins, while you’re living with the best
38                   people in paradise. “Think not of those who are slain in Allah’s way as
39                   dead. Nay, they live, finding their sustenance in the presence of their
40                   Lord”.
41
42   SHHAB:          You are my brother and my friend and I wish you the best of luck, you
43                   have made up your mind and that you will go to Jordan and then to
44                   Palestine and if you cannot go to Gaza, you will start shooting in the
45                   [West] Bank. Is this true or not?
46

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 1   HAMZEH:         [UI].
 2
 3   SHHAB:          Did your brother-in-law tell you that he will support you financially? Is he
 4                   capable financially? … He has money. [Silence] meaning you are set?
 5
 6   HAMZEH:         Glory to God.
 7
 8   SHHAB:          That’s it. There is no backing down, Samy? You are determined.
 9
10   HAMZEH:         [Laughing] Oh, my dear Shhab! Do you know that a martyr can intercede
11                   for 70 members of his family? Oh, my dear!
12
13   SHHAB:          Does any of the guys around here know? You should not tell anyone.
14
15   HAMZEH:         Nobody knows, I told you one thousand times that nobody knows. If the
16                   word gets out, and I get arrested? Whom would I suspect? You, ‘Umar,
17                   may father and my brother-in-law would be the suspects.
18
19   SHHAB:          Right, nobody should know other than us. [Pause] There’s an uprising in
20                   Palestine now.
21
22   HAMZEH:         Really?
23
24   SHHAB:          Really.
25
26   HAMZEH:         [UI] Palestine.
27
28   SHHAB:          Anyway, when you leave through the airport here, what would you tell
29                   them? You’re traveling to Jordan. Do they ask, or they don’t ask
30                   questions?
31
32   HAMZEH:         If you carry the American passport, my dear, they don’t ask you anything.
33                   You won’t be questioned except in Israel. Israel is where [UI].
34
35   SHHAB:          Even if you carry an American passport?
36
37   HAMZEH:         It wouldn’t work with them, whether that be American passport, Canadian
38                   passport, or from any other part of the world. It doesn’t make a difference
39                   unless you are a Jew. If you carry an Israeli passport, they stamp it and
40                   you get in; however, if you carry any other passport, they would question
41                   you. I went to Palestine four times before this one. They questioned me
42                   and asked me if I want to create trouble. No, I’m here to visit. Are you
43                   sure? I said: Yes, I’m sure. They said: You should know that we’ll keep an
44                   eye on you [Laughing]. By God, all my life [UI].
45
46   SHHAB:          Wow!

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 1
 2   HAMZEH:         I walk towards them as a young American guy wearing pants and place
 3                   the hat like this [Laughs].
 4
 5   SHHAB:          Wow! By God, they talk [UI] like this.
 6
 7   HAMZEH:         No, no…Yes, by God, but they ask because you’re an Arab. Bottom line:
 8                   You’re an Arab, and you’re there to create trouble. He’ll tell you that
 9                   you’re there to stir trouble. You would tell him: No, I’m here as a tourist.
10
11   SHHAB:          And it’s possible they won’t tell you anything because you’ve been there
12                   four times
13
14                   [Hamzeh is chatting, laughing with UF]
15
16   SHHAB:          What’s going on with her?
17
18   HAMZEH:         [UI].
19
20   SHHAB:          [UI]. Let’s go and bring cigarettes.
21
22   HAMZEH:         [UI].
23
24   SHHAB:          [Laughs] [UI]. [Pause] Allah [UI].
25
26   HAMZEH:         I have a maximum of five months to live.
27
28   SHHAB:          Five months?
29
30   HAMZEH:         At most.
31
32   SHHAB:          I mean, you’ll go there, and in five months, you would kill yourself and
33                   kill and [UI].
34
35   HAMZEH:         God willing. Look: If you have a weapon, you won’t be able to kill more
36                   than five people.
37
38   SHHAB:          Why?
39
40   HAMZEH:         Why?!! Because you walk in…They always form groups, and they don’t
41                   walk alone. They’re cowards, and they don’t walk by themselves. They
42                   walk in groups. You go shoot one, two, three, four, five, but someone
43                   would shoot back at you.
44
45   SHHAB:          Yeah.
46


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 1   HAMZEH:         Because you can’t. I mean, they’ll be busy talking to each other when you
 2                   start shooting at them, but someone would end up shooting at you. So
 3                   much so for using a weapon, or you can hide, open fire on them, and then
 4                   flee the scene. That’s hard, that’s very hard because once the shooting
 5                   starts, the entire Israeli Army would be there.
 6
 7   SHHAB:          Aircrafts and so on.
 8
 9   HAMZEH:         All
10
11   SHHAB:          Go ahead, that’s better.
12
13   HAMZEH:         But if you use an explosive belt, you can kill more than 150.
14
15   SHHAB:          With an explosive belt?
16
17   HAMZEH:         The belt.
18
19   SHHAB:          You wear it and you get into a store [?]
20
21   HAMZEH:         You get in and blow it up.
22
23   SHHAB:          Thus, you have to get to Israel.
24
25   HAMZEH:         Israel, Tel Aviv, I can get to Tel Aviv, I have been in Tel Aviv more than
26                   once.
27
28   SHHAB:          If you wear an explosive belt and go to Tel Aviv and blow up yourself in
29                   Tel Aviv.
30
31   HAMZEH:         Blow up myself in Tel Aviv. But it is better to be with Hamas because you
32                   can kill the largest number.
33
34   SHHAB:          With the army of Hamas.
35
36   HAMZEH:         Exactly, exactly.
37
38   SHHAB:          Maybe, it will work out and you would join Hamas.
39
40   HAMZEH:         God willing, God willing, it is all considered martyrdom even if you stab
41                   someone and get killed, you are a martyr.




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43   HAMZEH:         So, it’s said that the best thing in life is martyrdom. Martyrdom is when
44                   you put your mind together and forget all this killing and forget all this
45                   slaughtering, and fight the enemy instead, and that’s Israel. Do you follow
46                   me? The only State that should be fought is Israel. Fighting Israel is a




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1                    must, and that’s the true Jihad. As for going to Syria…There are a lot of
2                    guys who were fooled, I’m telling you, there are a lot of guys who are
3                    being fooled, and they keep fighting each other: Egyptian Army, Libyan
4                    Army, army…Syrian Army, this group and that group plus Sunnis and
5                    Shiites. They are all [UI] each other,--
6
7    SHHAB:          Yeah, yeah, yeah.
8
9    HAMZEH:         -- Shhab.
10
11   SHHAB:          That’s true. We see that.
12
13   HAMZEH:         They’re [UI] each other. They play around with all those groups, man.
14                   They play around with them, and it will happen at the end, it will happen
15                   at the end. [UI] me Shhab when I tell you that Hamas is right. Allah was
16                   with Hamas. Allah was helping Hamas. Allah sent the angels to fight side
17                   by side with them, angels were in the tunnels and things like that, and they
18                   brought water for them. Didn’t you see that in the news?




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10   HAMZEH:      Also, this will motivate a lot of people, Shhab. An American Citizen went
11                to fight and was martyred. You’ll see how many people would do such
12                thing after me.




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17   HAMZEH:         How are you?

18   SHHAB:          What happened? You look perplexed? What’s wrong? Rami called me
19                   and told me he wanted to meet you concerning the money. I decided to see
20                   you before Rami come over, you know what I mean? What?

21   HAMZEH:         [UI].

22   SHHAB:          Let’s stay here, where are you going? What happened?

23   HAMZEH:         My mom got sick and went to the hospital--

24   SHHAB:          [OV] when man?

25   HAMZEH:         The day before yesterday- yesterday morning. I swear to God the
26                   Almighty… and my father left the house.

27   SHHAB:          And. . . .

28   HAMZEH:         My mom was admitted to the hospital—

29   SHHAB:          [OV] how is she doing now?

30   HAMZEH:         --the doctors say she is upset. She is upset.

31   SHHAB:          It is difficult for your mom, man. I mean it is not easy for her. You
32                   understand me? You know how it is? It is not an easy thing, O’ Samy. It is
33                   difficult for your family, but uh, what would they do, I mean?



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 1   HAMZEH:         My dad got upset and left the house because of my mom, not because of
 2                   me.

 3   SHHAB:          Huh?

 4   HAMZEH:         He says I swear I don’t mind if you want to go, just go, may God be with
 5                   you; it is just for your mom--

 6   SHHAB:          [OV] well, Samy I understand you. It is normal for your mom to… I
 7                   mean, she is your mother, you know what I mean? And, she knew about
 8                   that thing, she was not supposed to know, but you already told her, you
 9                   understand? She is just…

10   HAMZEH:         I reserved the ticket; and now if I don’t go I will lose the ticket. [Traffic
11                   noise] and Rami wants 300 plus from me.

12   SHHAB:          So you changed your mind?

13   HAMZEH:         I want to go, I want to go but I don’t want to cause harm to my mom.

14   SHHAB:          Where is your mother?

15   HAMZEH:         My mom is at home.

16   SHHAB:          Is she okay?

17   HAMZEH:         Uh, in bed; she’s been in bed for two days.

18   SHHAB:          Tsk, tsk, you calm her down. Talk to her normally, normal talk; tell her
19                   everything is perfect and… you understand me? And she will be okay,
20                   your mom. You know how.

21   HAMZEH:         I don’t want my mom to die because of me, O’ Shhab. I swear I don’t
22                   want her to die because of me--

23   SHHAB:          [OV] Well, it is up to you. You know more about this issue than me.

24   HAMZEH:         I want to see—

25   SHHAB:          [OV] what did your father tell you?

26   HAMZEH:         My father told me, like I told you, he told me if you want to go, may God
27                   be with you and I, I mean, I am truly sad… the other time, my brother-in-
28                   law told me I have never seen your father crying like that. I swear to God
29                   the Almighty, Shhab! He told me this is the first time I have ever seen
30                   your father cry like that. I told him but what is the solution now? I mean,
31                   I… we reserved the tickets and have done everything. I am traveling 100%
32                   and everything is confirmed. He told me I swear Samy, if I were in your
33                   shoes, I would postpone it.


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 1   [00:08:50]

 2   SHHAB:             Postpone it and then after a while, you try to travel and your mother get
 3                      sick one more time, you mean?

 4   HAMZEH:            I don’t know what to do, Shhab!

 5   SHHAB:             [OV] you- you- what do you feel in your heart?

 6   HAMZEH:            In my heart, I…even they…to begin with, even the group told me if your
 7                      family is not approving, it won’t be… I mean, it won’t- won’t be
 8                      considered in the balance of your good deeds. It won’t be rewarded. I want
 9                      to keep trying to convince them. Today my mom got up from bed and my
10                      dad and I we sat.

11   SHHAB:             Huh.

12   HAMZEH:            And my brother-in-law was present.

13   SHHAB:             What did you tell them?

14   HAMZEH:            They said- my dad asked me what- what- what did you decide? I looked at
15                      my mom like that, she started shaking. Once I looked at her, I swear to
16                      God!

17                      [Background noise]

18   SHHAB:             Well, you- you- if you postpone, you can’t postpone. You either do it… I
19                      mean if you don’t want to do it, that’s it. You will never do it. You know
20                      what I mean? Otherwise, if you postpone it you would harm your mother,
21                      or you… may I ask you a question? Inside you, what do feel inside? You-
22                      you- what’s your opinion? What do you think? Do you want to go or not?

23   HAMZEH:            I would love to.

24   SHHAB:             You desire to go.

25   HAMZEH:            I want to go. As far as going is concerned, I want to go. I leave it up to
26                      God, what should I say? What would I do? I mean! My father came sat
27                      with me and told me, “Man, if I agree, your mom does not; and if your
28                      mother does not agree, you would go for nothing. [Beeps and traffic noise]
29                      To begin with, if you would go and if anything happens to you, even if
30                      you get martyred, your mom will die right after you die.”

31   SHHAB:             Well why don’t you give up the whole idea and stop this thing? If . . . I
32                      don’t know about you, man! [Noise]

33   HAMZEH:            And what about the money that I purchased the ticket with!



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 1   SHHAB:          You- you- this is up to you. Forget your mother and your father and all
 2                   this. You- you- Samy as Samy, in your head, would you like to go?

 3   HAMZEH:         For my mom’s sake, no.

 4   SHHAB:          You mean you don’t want to go anymore.

 5   HAMZEH:         I want to go but not now. . .

 6   SHHAB:          When? You’re going to wait another year, you mean; would you tell her in
 7                   a year?

 8   HAMZEH:         But Shhab why, I mean, why she doesn’t agree, why? I would love to
 9                   know--

10   SHHAB:          [OV] This is-

11   HAMZEH:         -- why?

12   SHHAB:          --this is the motherly love, Samy. Of course--

13   HAMZEH:         [OV] I swear we made a mistake telling her, right?

14   SHHAB:          [OV] you shouldn’t have told her. You shouldn’t have told her, man! You
15                   made a mistake when you told your mother, man! The mother should not
16                   know, man! Why… well… I mean, the mother… the motherly love, man.
17                   You’re talking about her son; you’re going- you’re going to die, I mean
18                   you’re going to die.

19   HAMZEH:         I am tired, Shhab, I swear, I am tired I swear to God the Almighty I
20                   haven’t slept for two days, two days!

21   SHHAB:          I don’t know about you, man! Well, you- well you… well, just let us talk.
22                   Let’s say whatchamacallit, you entered the whatchamacallit, Palestine and
23                   this and that. Well, how would Hamas let you join them? You are
24                   American; they would think you are a spy.

25   HAMZEH:         Because they know me, man!

26   SHHAB:          [OV] how do they know you?

27   HAMZEH:         I know… I told you about a group of men who know me. I mean they are
28                   who—

29   SHHAB:          [OV] where do they know you from?

30   HAMZEH:         --facilitated everything.

31   SHHAB:          Palestine [?]


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 1   HAMZEH:            My father- my father came to me saying, he said listen Samy! He said…
 2                      in front of my brother-in-law, I mean my brother-in-law was present, he
 3                      told me listen Samy, I want you to go and you know that I approve your
 4                      travel but only one thing I am concerned about. I am afraid that those
 5                      people who are helping you end up being spies.

 6   SHHAB:             Who?

 7   HAMZEH:            The people that I am working with.

 8   SHHAB:             Do you know these people or—

 9   HAMZEH:            [OV] I know them.

10   SHHAB:             How do you know them?

11   HAMZEH:            I know them from Jordan.

12   SHHAB:             Brave, good people, right?

13   HAMZEH:            Yeah.

14   [00:12:16]

15   SHHAB:             Uh, if they are telling you this then they are not spies, man. Palestine is on
16                      fire, do you understand? I don’t know. Look you—

17   HAMZEH:            [OV] My father--

18   SHHAB:             --look! If it’s for your mother, you want to go it but won’t for the sake of
19                      your mother. Cancel it! You cannot postpone! Get the whole idea out of
20                      your head and go back to being an ordinary person. But if you want to
21                      postpone for your mother, what? You would let your mother get better
22                      within three months and forgets the whole thing, and then in a year, you
23                      go back and tell her I am going? You can’t—

24   HAMZEH:            [OV] what I am thinking about, what I am thinking about is to tell them
25                      that is it, forget it; and then travel without notifying anyone.




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15 HAMZEH:          I don’t know a group and there is nothing of the sort. I am traveling on my
16                  own. And as I told you, I need to get to Gaza and if I couldn’t get to Gaza,
17                  I’d buy a weapon or something and that’s it.




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 6   HAMZEH:          But the idea is still in my mind, and it won’t go away, impossible. I am
 7                    going, no matter what.
 8
 9   MUNTASSER:       Yeah. Muhammad has also the same idea like yours.
10
11   HAMZEH:          Muhammad who?
12
13   MUNTASSER:       William Ho’s [PH]
14
15   HAMZEH:          Muhammad cannot go.
16
17   MUNTASSER:       No, I know, I am just telling you I mean.
18
19   HAMZEH:          Let me tell you who is with me among the guys who are thinking to go
20                    and fight, should they allow them to go and open the borders for them,
21                    Israel is gone because everyone wants to go.
22
23   MUNTASSER:       Yeah.
24
25   HAMZEH:          But we are the ones who are capable because we are the ones who can
26                    enter
27
28   MUNTASSER:       Yeah.
29
30   HAMZEH:          We can enter. Why don’t we enter?
31
32   MUNTASSER:       For the papers [Passport], we have the papers.
33
34   HAMZEH:          Oh, yeah. We enter … can easily enter.
35
36   MUNTASSER:       Because of the paper.
37
38   HAMZEH:          Yeah, I entered Palestine seven times. You enter so easily as a tourist.
39                    They give you a three months visa.
40
41   MUNTASSER:       I never entered there.
42
43   HAMZEH:          No, I entered it seven times.




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26   HAMZEH:          I mean if I shoot ten people, it will be enough, I do not want more.




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                                                                                Transcript Page 20




 5   HAMZEH:         I mean what I am telling you is that what I want to do, I mean, should you
 6                   and I be able to do is that once we shoot the first one, actually Israel would
 7                   know our names.
 8
 9   MUNTASSER:      Yeah.
10
11   HAMZEH:         Without you knowing it...
12
13   MUNTASSER:      Yeah.
14
15
16   HAMZEH:         How! You do not know. So once we shoot someone, you need to keep
17                   shooting and shooting as much as you can, do you understand? And
18                   escape, shoot and escape… keep escaping till you get caught. Once you
19                   are caught, that is it. You don’t let anyone catches you until you get shot
20                   at.
21
22   MUNTASSER:      Yeah.
23
24   HAMZEH:         That is it, to paradise God willing.




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                                                                             Transcript Page 34



30   HAMZEH:         Of course, man. This is an important thing especially if you are
31                   thinking… oh Muntasser, I swear, by almighty God, Muntasser…. Each
32                   prayers, I pray the same supplication, “Oh’ God, grant me the martyrdom,
33                   oh God, “Oh’ God, grant me martyrdom,” I supplicate this in each prayer,
34                   each prayer. This is because I intend to do this thing, for real. I am not
35                   going to take it out of my mind. I mean I will go no matter what.




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                                                                                    Transcript Page 36



 4   HAMZEH:            My thing is postponed, my thing is postponed … Shhab knows. I was
 5                      going last year. Shhab knows that. I was going last year but what did they
 6                      do, the sons of bitches in Egypt! They destroyed the borders, all the
 7                      tunnels and things that go to Gaza … did you hear that?
 8
 9   MUNTASSER:         Yeah.
10
11   HAMZEH:            and flooded the tunnels… This postponed the matter for me. I was going
12                      to go via Egypt.
13
14   MUNTASSER:         Yes, Egypt closed the …
15
16   HAMZEH:            Oh, they closed it all.
17
18   MUNTASSER:         They even blocked the [arrival] of the aids.
19
20   HAMZEH:            This is why I got delayed…
21
22   MUNTASSER:         Yeah.
23
24   HAMZEH:            This is why I got delayed. But I wish to die there, to reach Gaza,that is all.
25                      I reach Gaza then it is all up to God.
26
27   MUNTASSER:         Yeah. But the last year, the crossings points were not closed so fast. Guys
28                      even entered through Jordan.
29
30   HAMZEH:            Yeah! How did they enter?
31
32   MUNTASSER:         What? Through the Ghor, the Northern Ghor … they enter…
33
34   HAMZEH:            [UI] no, [UI], it is impossible… Jordan is the most government, man, I
35                      mean that is strict, believe me.
36
37   MUNTASSER:         Do not think of it this way, yes, yes... There is, there are ways.
38
39   HAMZEH:            It is impossible to have ways.
40


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 1   MUNTASSER:        There is, yes man, by almighty God.
 2
 3   HAMZEH:           It is all land mines. What are you thinking?
 4
 5   MUNTASSER:        Not land mines man… There are no land mines. Do not answer to that
 6                     shit. All the farms of the Groh are, of the Ghor are all, are where my
 7                     relatives live. They live in the Ghor. By God, you enter [UI] Palestine … 8
 9   HAMZEH:           Man, we do not need to escape. We just need to escape to Gaza, do you
10                     understand me?
11
12   MUNTASSER:        Yeah.
13
14   HAMZEH:           We enter Palestine.
15
16   MUNTASSER:        This is easy.
17
18   HAMZEH:           We enter so easily. We enter every …
19
20   MUNTASSER:        I am going with you…. I am [UI]
21
22   HAMZEH:           Oh yeah. I am telling you, I will show you. Once we return home, I will
23                     show you my passport, see how many Israeli stamps on it. Seven times I
24                     had the Israeli stamp, as much as I entered. You enter Palestine easily, but
25                     to reach Gaza, this is hard, man. This is fucking hard. You need to plan
26                     for it and to know, we will stay there for a while and see, I mean.




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12   HAMZEH:         No, but over there, is the major power. You can still … you can still fight
13                   in the West Bank… yes you can… you can fight in the West Bank. You
14                   can fight there, you can fight wherever you wish, but the major one is
15                   there. This is because of the spies, man. There are many spies in the
16                   West Bank, a lot, a lot, a lot.




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18   HAMZEH:          Exactly. To the extent that should Hamas tell me to go and detonate
19                    myself, I will go and detonate myself. I will tell them if you do not
20                    believe me, put a belt on me and I will go.




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13   HAMZEH:          A martyr; that is it. What is better than that!
14
15   MUNTASSER:       You wouldn’t fear anything, man.
16
17   HAMZEH:          Nothing at all… nothing at all. It is the contrary, you kill more.
18
19   MUNTASSER:       I tell you …
20
21   HAMZEH:          When you are not afraid, you kill more.




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                                                                           Transcript Page 42



 7   HAMZEH:          That is it. Now one can go happy, a martyr to paradise.
 8
 9   MUNTASSER:       But what is that I need to when I go? ID or anything or something…
10                    anything other than the passport too?
11
12   HAMZEH:          Your passport only… your passport.
13
14   MUNTASSER:       That is it?
15
16   HAMZEH:          Your passport. That it is. You need an American passport. Other than
17                    that you need nothing.
18
19   MUNTASSER:       Yeah, yeah.
20
21   HAMZEH:          Do not show the Jordanian [Passport].
22
23   MUNTASSER:       I do not enter with the Jordanian one when I go back home. I take an
24                    American passport.
25
26   HAMZEH:          Yeah. Even if you go to Palestine, use the American …
27
28   MUNTASSER:       They treat you better.
29
30   HAMZEH:          You go to Palestine using the American [Passport].




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 8   HAMZEH:         I am telling you, man, if you have an American passport while entering, it
 9                   will be 100%, Muntasser.
10
11   MUNTASSER:      I have… I have …
12
13   HAMZEH:         [If questioned] what are they coming here for?
14
15   MUNTASSER:      I have about $15,000. Is that enough?
16
17   HAMZEH:         Of course it is enough and more than enough. Me too, I will get five or
18                   six thousand dollars.
19
20                   [Car door slams] [Outside the car]
21
22   HAMZEH:         [UI] buy weapons and housing; that is all.
23
24   MUNTASSER:      Weapons [UI]
25
26   HAMZEH:         Yeah, right, weapons, housing and food.
27
28   MUNTASSER:      This is easy.
29
30   HAMZEH:         Weapons, housing and food.
31
32   MUNTASSER:      Food is affordable. Are you going to think about food while you are …?
33
34   HAMZEH:         I mean… I am telling you, I mean the cost of weapons is going to be
35                   double… because all of it is hidden, do you understand?
36
37   MUNTASSER:      But as we just said I will have 15,000 and you said you have six or four…
38
39   HAMZEH:         By the travel time, I will get them. I mean from now to the travel time, I
40                   will have ten more.
41
42   MUNTASSER:      I assured you, by God, not to mention anything to anyone.




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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                          Page 52 line 40 to Page 52 line 46
                                                                               Transcript Page 52



40   HAMZEH:         Palestine is actually the hardest country to get weapons in.
41
42   MUNTASSER:      No, I mean like Kalashnikov or what?
43
44   HAMZEH:         The things … you got to be with the resistance [groups] to get them.
45                   Meaning should you want to join a resistance [groups], they will give it to
46                   you. If you want to go on your own, you won’t get more than a pistol.




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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                             Page 53 line 4 to Page 55 line 20
                                                                              Transcript Page 53

 4   HAMZEH:         But between me and you, I would like to join the resistance.
 5
 6   MUNTASSER:      What resistance?
 7
 8   HAMZEH:         I mean there are a thousand resistances there.
 9
10   MUNTASSER:      Didn’t you tell me Hamas?
11
12   HAMZEH:         Yeah. But there is a lot… there are secret resistance Brigades…
13
14   MUNTASSER:      Do you know anyone in Hamas to let us in, I mean?
15
16   HAMZEH:         I know.
17
18   MUNTASSER:      What?
19
20   HAMZEH:         I know.
21
22   MUNTASSER:      Like a relatives of yours or just anyone?
23
24   HAMZEH:         But to do so, we got to reach Gaza.
25
26   MUNTASSER:      To get in?
27
28   HAMZEH:         Yeah, because I am afraid to ask him about the resistances in the West
29                   Bank lest a spy fucks us up [chuckles] and we go to jail. It is my maternal
30                   cousin and he will take care of us, man.
31
32   MUNTASSER:      That is it.
33
34   HAMZEH:         You spray five or six at the same time.
35
36   MUNTASSER:      With a machinegun, yes.
37
38   HAMZEH:         Yeah.
39
40   MUNTASSER:      But a handgun …
41
42   HAMZEH:         I am telling you, when you shoot … They walk in groups, the Jews.
43
44   MUNTASSER:      [Laughs]
45




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                  Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                               Page 53 line 4 to Page 55 line 20
                                                                                  Transcript Page 54

 1   HAMZEH:            Groups, right? You and I, we go and shoot them all and get their weapons
 2                      and flee, do you understand me?
 3
 4   MUNTASSER:         Perhaps you won’t even get caught.
 5
 6   HAMZEH:            Yeah. There is … sometimes there are patrols on jeeps, two at a time..
 7
 8   MUNTASSER:         Um.
 9
10   HAMZEH:            Do you understand me? You shoot both of them, take their weapons and
11                      leave. They carry the best kind of weapons. Jews carry the best
12                      Kalashnikovs. So if we shoot two and get two Kalashnikovs, it will be it.
13
14   MUNTASSER:         [Laughs] Indeed.
15
16   HAMZEH:            But the thing is that you shoot but you cannot stay still. You got to keep
17                      shooting till you die.
18
19   MUNTASSER:         Yeah, one… of course, one will be nervous…
20
21   HAMZEH:            Of course.
22
23   MUNTASSER:         Your heart will jump out of your chest [Chuckles] … but you will face the
24                      best kind of death.
25   [01:04:37]
26
27   HAMZEH:            That is it.
28
29   MUNTASSER:         Right or what?
30
31   HAMZEH:            Yeah. You know that the bullet you get in your body, maybe you won’t
32                      actually feel it.
33
34   MUNTASSER:         No, their bullets are big, man.
35
36   HAMZEH:            [Laughs] Their bullets are big.
37
38   MUNTASSER:         You won’t feel a thing, man… [UI] [Laughs] you’ll be knocked out fast.
39
40   HAMZEH:            Yeah, your soul goes out fast.
41
42   MUNTASSER:         Yeah. … Just before the parents die, man.
43
44   HAMZEH:            Exactly, man.
45
46   MUNTASSER:         Because you should know that parents supplications are the best thing.

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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                           Page 53 line 4 to Page 55 line 20
                                                                               Transcript Page 55

 1
 2   MUNTASSER:      A man and his intentions too…
 3
 4   HAMZEH:         Yeah. It was my intention a long time ago, Muntasser, by God, a long time
 5                   ago.
 6
 7   MUNTASSER:      You have been thinking about it for years.
 8
 9   HAMZEH:         [Whistles] Long time ago.
10
11   MUNTASSER:      But for sure you were hesitant in the beginning…I mean.
12
13   HAMZEH:         No.
14
15   MUNTASSER:      The first… the first time I thought of it….
16
17   HAMZEH:         Yeah, in the beginning this happened. But now, it is normal, it makes no
18                   difference to me. I am telling you, it makes no difference to me. Send me
19                   there, hand me a weapon and see what will happen. [Laughs]… I mean I
20                   am just telling you.




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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                           Page 78 line 15 to Page 78 line 32
                                                                              Transcript Page 78




15   HAMZEH:          There is nothing better, listen … Jihad is the Jihad in Palestine. Do not
16                    tell me Syria or Iraq or any nonsense. Palestine… go straight to
17                    Palestine…
18
19   MUNTASSER;       Yeah.
20
21   HAMZEH:          Fight the Jews.
22
23   MUNTASSER:       Yeah, but I do not know anyone to get me to enter Palestine, this is why.
24
25   HAMZEH:          If you have a passport and you are alone, you will enter and no one will
26                    ask you a question.
27
28   MUNTASSER:       How do I know!…I do not know anyone in Palestine, I know nothing, I
29                    mean.
30
31   HAMZEH:          I will take care of you. That is it… We will go together, God willing.
32                    God willing.




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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                             Page 79 line 1 to Page 79 line 24
                                                                             Transcript Page 79

 1   MUNTASSER:      Meaning as tourist?
 2
 3   HAMZEH:         Yeah.
 4
 5   MUNTASSER:      Why? You mean they will find out quickly?
 6
 7   HAMZEH:         Who?
 8
 9   MUNTASSER:      Them, I mean.
10
11   HAMZEH:         Of course they won’t find out quickly. They won’t find out for sure. If
12                   they suspect you at the airport, they can put you under surveillance. Jews
13                   are sons of bitches, man. So the first two weeks … For at least two weeks
14                   you need to show the Jews that you are a tourist, do you understand?
15
16   MUNTASSER:      Yes.
17
18   HAMZEH:         You go out, have fun, go to restaurants, go and tour around…
19
20   MUNTASSER:      Um.
21
22   HAMZEH:         Just like that …cause no problem. After that, we start our work, God
23                   willing. We start everything. We begin to order weapons, we begin to
24                   order everything.




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               Excerpt of Verbatim Translation of Discovery Disc 22 (FBI 24)
                          Page 81 line 30 to Page 81 line 36
                                                                            Transcript Page 81



30   HAMZEH:         No, if we could not enter, this will be normal. We stay in the West Bank.
31                   Nothing wrong with that. In Jerusalem, what is better than Jerusalem?
32
33   MUNTASSER:      I am telling you, it is actually honored land.
34
35   HAMZEH:         Yeah. What is better than getting martyred in Jerusalem? In the land of
36                   Jerusalem.




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         Case 2:16-cr-00021-PP Filed 09/20/19
          Excerpt of Verbatim Translation of Discovery Disc 25 (FBI 1A15)
                       Page 15 line 1 to Page 17 line 27
                                                                           Transcript Page 15

 1   HAMZEH:            Should we go and shoot?
 2
 3   MUNTASSER:         You liked it, right? [Laugh.]
 4
 5   HAMZEH:            Nothing wrong with going out shooting.
 6
 7   MUNTASSER:         Straight?
 8
 9   HAMZEH:            Left.
10
11   MUNTASSER:         You want to train, right?
12
13   HAMZEH:            [Sigh] man, I wish I can go to Al-Buraq Wall, do you know it?
14
15   MUNTASSER:         What is it?
16
17   HAMZEH:            The place where the Jews worship at.
18
19   MUNTASSER:         Oh, that’s where they always take photographs --
20
21   HAMZEH:            Yes, yes.
22
23   MUNTASSER:         -- where they put the paper in.
24
25   HAMZEH:            Exactly.
26
27   MUNTASSER:         What do you have to do with this, oh, true, because you have an
28                      American passport, no problem.
29
30   HAMZEH:            No, but true, you enter with an American passport, but there are
31                      devices. But when you want to enter and have an evil intention in
32                      your mind --
33
34   MUNTASSER:         Yes.
35
36   HAMZEH:            -- you will go into war [laugh], do you understand me. I mean at
37                      the gate, Al-Buraq Wall has about five gates, five gates around it.
38
39   MUNTASSER:         Have you seen it?
40
41   HAMZEH:            Yes. Around us. Each gate has four soldiers.
42
43   MUNTASSER:         Wow!
44
45   HAMZEH:            Each gate has four guarding soldiers, and there are those devices --
46

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           Excerpt of Verbatim Translation of Discovery Disc 25 (FBI 1A15)
                        Page 15 line 1 to Page 17 line 27
                                                                            Transcript Page 16
 1   MUNTASSER:          Yes, yes.
 2
 3   HAMZEH:             -- the things that you pass through. And us, God willing, God
 4                       willing, we’ll enter through a gate, I mean…
 5
 6   MUNTASSER:          Listen, leave it for next week, so that we can understand each
 7                       other! You confused me, one time you are talking about Hebron,
 8                       and another about…
 9
10   HAMZEH:             Well, yes but I want, I, we want to do something big, I mean, you
11                       understand, we don’t want to kill two or three and die.
12
13   MUNTASSER:          Um. One time about Hebron and another…
14
15   HAMZEH:             When get there, everything will be fine.
16
17   MUNTASSER:          I told you, we will sit down next week, you must explain to me,
18                       because I have a million questions to ask you. I need to know if it’s
19                       going to work out or not.
20
21   HAMZEH:             It will work out, man, it will work out, God willing.
22
23   MUNTASSER:          [UI]
24
25   HAMZEH:             Why? It seems like you are hesitant.
26
27   MUNTASSER:          No, I am not hesitant, but one should be sure that he is really
28                       going, or is he going for nothing, meaning, we will go and get
29                       fucked up there, get imprisoned without doing a thing. I mean,
30                       imagine that we go there. Can you imagine that?
31
32   HAMZEH:             But you have to be careful not to be imprisoned.
33
34   MUNTASSER:          Alright, I mean, I have never been to Palestine, you have been
35                       there seven times, I don’t know uh, I don’t know, I have never seen
36                       an Israeli soldier in person, man. You have seen them. I mean, I
37                       don’t know what to expect over there. I am going there with all
38                       my trust in you only.
39
40   HAMZEH:             Soon, God willing. I mean, God willing.
41
42   [00:53:25]
43
44   MUNTASSER:          But this is tough, man, four soldiers on each gate, swear by God?
45
46   HAMZEH:             Four, not [UI] man.


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          Excerpt of Verbatim Translation of Discovery Disc 25 (FBI 1A15)
                       Page 15 line 1 to Page 17 line 27
                                                                          Transcript Page 17
 1   MUNTASSER:         It’s not easy.
 2
 3   HAMZEH:            Each one has a Kalashnikov.
 4
 5   MUNTASSER:         [Laugh] we will be fucked, boy.
 6
 7   HAMZEH:            If both of us go in with handguns and shoot the four, we will take
 8                      the Kalashnikovs and go in, spray as much as you can. A lot of
 9                      people are inside and they are all Jews.
10
11   MUNTASSER:         All of them?
12
13   HAMZEH:            They are all Jews. Get inside…
14
15   MUNTASSER:         I am afraid it’s those who wear the black…
16
17   HAMZEH:            All of them, all of them, yeah. That’s them.
18
19   MUNTASSER:         The ones with the paper.
20
21   HAMZEH:            Exactly.
22
23   MUNTASSER:         Do you think those are the ones who want to tear it down?
24
25   HAMZEH:            All the Jews want to tear it down, man. We will go in on them and
26                      spray them one by one, bang, bang, bang, bang, riddle fifty or sixty
27                      of them, and then die.




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                Excerpt of Verbatim Translation of Discovery Disc 30 (FBI 29)
                             Page 25 line 5 to Page 27 line 13
                                                                               Transcript Page 25


5    MUNTASSER:        If I go to prison, my life will be fucked up.
6    HAMZEH:           We will not go to prison, God willing. God willing, we will not go to
7                      prison. We will go and kill 20 to 30 people.
8    MUNTASSER:        20 to 30 Jews?
9    HAMZEH:           [Laughs] I really wish to reach this level, man.
10   MUNTASSER:        30 people? It is not hard.
11   HAMZEH:           No, it is hard.
12   MUNTASSER:        How?
13   HAMZEH:           It is hard. How would you kill 30 people?
14   MUNTASSER:        You figure it out. It is your planning, how would I know?
15   HAMZEH:           [Laughs.]
16   MUNTASSER:        I have no weapons and nothing else.
17   HAMZEH:           Thirty is hard!
18   MUNTASSER:        Um.
19   HAMZEH:           I mean you might kill one and get caught. [Laughs] Yes.
20   MUNTASSER:        Where in Palestine would you like to go? I don’t know.
21   HAMZEH:           I told you either Hebron or Jerusalem.
22   MUNTASSER:        Jerusalem is easier.
23   HAMZEH:           Hebron is easier.
24   MUNTASSER:        Jerusalem is tourists’ site; you told me, if we have an American passport,
25                     we would be able to go in normally.
26   HAMZEH:           How do you--
27   MUNTASSER:        [OV] Each day you tell me something different--
28   HAMZEH:           [OV] I understand, I am telling you either Jerusalem or Hebron.
29   MUNTASSER:        Um-hum




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                Excerpt of Verbatim Translation of Discovery Disc 30 (FBI 29)
                            Page 25 line 5 to Page 27 line 13
                                                                                Transcript Page 26


1    HAMZEH:           One of the two. Hebron is also tourists’ site.
2    MUNTASSER:        Really?
3    HAMZEH:           Yeah, all touristic, all touristic…
4    MUNTASSER:        When the Lord opens a door--
5    HAMZEH:           But Jerusalem, boss…we go in--
6    MUNTASSER:        Have you ever been to Jerusalem?
7    HAMZEH:           Oh yeah. There are about four soldiers at the door.
8    MUNTASSER:        Um-hum
9    HAMZEH:           We take out our handguns; you kill two and I kill two very quickly, before
10                     they take out their weapons on us.
11   MUNTASSER:        You think it is that easy. With what shall we kill?
12   HAMZEH:           You will have to be quick, buddy.
13   MUNTASSER:        With what are you going to kill?
14   HAMZEH:           I mean, if we had handguns.
15   MUNTASSER:        Oh! [Laugh.]
16   HAMZEH:           We kill two and two. You kill two and I kill two; you take their
17                     machineguns and go inside, for about from here to that fire extinguisher
18                     over there--
19   MUNTASSER:        Yes.
20   HAMZEH:           --before you get to the temples and people. You go in, take out the
21                     Kalashnikov and go: bang, bang, bang and fuck them all up; all of them.
22   MUNTASSER:        Well, that is fifty people.
23   HAMZEH:           You spray them all and if you get shot, then you get shot, and if you get
24                     caught—of course you are not going to let anyone catch you. Anybody
25                     that gets close to you, you shoot him; you fuck him up before you get shot.
26                     You know what I am saying! This is the best thing. The best thing for me--
27                     You can kill as many as you want and you fuck them up in their own
28                     temple.
29   MUNTASSER:        Um-hum, [laughs] we will be in the news, dude.
30   HAMZEH:           [Laugh.]
31   MUNTASSER:        Right?

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                Excerpt of Verbatim Translation of Discovery Disc 30 (FBI 29)
                            Page 25 line 5 to Page 27 line 13
                                                                         Transcript Page 27
1    HAMZEH:           Yeah, and we will spray them with their own weapons as well.
2    MUNTASSER:        Do you think we will be on the news?
3    HAMZEH:           They can put us wherever they want. I don’t care about anything; all I care
4                      about is paradise, I swear to God Almighty.
5    MUNTASSER:        Normal, fuck it…
6    HAMZEH:           But--
7    MUNTASSER:        Do you think we could get killed at the start?
8    HAMZEH:           Whether we get killed at the start or get killed after killing fifty people—
9    MUNTASSER:        Okay.
10   HAMZEH:           --we will still get the same reward.
11   MUNTASSER:        Um-hum
12   HAMZEH:           The same reward, a martyr is a martyr. You know what I am saying! But
13                     you– This earthly life-- This earthly life--




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                  Excerpt of Verbatim Translation of Discovery Disc 30 (FBI 29)
                              Page 29 line 1 to Page 30 line 22
                                                                                   Transcript Page 29

 1   HAMZEH:           [OV] and no one will know, so keep going as if no one knows anything.
 2                     Keep going as if we are not even going. Do you get it?
 3   MUNTASSER:        Um-hum
 4   HAMZEH:           Don’t worry about it. Don’t even think about it. Normal! We go, train,
 5                     shoot, work, go out, we do whatever we want. If you can go to clubs too,
 6                     go for it.
 7   MUNTASSER:         No, man, but—
 8   HAMZEH:           [OV] Just answer me, just so you are not getting the attention, man. Just so
 9                     that no one is watching you. Don’t let anyone be suspicious of you. You
10                     know what I am saying? So that it is not you become pious overnight and
11                     get away with such things. No, I would go once a week. I would go for
12                     half an hour to an hour in the club, and I go home. Just like that. Bar. I go
13                     to a bar or something like that. I go to public places and such. I go around
14                     and show people that I am out there, and I live my life here and happy, and
15                     I am an American. That’s the bottom line.
16   MUNTASSER:        Um-hum
17   HAMZEH:           You know what I am saying? A month ago, I applied at the army.
18   MUNTASSER:        Um-hum
19   HAMZEH:           The American military. I swear by God. I went and applied for the
20                     American military, filled out an application, and everything was fine. The
21                     officer and I had a chat, and everything was fine. He asked me why and
22                     such, and I told him I like to… I like to serve in the American military
23                     against all the terrorists that are against it. Are you getting me?
24   MUNTASSER:        Um-hum
25   HAMZEH:           He told me okay this and okay that…ok
26   MUNTASSER:        [OV] [UI] because
27   HAMZEH:           Yes exactly! Okay this and okay that, so I told him I need a little bit of
28                     time and then I will let you know.
29   MUNTASSER:        Um-hum
30   HAMZEH:           He calls me every once in a while. He asks: “what is going on with you?”
31                     “What is happening with you?” and I keep telling him, my family and
32                     stuff like that… and I am working… a little bit longer, a little bit longer, I
33                     keep postponing it, I keep postponing it. But in doing this I would look
34                     like! As if I want to. Are you with me?
35   MUNTASSER:        Hm. You think that is better, right?

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                  Excerpt of Verbatim Translation of Discovery Disc 30 (FBI 29)
                              Page 29 line 1 to Page 30 line 22
                                                                                    Transcript Page 30


 1   HAMZEH:           This is all for distraction.
 2   MUNTASSER:        That is right.
 3   HAMZEH:           Facebook and things similar to Facebook…. I just… Before I leave….
 4   MUNTASSER:        Um-hum
 5   HAMZEH:           Before we leave together, I will fill it with girls and pictures… Pictures
 6                     with girls, going out, drinking, and living the life. I mean I will fill up the
 7                     Facebook with pictures like that.
 8   MUNTASSER:        So that is normal?
 9   HAMZEH:           What is normal?
10   MUNTASSER:        I mean is it normal in front of God? I am telling you--
11   HAMZEH:           [OV] But you are not really doing that. You are not actually doing it. You
12                     are only taking pictures. It only serves as a distraction. You go to some of
13                     the large bars, carry a few bottles of beers, and have a couple of girls with
14                     you; it is only a distraction. So that when you go and they check on you…
15                     On your Facebook and they can’t see anything that you are Hamas, and
16                     I… I want to bomb and I want to shoot and there are no pictures… No, I
17                     am living my life in America. I am happy. Do you follow? I am not doing
18                     any of that, but I am taking pictures for that purpose. My family will
19                     disown me in Jordan because of these pictures, but…they will get to know
20                     at the end--
21   MUNTASSER:        [OV] [UI.]
22   HAMZEH:           --but they will eventually know at the end.




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               Excerpt of Verbatim Translation of Discovery Disc 34 (FBI 37)
                            Page 27 line 12 to Page 27 line 34
                                                                                Transcript Page 27


12   HAMZEH:         What should we do? Some youths are starting to prepare themselves
13                   already, some youths are packing already. So you have two ways, you
14                   have two directions; we either remain here and… remain here or go there.
15                   It will be the same, here or there because we are here, there are no…
16                   Muslims are a minority here and, I mean, there will be massacres. [Pause]
17                   You understood me? And, here uh… be one hundred percent sure that
18                   here, everything will be more feasibly available to us.

19   MUNTASSER:      Hum.

20   HAMZEH:         Yeah. Do you understood?

21   MUNTASSER:      I got you.

22   HAMZEH:         And, that thing will happen, I mean, soon; very soon, Muntasser. Very
23                   soon! All these things will happen soon. All it takes is an operation here in
24                   America [Sound similar to knocking] see what will happen.

25   MUNTASSER:      So, should we just sit and wait, you mean?

26   HAMZEH:         But what would you do, man? My fear is we will be denied entering
27                   Palestine, to begin with.

28   MUNTASSER:      Hum.

29   HAMZEH:         Because of the situation there, they say no tourism now; just like that, they
30                   would tell us, “No tourism.” I am telling you, here people will rage against
31                   us; I swear they will rage against us, they will attack us at mosques and
32                   stuff. So what would be better than being standing ready with your
33                   weapon by the door of the mosque? What would you want better than
34                   that?




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               Excerpt of Verbatim Translation of Discovery Disc 34 (FBI 37)
                          Page 31 line 16 to Page 31 line 18
                                                                              Transcript Page 31



16   HAMZEH:         Here, everything is easy; here, the first thing, you are American, you have
17                   your weapon, uh, anyone comes in your way, you shoot him and there are
18                   a thousand possibilities that you would escape.




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               Excerpt of Verbatim Translation of Discovery Disc 34 (FBI 37)
                          Page 35 line 27 to Page 36 line 21
                                                                             Transcript Page 35



27   HAMZEH:         Yeah, and here would be better. I am sure because there are people here
28                   who need others to defend them. And here, if someone tells you—




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               Excerpt of Verbatim Translation of Discovery Disc 34 (FBI 37)
                             Page 35 line 27 to Page 36 line 21
                                                                               Transcript Page 36




 1   MUNTASSER:      [OV] you think there are Jews here?

 2   HAMZEH:         [Raises his voice] Oh yeah! Oh yeah! But here, the whites are filthier than
 3                   the Jews.

 4   MUNTASSER:      Yeah.

 5   HAMZEH:         The whites are a thousand times racier than the Jews.

 6   MUNTASSER:      Hum.

 7   HAMZEH:         What’s wrong with you, man? When someone here curses Muhammad or
 8                   says a word about Islam, he would find someone to stand in his face
 9                   [Knock], that’s it! He would tell him, are you cursing my prophet? Come
10                   here, fucker! Tach… tach… tach… [Sound similar to a clap], and then
11                   pull yourself out and leave. That’s it, nothing else. This is jihad, man! You
12                   would be defending Islam here.

13   MUNTASSER:      That son of a bitch, the Mexican, man!

14                   [Noise]

15   HAMZEH:         Soon, I am telling you, they would advertise and would attack our master
16                   Muhammad [Noise], and would curse Islam and—

17   MUNTASSER:      [OV] that is well known.

18   HAMZEH:         --will curse everything.

19   MUNTASSER:      -- this is well known.

20   HAMZEH:         And when that happens, it would be unlawful if we do not defend; that
21                   would… hell would be our fate, if we do not defend that!




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               Excerpt of Verbatim Translation of Discovery Disc 37 (FBI 40)
                             Page 11 line 13 to Page 13 line 16
                                                                              Transcript Page 11




13   HAMZEH:         I’ve seen more than one guy, who would take five people with him and
14                   goes and attack soldiers, wanting to slaughter them, and they get shot,
15                   without doing anything—
16
17   MUNTASSER:       Without [UI.]
18
19   HAMZEH:         --I mean, what I’m saying, man, the women stuff, like you go and hit
20                   someone. Honestly this kind of stuff doesn’t work.
21
22   MUNTASSER:      What?
23
24   HAMZEH:         Women shouldn’t do this.
25
26   MUNTASSER:      [UI.]
27
28   HAMZEH:         Because the women are getting killed for no good reason.
29
30   MUNTASSER:      Um.
31
32   HAMZEH:          They don’t even scratch the soldier. She goes, gets the knife and runs
33                   after the soldier—
34
35   MUNTASSER:      What the fuck!
36
37   HAMZEH:         --what’s with the silliness, man, God is great!
38
39   MUNTASSER:      I’ve seen it on the video, she walks over to him, holding a knife, size of
40                   my small fucking finger, and stab him man, as if--
41
42   HAMZEH:         Not a single scratch on him.
43




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               Excerpt of Verbatim Translation of Discovery Disc 37 (FBI 40)
                           Page 11 line 12 to Page 13 line 16
                                                                               Transcript Page 12
 1   MUNTASSER:       Nothing, she was killed for nothing.
 2
 3   HAMZEH:          Don’t let yourself perish. All women.--
 4
 5   MUNTASSER:       Men have to do it.
 6
 7   HAMZEH:          To begin with, all women--
 8
 9   MUNTASSER:       Men have to move, they are the ones who must move.
10
11   HAMZEH:          Women are supposed to stay in their homes, man. What are you doing!?
12
13   MUNTASSER:       They are [UI.]
14
15   HAMZEH:          You are getting shot for nothing, I mean.
16
17   MUNTASSER:       Women are the ones that are idiots, man. They are the men, to begin
18                    with. They have turned into men! Are there men left in Palestine!?
19
20   HAMZEH:          What kind of men are these when you get a knife and being four meters
21                    away from the soldiers and attempt to attack them!
22
23   MUNTASSER:       [Chuckles] she went with her veil too.
24
25   HAMZEH:          It doesn’t work like that.
26
27   MUNTASSER:       She was wearing a veil, right?
28
29   HAMZEH:          [UI] they’ll drag her on the ground.
30
31   MUNTASSER:       I swear, they rape her, I swear.
32
33   HAMZEH:          More than one has done the same thing, I mean not only her.
34
35   MUNTASSER:       [UI] young men or..?
36
37   HAMZEH:          Girls.
38
39   MUNTASSER:       Girls, yeah, I know.
40
41   HAMZEH:          Oh shit, cute.
42
43   MUNTASSER:       Fucker [chuckles]. Seriously the girls… it’s not fair that they do this.



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               Excerpt of Verbatim Translation of Discovery Disc 37 (FBI 40)
                          Page 11 line 12 to Page 13 line 16
                                                                              Transcript Page 13

 1   HAMZEH:         Yeah man, because it’s a waste. They don’t even[UI.]
 2
 3
 4   MUNTASSER:      They should stay home and raise those kids.
 5
 6   HAMZEH:         What?
 7
 8   MUNTASSER:      They should stay home and raise those kids.
 9
10   HAMZEH:         Um-hum.
11
12   MUNTASSER:      They shouldn’t leave [UI.] In their case, the man is sitting home.
13
14   HAMZEH:         I mean, this way, you are killing yourself. You’re going there and you
15                   have a soldier who is 5 meters away from you, and you’re taking a knife
16                   and attacking him. At least a gun for the sake of dumbness.




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           Excerpt of Verbatim Translation of Discovery Disc 45 Call 4 (FBI 45)
                           Page 5 line 36 to Page 6 line 45
                                                                        Transcript Page 5


36   HAMZEH:            We’re going to do some shooting?
37
38   MUNTASSER:         What do you mean “You wanna go shooting” man?
39
40   HAMZEH:            We go shooting.
41
42   MUNTASSER:         What the fuck! You’re crazy man.
43
44   HAMZEH:            want to shoot them. I want to shoot them all.
45
46   MUNTASSER:         What?




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             Excerpt of Verbatim Translation of Discovery Disc 45 Call 4 (FBI 45)
                              Page 5 line 36 to Page 6 line 45
                                                                                   Transcript Page 6


1
2    HAMZEH:               I want to shoot them all and won’t care about them.
3
4    MUNTASSER:            Who?
5
6    HAMZEH:               The Americans. Neither France nor the Italians.
7
8    MUNTASSER:            Neither France or the Italians.
9
10   HAMZEH:               You wanna go for some shooting?
11
12   MUNTASSER:            I don’t know.
13
14   HAMZEH:               They will immediately [UI]
15
16   MUNTASSER:            What?
17
18   HAMZEH:               They will immediately [UI]
19
20   MUNTASSER:            If not. . . They are inside, they’ll fuck us now. Man, they keep staring at
21                         us.
22
23   HAMZEH:               Let them stare at us, and then!
24
25   MUNTASSER:            Okay—
26
27   HAMZEH:               [OV] And what after they stare at us!
28
29   MUNTASSER:            --You mean you’re going to shoot them all!
30
31   HAMZEH:               That’s it.
32
33   MUNTASSER:            What?
34
35   HAMZEH:               That’s it.
36
37   MUNTASSER:            What, that’s it?
38
39   HAMZEH:               [OV] That’s it.
40
41   MUNTASSER:            What . . . ?
42
43   HAMZEH:               Uh . . . I’ll practice on them
44
45   MUNTASSER: Practice on humans! That’s kind of fucked up, right-right now.


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           Excerpt of Verbatim Translation of Discovery Disc 45 Call 4 (FBI 45)
                           Page 9 line 2 to Page 9 line 14
                                                                              Transcript Page 9

2    MUNTASSER:         What I want to know now… listen!
3
4    HAMZEH:            What?
5
6    MUNTASSER:         I mean you seriously think jihad here is better than Palestine?
7
8    HAMZEH:            Yeah
9
10   MUNTASSER:         Yeah!
11
12   HAMZEH:            You won’t be able to do anything in Palestine. I’m telling you the bottom
13                      line of it. You may enter, you can uh, go wherever you want in Palestine
14                      but where are you going to get the weapons.




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               Excerpt of Verbatim Translation of Discovery Disc 45 Call 5 (FBI 45)
                                Page 9 line 1 to Page 9 line 35
                                                                                  Transcript Page 9

 1
 2   HAMZEH:            And quit telling everyone.
 3
 4   MUNTASSER:         I am not telling anyone, man, kiss my ass, whom did I tell?
 5
 6   HAMZEH:            What I want now is that you find me a weapon, a good piece--
 7
 8   MUNTASSER:         Yeah?
 9
10   HAMZEH:            --Something good. If you have one, bring me one from you, you got that?
11                      [Background talking] And the war will begin. [Chuckles]
12
13   MUNTASSER:         The war begins? Jihad, eh?
14
15   HAMZEH:            [Laughs]
16
17   MUNTASSER:         Jihad here, seriously? Is Jihad here good?
18
19   HAMZEH:            What do you think? You give me your opinion.
20
21   MUNTASSER:         [OV] I do not know, I don’t.
22
23   HAMZEH:            [OV] what do you say about Islam and the Islamic nation?
24
25   MUNTASSER:         Yes.
26
27   HAMZEH:            Give me your opinion?
28
29   MUNTASSER:         If someone tramples on the Quran in front of you, what would you do?
30
31   HAMZEH:            [OV] if you shoot them, it is legal. If you shoot him, you go to Paradise,
32                      even if you die. If you hear someone cussing the Messenger, or cussing
33                      God or the Qur’an, you can shoot him, it is normal, there is nothing
34                      against you, [Background voices] because this is how you defend your
35                      religion.




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               Excerpt of Verbatim Translation of Discovery Disc 51 (FBI 52)
                          Page 20 line 23 to Page 22 line 26
                                                                             Transcript Page 20




23   MUNTASSER:        Yeah, what else, should we go shoot like this, air?

24                     [Laugh]

25   HAMZEH:           [UI] Stick it out of the car one time and shoot one by one; bang, bang,
26                     bang, bang, and you shoot them all down.




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                  Excerpt of Verbatim Translation of Discovery Disc 51 (FBI 52)
                              Page 20 line 23 to Page 22 line 26
                                                                                    Transcript Page 21

 1                      [Laugh]

 2   MUNTASSER:         They will all sleep, man. [Laugh]. Thirty seven bullets, not --

 3   HAMZEH:            [OV] if you brought the Kalashnikov, then we [UI] would have gone
 4                      spraying. Ouch, my hand!

 5   MUNTASSER:         The Kalashnikov is not now, it is not its time this one. Do you see how?

 6   HAMZEH:            Why do you go all the way for shooting?

 7   MUNTASSER:         Because this is the only place.

 8   HAMZEH:            No, there is a place on Lincoln.

 9   MUNTASSER:         Okay!

10   HAMZEH:            Lincoln [PH], Lincoln Street [PH].

11   MUNTASSER:         The same thing?

12   HAMZEH:            What is the same thing?

13   MUNTASSER:         Will they let you shoot normal, or, do you have to have membership?

14   HAMZEH:            I don’t know.

15   MUNTASSER:         Yes, membership. Here there aren’t but only those two locations; there is
16                      outside, to go and shoot outside, I mean, in between the trees --

17   HAMZEH:            [OV] I feel like we will get there now, as we get there, and they will tell us
18                      [UI.]

19   MUNTASSER:         [Laugh.]

20   HAMZEH:            -- then a very bad altercation will break out!

21   MUNTASSER:         What will you do, then?

22   HAMZEH:            We will fight them, what will I do!

23   MUNTASSER:         No, man!

24   HAMZEH:            Mother fuckers!

25                      [Car noise]

26                      [Laugh]




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               Excerpt of Verbatim Translation of Discovery Disc 51 (FBI 52)
                          Page 20 line 23 to Page 22 line 26
                                                                             Transcript Page 22

 1   MUNTASSER:        Fuck you, get away man!

 2                     [Singing]

 3   HAMZEH:           Why did you turn it to “High?”

 4   MUNTASSER:        Because those I have in the middle will not work except “Low” and
 5                     “High”

 6                     [Car noise]

 7   MUNTASSER:        Wow!

 8                     [Laugh]

 9   HAMZEH:           Careful!

10   MUNTASSER:        I know man.

11   HAMZEH:           [UI.]

12                     [Laugh.]

13   MUNTASSER:        Imagine if I brought a Kalashnikov, man? But they will not let us use it
14                     down, man!

15   HAMZEH:           Why?

16   MUNTASSER:        Because the bullet is big, like this.

17   HAMZEH:           Swear!

18   MUNTASSER:        Yes, and its sound, man, all the neighborhood will hear it.

19   HAMZEH:           What does this mean, is it unlawful to shoot with it?

20   MUNTASSER:        Hey you, the bullet is strong, it will bounce when it hits the wall.

21   HAMZEH:           [Laugh].

22   MUNTASSER:        I mean you shoot yourself. Committing suicide, man. Do you understand
23                     me how? That’s why it is unlawful to shoot [UI.]

24   HAMZEH:           We should go in open fields.

25   MUNTASSER:        Huh?

26   HAMZEH:           We bring beer bottles. We set them up and start shooting.




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              Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                                Page 17 line 1 to Page 21 line 3
                                                                                   Transcript Page 17

 1
 2   HAMZEH:            When are we going to go to Texas?
 3
 4   MUNTASSER:         What?
 5
 6   HAMZEH:            When are we going to Texas?
 7
 8   MUNTASSER:         I have to call the guy now.
 9
10   SHHAB:             When are we going? All three of us can go together.
11
12   MUNTASSER:         Would you go with us?
13
14   SHHAB:             Yes, I’d go.
15
16   HAMZEH:            Okay, we’ll go and shoot in the desert, man, we will shoot in the middle of
17                      the desert.
18
19   SHHAB:             I... listen, listen, yesterday Mo dropped me off and I sensed that he is
20                      hesitant because of his family and that.
21
22   HAMZEH:            We all felt the same way. We all felt the same way.
23
24   SHHAB:             So listen, you can’t force something like this on anyone. Right or not?
25
26   HAMZEH:            I told him, I told him whoever wants out can get out but with a silent
27                      mouth, a silent mouth. I want Mo to come with us just to be the driver.
28
29   SHHAB:             No, don’t pressure him just to be the driver. Do you understand me?
30
31   HAMZEH:            If he did not want to, he would have told us that I don’t want to.
32
33   SHHAB:             He does not…Samy; why are you like a little kid who keeps talking
34                      without listening, man. You know how Mo is. He does not want to show
35                      something, do you understand me? That he’s shy or afraid or something,
36                      do you understand?
37
38   HAMZEH:            [OV] we told him, we told him yesterday.
39                      [Beeping]
40
41   SHHAB:             But you understood from the way he was talking, his kids and stuff like
42                      that. Did you understand? That’s it, there is no need to put pressure on
43                      him, leave him alone. Do you understand me? That’s it, the three of us,
44                      right or no?
45




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              Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                                Page 17 line 1 to Page 21 line 3
                                                                                   Transcript Page 18

 1   MUNTASSER:         That’s what I said; but it’s this fucker, man. [Pause] Man, don’t keep on
 2                      playing with the bullets here man while we are driving.
 3
 4   SHHAB:             Samy, Samy, Seriously Samy, the weapon is …
 5
 6   MUNTASSER:         [OV] I don’t like this fucking around.
 7
 8   SHHAB:             Hide this shit.
 9
10   HAMZEH:            Preparing the situation. Look he uncovered everything. I’m covering
11                      myself and he uncovered everything.
12
13   MUNTASSER:         Kiss my ass, man.
14
15   HAMZEH:            Shut your face, man, sit, otherwise I will shoot you. I have everything.
16
17   SHHAB:             Why are you a fucker, man?
18
19   HAMZEH:            Okay, enough [UI.]
20
21   MUNTASSER:         Hide the shit, man, hide it, man, if the police stop us I swear they will fuck
22                      the three of us.
23
24   SHHAB:             [OV] Yes, inside man, seriously.
25
26   MUNTASSER:         Kiss my ass, hide the shit, hide it man, and put it in the bag man. Damn
27                      Nigger man, be a man, fucking concentrate. I sense that he’s crazy, man.
28
29   HAMZEH:            It makes no fucking difference to me. If a cop comes, we will hide the gun
30                      in it.
31
32   SHHAB:             Take this nonsense.
33
34   MUNTASSER:         Uh….
35
36   SHHAB:             When are we going to go to Texas?
37
38   MUNTASSER:         I have to talk to the guy now.
39
40   HAMZEH:            Okay.
41
42   MUNTASSER:         I need to know what you want, so we can find out how much we want and
43                      what we want exactly.
44
45   SHHAB:             What is it that we need?




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                  Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                                    Page 17 line 1 to Page 21 line 3
                                                                                       Transcript Page 19

 1   MUNTASSER:             I don’t know, this fucker says that he needs a bullet proof vest and--
 2
 3   SHHAB:                 [OV] What?
 4
 5   MUNTASSER:             --proof ….
 6
 7   HAMZEH:                [OV] Yes, it’s a must.
 8
 9   SHHAB:                 Those are very expensive.
10
11   HAMZEH:                Not expensive? Expensive!
12
13   SHHAB:                 They cost a bit man. There is nothing for free my dear, you need to know,
14                          man.
15   [00:10:43]
16
17   HAMZEH:                But I’ll tell you, the plan will not work with less than four. It won’t work,
18                          we need at least four.
19
20   SHHAB:                 Four what?
21
22   HAMZEH:                Four people.
23
24   SHHAB:                 There is something we need.
25
26   HAMZEH:                At least four people, either four or more.
27
28   SHHAB:                 Okay, what do you mean?
29
30   HAMZEH:                I mean…We can wait a while, nothing should be rushed. Let’s go, let’s go
31                          quick!! Everything needs to be planned. You have to go see, you need to
32                          think, and nothing should be rushed.
33
34   SHHAB:                 Yeah, that’s what we are going to do, everything quick! There is nothing
35                          quick.
36
37   HAMZEH:                Nothing works when it’s rushed.
38
39   MUNTASSER:             Yeah.
40
41   SHHAB:                 You’ll go see everything and then we….
42
43   MUNTASSER:             Hello. [Probably on the phone.]
44
45   SHHAB:                 Most important thing that you don’t tell anyone.
46


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              Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                                 Page 17 line 1 to Page 21 line 3
                                                                                  Transcript Page 20

 1   HAMZEH:             What?
 2
 3   SHHAB:              Don’t talk.
 4
 5   MUNTASSER:          No, I won’t say anything.
 6
 7   SHHAB:              I mean, Samy.
 8
 9   HAMZEH:             He’ll go to work tonight.
10
11   SHHAB:              This idiot that’s in the back.
12
13   MUNTASSER:          Yeah. [Beeping], [UI] only at night he’ll go.
14
15   SHHAB:              Where is the shooting place?
16                       [Cough]
17
18   SHHAB:              Southside?
19
20                       [Pause]
21
22   MUNTASSER:          Do you sense that Mo is hesitant?
23
24   SHHAB:              I’d say—
25
26   HAMZEH:             [OV] I also sensed that he was hesitant yesterday…But listen, Mo.
27
28   SHHAB:              --I….
29
30   HAMZEH:             Most important thing is that we get a point across to Mo; to stay quiet.
31                       Quiet.
32
33   SHHAB:              He will stay quiet as far as that.
34
35   HAMZEH:             That’s the most important thing.
36
37   SHHAB:              That’s true.
38
39   MUNTASSER:          He’s not going to talk.
40
41   SHHAB:              Yeah, he’s not going to talk.
42
43   HAMZEH:             That’s the most important thing we want. He wants to back away, that’s
44                       fine, and I’m not upset. We did not force him and told him to come. If he
45                       wants to come fine, if not that’s fine too.




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           Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                             Page 17 line 1 to Page 21 line 3
                                                                         Transcript Page 21

1   MUNTASSER:       Without pressure on him.
2
3   HAMZEH:          Yeah.




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              Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                              Page 25 line 22 to Page 28 line 39
                                                                                     Transcript Page 25




22   HAMZEH:            I swear if this thing works out, I swear I’ll be the happiest ever in my life.
23
24   MUNTASSER:         Turn off the phone. I know, turn off the phone.
25
26   HAMZEH:            Don’t worry there is nothing, it’s been a couple of hours.
27
28   SHHAB:             You are becoming just like Samy! Samy is like that; “turn off your phone,
29                      turn off your phone.”
30
31   HAMZEH:            [OV] one has to be safe, Shhab.
32
33   SHHAB:             How do you want, what do you mean turn off your phone!? Okay.
34
35   HAMZEH:            It’s better.
36
37   MUNTASSER:         Whatever one says you feel safe.
38
39   HAMZEH:            In two and a half months, you’ll do that, you’ll turn off your phone for
40                      good.



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              Excerpt of Verbatim Translation of Discovery Disc 73 Part 1-5 (FBI 72)
                                Page 25 line 22 to Page 28 line 39
                                                                                    Transcript Page 26

 1                      [Car engine]
 2
 3   MUNTASSER:         Is it off?
 4
 5   SHHAB:             Yeah.
 6
 7   HAMZEH:            [UI]
 8
 9   SHHAB:             What Samy?
10
11   HAMZEH:            We are for it.
12
13   SHHAB:             We are for it.
14
15   HAMZEH:            I swear, we will start the war. We will start the war, it will be worldwide,
16                      and the whole world will be talking about it, the whole world. They
17                      attacked the Masons. Those Masons, man, are the most loved in the world.
18                      I am telling you, they have control of the world.
19
20   SHHAB:             I saw it on YouTube.
21
22   HAMZEH:            [UI] we will attack them, I mean we will be the first to attack them. God
23                      willing if one of us dies...
24
25   SHHAB:             A martyr.
26
27   HAMZEH:            One hundred percent.
28
29   MUNTASSER:         Do we leave him, or what do we do with him?
30
31   HAMZEH:            No, he’s been shot, shot.
32
33   MUNTASSER:         Do we pick him up?
34
35   HAMZEH:            Yes, if he is still dying; of course you are going to try and pick him up. If
36                      he’s dead that’s it, what can you do?
37
38   SHHAB:             You finish him, the one after finishes him, the one after finishes.
39
40   HAMZEH:            The one after, finishes [UI].



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                                                                                 Transcript Page 27

 1
 2   MUNTASSER:         [UI] and you would be just watching!
 3
 4   SHHAB:             [UI].
 5
 6   HAMZEH:            It needs planning, man, I swear it needs good fucking planning.
 7
 8   SHHAB:             Let’s plan, we are here doing nothing.
 9
10   HAMZEH:            God willing.
11
12                      [Car engine]
13
14   HAMZEH:            The weapons should not be at anyone’s house. They have to be hidden
15                      after the operation, naturally. Hidden in a place [UI.]
16
17   SHHAB:             [OV] No, and before.
18
19   MUNTASSER:         How wonderful it would be if you have it hidden in your home!
20
21   HAMZEH:            I’m just saying.
22
23   SHHAB:             When you bring….
24
25   HAMZEH:            [OV] It has to be hidden.
26
27   SHHAB:             When you bring the weapons from Texas where are you going to put it?
28
29   MUNTASSER:         Hide it.
30
31   SHHAB:             Put it in a storage or somewhere, don’t leave it at someone’s. What do you
32                      think?
33
34   MUNTASSER:         Yeah, just like you said.
35
36   HAMZEH:            I have an idea; we can put it in the spare.
37
38   SHHAB:             Where is that?
39
40   HAMZEH:            The spare tire.



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 1
 2   SHHAB:              How?
 3
 4   HAMZEH:             Inside the tire.
 5
 6   MUNTASSER:          Hide them there always?
 7
 8   HAMZEH:             Yes, inside the tire.
 9
10   SHHAB:              Will they fit in there?
11
12   HAMZEH:             Oh, yeah. Inside the spare tire.
13
14   SHHAB:              That works as well.
15
16   HAMZEH:             Yeah.
17
18   SHHAB:              Even when you bring the weapons no one needs to know.
19
20   HAMZEH:             No one will know.
21
22   SHHAB:              Do you understand me?
23
24   HAMZEH:             No one will know.
25
26   SHHAB:              So no one knows the place, do you know what I mean?
27
28   MUNTASSER:          There will not be anyone with us to begin with.
29
30   SHHAB:              That’s it; this matter will not be out….
31
32   MUNTASSER:          [OV] He and I were afraid yesterday, that if we go to Texas. He and I go
33                       to Texas. It would be because of Mo, man, I was scared, I mean, that’s it, I
34                       felt that Mo was hesitant.
35
36   HAMZEH:             We all felt that he was hesitant.
37
38   SHHAB:             Listen; Mo is hesitant, so I say; I think my opinion is to leave Mo on the
39                      side.




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 3   HAMZEH:              I’d say after the shooting we should break two of those bottles that you
 4                        can ignite and burn the entire temple.
 5
 6   MUNTASSER:           Did you see the [UI] today?
 7
 8   HAMZEH:              No!
 9
10   SHHAB:               No man, not tonight.
11
12   HAMZEH:              After the operation. We will burn everything.
13
14   MUNTASSER:           I don’t know how to make those.
15
16   HAMZEH:              I know.
17
18   SHHAB:               How?
19
20   HAMZEH:              It’s real easy.
21
22   SHHAB:               [Laughter] How?
23
24   HAMZEH:              You would put gas half way.
25
26   SHHAB:               [OV] The… what do you call it? The Molotov cocktail.
27
28   HAMZEH:              Yeah, yeah. Half way gas….
29
30   MUNTASSER:           It looks nice.
31
32   SHHAB:               Yes.
33
34   HAMZEH:              Put, and put some bleach in it.
35
36   SHHAB:               Gas and bleach!?
37
38   MUNTASSER:           Gas!?
39
40   HAMZEH:              Some bleach. Yeah.



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                                                                                 Transcript Page 32

 1
 2   MUNTASSER:          Gas!?
 3
 4   HAMZEH:             Gas, the normal gas.
 5
 6   SHHAB:              You mean benzene?
 7
 8   HAMZEH:             Benzene, yeah.
 9
10   MUNTASSER:          Yes, car gas.
11
12   HAMZEH:             Yeah. You add some bleach to it. If bleach is not available you use
13                       alcohol.
14
15   MUNTASSER:          Alcohol?
16
17   HAMZEH:             Yes.
18
19   MUNTASSER:           You mean rubbing alcohol?
20
21   HAMZEH:             Drinking alcohol.
22
23   MUNTASSER:          Yes, yes.
24
25   SHHAB:              Drinks.
26
27   MUNTASSER:          Yeah.
28
29   HAMZEH:             You put a rag and you soak it in full. You light it up on top. You close it
30                       tight with a tape from the top, you light it up from the top and you throw
31                       it.
32
33   SHHAB:              And then you throw it, Yeah I’ve seen it.
34
35   MUNTASSER:          Do you think it explodes, man?
36
37   HAMZEH:             Yeah. It will ignite man.
38
39   MUNTASSER:          With this one; you blow a whole fucking building up, all on fire.




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 1   HAMZEH:            It’s not that it explodes, it burns, it starts a fire.
 2
 3   SHHAB:             It starts a fire.
 4
 5   HAMZEH:            A fire starts. We will burn the whole thing down.
 6
 7   MUNTASSER:         Yeah.
 8
 9   HAMZEH:            We will pile the corpses on top of each other and ignite it.
10                      [Laughter]
11
12   HAMZEH:            You ignite it [Coughing.] Of course all of us have to be wearing gloves.
13                      No one will walk in with his hands. Masks are a must.
14
15   MUNTASSER:         I’m going to take two blood pressure pills and a heart pill before I walk in.
16                      [Laughter]
17
18   SHHAB:             Pray and walk in.
19
20   MUNTASSER:         Yep. Weed, my dear.
21
22   SHHAB:             No, man.
23
24   MUNTASSER:         Weed, you are going to quit it.
25
26   SHHAB:             There won’t be…you will enter clean. A couple of days prior, I will not
27                      smoke, I will throw away the weed, cleanse your body, since you never
28                      know what will happen. Right or not Samy?
29
30   MUNTASSER:         You think we’ll make it, man?
31
32   HAMZEH:            We must quit weed early.
33
34   MUNTASSER:         Do you think you’ll get out of it?
35
36   HAMZEH:            What is it?
37
38   MUNTASSER:         Will we escape?
39
40   HAMZEH:            I say we will escape. I say we will escape.



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                                                                                       Transcript Page 34

 1
 2   MUNTASSER:            What?
 3
 4   HAMZEH:               Because the thing is easy, there are no cops or anything.
 5
 6   SHHAB:                Yes, but if the cops follow us…watch out for the car--
 7
 8   MUNTASSER:            [OV] I know, man.
 9
10   SHHAB:                --the cops follow us.
11
12   [End of Session 3.]
13
14   [Session 4]
15
16   SHHAB:                You know.
17
18   HAMZEH:               How are they going to do it? They are not going to have a chance to make
19                         it man, we have silencers.
20
21   SHHAB:                Yeah.
22
23   HAMZEH:               Fuck them, quickly and quietly, quietly. Each one will grab a group, shoot
24                         them and get ourselves out walking not even running. Do not run out;
25                         walk.
26
27   SHHAB:                Yeah.
28
29   HAMZEH:               Just walk straight to the car and go, no one saw, no one heard. No
30                         fingerprints, no ass, and the weapons are not even licensed.
31                         [Laughter]
32
33   SHHAB:                Of course.
34
35   MUNTASSER:            It’s done, that’s it.
36
37   HAMZEH:               There is no evidence against you. [Pause] But now we need to go in and
38                         find out if there are any cameras or not, that’s the most important thing.
39
40   SHHAB:                What if there are cameras?



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                                                                                Transcript Page 35

1
2   HAMZEH:             Then there will be an alternate plan. The cameras have an alternate plan.
3
4   SHHAB:              Like what?
5
6   HAMZEH:             I mean we are going to be wearing masks as well, they will not see us.




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                                                                                    Transcript Page 76

 1
 2   HAMZEH:            By God, did any of you have a dream last night?
 3
 4   SHHAB:             A dream?
 5
 6   HAMZEH:            Yes.
 7
 8   SHHAB:             What do you mean?
 9
10   HAMZEH:            I dreamt about what is going to happen.
11
12   SHHAB:             Swear it.
13
14   HAMZEH:            I swear to God.
15
16   MUNTASSER:         But it was just a normal dream.
17
18   HAMZEH:            Yeah. I swear to God that I dreamt about what is going to happen.
19
20   SHHAB:             That’s because you are thinking about it you dreamt it. What did you
21                      dream?
22
23   HAMZEH:            I dreamt [laughing] that [UI.] I swear I dreamt that we entered there, not
24                      that we entered to shoot; we entered normally… wanting to look. After we
25                      left, listen to this; something came to me and told me to go to the desert, to
26                      a desert named: Kabur [PH], something, something like that, I don’t know.
27                      It’s a dream, a dream you don’t know. So we went there and an angel
28                      appeared. I swear to God I’m not lying to you, I swear to God I saw an
29                      angel!
30
31   SHHAB:             To you alone!
32
33   HAMZEH:            It was the three of us!
34
35   SHHAB:             Swear it.
36
37   HAMZEH:            I swear to almighty God.
38
39   MUNTASSER:         What did he tell you?




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                                                                                Transcript Page 77

1   SHHAB:              Okay, continue.
2
3   HAMZEH:             He told me: “What you are doing is right and continue with it.” I swear to
4                       God. I swear to God I’m not lying to you. This thing happened last night.




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18   HAMZEH:          Go see the sign. It’s right here, park behind the sign exactly.
19
20   MUNTASSER:       Are you sure?
21
22   HAMZEH:          Yeah, It’s right here; two hours parking.
23
24   MUNTASSER:       They are going to tow the car.
25
26   HAMZEH:          Now… let’s talk, do you know what you are going to say.
27
28   MUNTASSER:       What?
29
30   HAMZEH:          Once inside… should they ask you anything. We’ll tell them we want to
31                    look!
32
33   MUNTASSER:       Just get out.
34                    [Noise, door closing]
35
36   MUNTASSER:       Isn’t it better that we are far away from it?
37
38   HAMZEH:          Yeah.
39
40   MUNTASSER:       Isn’t it better this way?




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                                                                           Transcript Page 82

 1
 2   HAMZEH:             No, not necessarily.
 3                       [Footsteps]
 4
 5   HAMZEH:             Are you ready, Shhab?
 6
 7   SHHAB:              Ready. Are you ready, Samy?
 8
 9   HAMZEH:             Of course.
10                       [Footsteps, coughing, traffic, beeping]
11
12   MUNTASSER:          Go on in boss.
13                       [Noise, traffic, footsteps]
14
15   [00:21:04]
16
17   HAMZEH:             How are you doing?
18
19   UM2:                Hi.
20
21                       [Footsteps, squeaking, noise]
22
23   UM3:                Hello.
24
25   MUNTASSER:          Hi.
26
27   UF1:                What can we help you with?
28
29   MUNTASSER:          Just want to see what the Masons is about.
30
31   UF1:                Let’s see if we can get somebody out here. Pete… Let me… hold on a
32                       second.
33
34   MUNTASSER:          sure.
35
36   UF1:                 Pete...
37
38   MUNTASSER:          He’s here, he’s here.
39
40   UF1:                Alright I’m heading outside.



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                                                                                   Transcript Page 83

 1
 2   PETE:                Hi, how are you?
 3
 4   MUNTASSER:           Good.
 5
 6   SHHAB:               Good, how are you?
 7
 8   PETE:                I’m Pete.
 9
10   SHHAB:               I’m Shhab, nice to meet you.
11
12   HAMZEH:              Hi, Samy.
13
14   PETE:                Pete is my name.
15
16   HAMZEH:              Nice to meet you.
17
18   PETE:                How can I help you?
19
20   MUNTASSER:           Just wanted to see what Freemasons is about...
21
22   PETE:                Okay.
23
24   MUNTASSER:           Sorry to bother you.
25
26   PETE:                Freemasonry is divided up into a lot of different sections, so you
27                        understand I’ll take you to the basics. The first thing that happens in
28                        Freemasonry, you belong to a blue lodge. Everybody has to belong to a
29                        blue lodge; you don’t have to belong to Sky…
30
31   MUNTASSER:           [OV] what do you mean, what do you mean a blue lodge?
32
33   PETE:                - - I’ll explain a little bit later but a blue lodge is your original lodge.
34                        That’s where you start off as you noticed; 3 degrees in a blue lodge, and
35                        that’s where you become a master mason.
36
37   MUNTASSER:           Okay
38
39   PETE:                So really, even though there is some extra titles; like when you get into
40                        Scottish Rite or York [PH] Rite or you go to the shrine, there is different



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                                                                                      Transcript Page 84

 1                        kinds of other groups that you get involved with, you always have to be a
 2                        master mason, A master mason. [OV]
 3
 4   MUNTASSER:           Master mason.
 5
 6   PETE:                You would get to your blue lodge; you have to go to blue lodge.
 7
 8   HAMZEH:              Um-hum.
 9
10   PETE:                So that’s governed by the grand lodge of the State of Wisconsin. So there
11                        is a grand lodge in every state and they… [OV]
12
13   MUNTASSER:           So this is like a grand lodge?
14
15   PETE:                No.
16
17   MUNTASSER:           Oh.
18
19   PETE:                We are like a supplement. You cannot join Scottish rite without being a
20                        master mason. So, they come in; “O gee, people come in; I’d like to join
21                        this organization.” I’d say: “well you have to be a master man, now a
22                        master mason you got to go back.
23
24
25   MUNTASSER:           [OV] What is that, the three degrees?
26
27   PETE:                Yeah, the three degrees and in Scottish rites is just a way of keeping sort
28                        of track of where you are at and like I say; in basic masonry or the blue
29                        lodge there is three degrees, in Scottish rites there is 29, and then there is
30                        another extra degrees follow 33rd degree that when you do a lot of work or
31                        you give a lot of money, they give you this other. As we always say in
32                        masonry; “There is nothing higher than a third degree mason---
33
34   MUNTASSER:           Okay.
35
36   PETE:                ---a master mason, but we have extra [UI] like to hear a Scottish rite is
37                        called like the college degree Mason, because we have 29 more degrees,
38                        they take you a little further and take what you got three degrees and now
39                        taking in 29 degrees and divide up further so you get a little tighter picture
40                        of this and this and this.



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 1
 2   MUNTASSER:           Okay then…
 3
 4   PETE:                Oh,
 5
 6   UF2:                 Under the five stars.
 7
 8   PETE:                Here is some information I’m sure will help you out. Sometimes you know
 9                        you start explaining to people you get a little confused because there is
10                        just so many different ways about it. So years ago you had to be in a blue
11                        lodge, which is your master mason and then you come up and there is
12                        Scottish rite and then York [PH] rite and then you would join the shrine,
13                        the [UI] shrine.
14
15   MUNTASSER:           Uh-hum.
16
17   PETE:                Well now, you don’t have to belong to either of these. You belong to the
18                        shrine, so you have to get Master Mason, you can be in York rite, shrine
19                        or Scottish rite. York rite is a bunch of additional degrees there that you
20                        can get involved with that ah so there is four, there is three groups in York
21                        rite; There is the chapter, the lodge and the commandry[PH]. And there is
22                        Four degrees there, and Chapter, there is two degrees in housewhole [PH]
23                        and then there is another… we don’t call them degrees when you get a
24                        commander; they are called orders. They would be three. So you can get
25                        into that and again all you are doing is thinking three degrees that you
26                        can’t do as a Master Mason, is it, and you widen it out, so now this degree
27                        may take a part of that and show you more information about---
28
29   MUNTASSER:           [OV] So…
30
31   PETE:                --- what that…
32
33   MUNTASSER:           It’s a bit confusing.
34
35   PETE:                It is, it is, it just keeps expanding it and really going back to the three
36                        original degrees. Now you see you get a Scottish rite, you get a York rite…
37
38   MUNTASSER:           When did it like… when did the Free Masonry start?
39




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 1   PETE:                Well there is all kinds of discussions about that because if you go back in
 2                        history and you start looking for documented information about it; it
 3                        appears that you can find actual things that show documented meetings
 4                        and stuff back in the 1700s. We started to do an edge [PH] where you
 5                        weren’t… but I mean if you look into the bible and you look into the Free
 6                        Masons; they go back to King Solomon’s time and they start talking about
 7                        the building of the Temple---
 8
 9   MUNTASSER:           Sulayman.
10
11   PETE:                --- and the Free… and the free
12
13   MUNTASSER:            [OV] [UI].
14
15
16   PETE:                Yeah and the Free Masons and it really was, and if you look back in that
17                        time and era, you really couldn’t travel, you know they didn’t like… now
18                        you have passports you can travel, well back then you needed like a
19                        passport too. One way to get it is to be a Stone Mason---
20
21   MUNTASSER:           Oh
22
23   PETE:                ---and you were a Stone Mason so you got to travel to other countries and
24                        help build things because you had a craft now and you could go there.
25
26   MUNTASSER:           [UI].
27
28   PETE:                So that’s how it kind of came about and it kind of… that’s how we
29                        explained it, it came about, it got involved with you know. We look at, we
30                        teach about the Stone Masons, but there is nobody here in masonry that is
31                        a Stone Mason.
32
33   MUNTASSER:           [UI].
34
35   PETE:                It’s made as if we are; it’s just a [UI].
36
37   HAMZEH:              Yeah, How about if someone is interesting [sic] and wants to learn more
38                        about it.
39




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 1   PETE:                Okay, well, there is a different thing that you can do. Go on to the website,
 2                        we have some… we have a few things here that… this is a publication that
 3                        comes out from the National Organization of Scottish rite.
 4                        [UI background voices]
 5
 6   PETE:                And now you [UI] Scottish rite and you want the Northern Jurisdiction
 7                        and you have the Southern Jurisdiction.
 8
 9   MUNTASSER:           Okay.
10
11   PETE:                There really [UI] a difference.
12                        [Laughter]
13
14   MUNTASSER:           Is…Is there a religion or belief that you have to have?
15
16   PETE:                No, no Masonry has nothing to do with religion. You have to believe in a
17                        Supreme Being.
18
19   MUNTASSER:           Like God.
20
21   PETE:                 Yes, whatever your God may be.
22
23   HAMZEH:              [UI].
24
25   PETE:                There is Jewish people, there is Catholics, Lutherans, Muslims. We have
26                        all kinds of people that are members of our organization.
27
28   HAMZEH:              Do you know how long it takes, like to become?
29
30   PETE:                It depends on the… I first became member in the 70’s. I joined a lodge and
31                        there was a lot of interested Masons back then and it took a lot longer. It
32                        took me… I came in, in October and did not become a Master Mason until
33                        December of the next year.
34
35   MUNTASSER:           Wow.
36
37   PETE:                Back in about…about 15 years ago, we had one day classes that you can
38                        become a Master Mason in one day.
39
40   MUNTASSER:           Oh.



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 1
 2   PETE:                To me I don’t think anybody really learned anything in one day, but there
 3                        is a lot to learn.
 4
 5   MUNTASSER:           Exactly. There is too much, yeah.
 6
 7   HAMZEH:              That’s right.
 8
 9   PETE:                But we’ve had some guys that have come through them. The majority from
10                        the people that I have seen come through in, ah, one day….
11
12                        [Recording ends]
13
14




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               Excerpt of Verbatim Translation of Discovery Disc 73 Part 8 (FBI 72)
                               Page 5 line 8 to Page 25 line 28
                                                                                   Transcript Page 5

 1
 2   HAMZEH:            Fadi, and since Fadi is coming, don’t discuss the matter in his presence.
 3
 4   SHHAB:             Okay let us talk before Mo Fadi and others come.
 5
 6   MUNTASSER:         Let us discuss it first. I don’t know Fadi and whomever else.
 7
 8   SHHAB:             What is the situation now?
 9
10   HAMZEH:            I want to tell you something men, from now, within two months
11                      maximum, if what we are planning did not take place, I will be going to
12                      Jordan, and go and stay in Jordan, I can’t wait, I am tired, I am with you
13                      two more months, I am ready anytime, if you want us to do it tomorrow, I
14                      am ready. The task is difficult and it needs planning, but we can’t delay it
15                      every time, delay, delay.
16
17   SHHAB:             Okay, since when I knew about the plan? You told me? Yesterday, you
18                      told me you were planning for two months now, right? What did you plan
19                      for the two months? What is your plan?
20
21   HAMZEH:            About the man in Texas and all these things
22
23   SHHAB:             The man in Texas, do you know him, Mo? What is he?
24
25   MUNTASSER:         Russian.
26
27   SHHAB:             Okay, he is going to bring what?
28
29   MUNTASSER:         Whatever you people want, he told me he wants silencers and shit.
30
31   SHHAB:             Who wants the…
32
33   HAMZEH:            We want two machineguns, you now have one, so we want two more, and
34                      we need three silencers, that’s it. Find out how much all together these
35                      will cost, then we will march.
36
37   SHHAB:             Yeah. Going to Texas and will be as follows: do you want all three of us
38                      go together, I am ready. If you want one of us to stay here and observe the
39                      situation, what is the best situation.
40
41   HAMZEH:            I am saying we go together and return together.
42
43   SHHAB:             Nice, when we will go?
44




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 1   HAMZEH:            I am sick and tired of life here, I want to go to Jordan if nothing happens,
 2                      and stay in Jordan, stay in Jordan at least six months, maybe I will stay
 3                      there and try to find a job and work anywhere. I am sick of this country, I
 4                      will either destroy everything here or I’ll go to Jordan, there is no other
 5                      way. I quit the gym too.
 6
 7   SHHAB:             Why?
 8
 9   HAMZEH:            That’s it; the whore doesn’t want to give me a raise, she wants to give me
10                      eight fifty, you want me to work for eight fifty and you give me four hours
11                      only, screw you, I don’t want the job.
12
13   SHHAB:             Okay, then when is what you call it…
14
15   MUNTASSER:         Did you see the place?
16
17   SHHAB:             Yeah.
18
19   HAMZEH:            As he told you, they have two meetings each month; we will go to one of
20                      these meetings, normal, we go and attend the meeting, listen to what they
21                      are saying at the first meeting…
22
23   MUNTASSER:         We will not be able to attend the first meeting….
24
25   HAMZEH:            I understand that.
26
27   SHHAB:             It is not permitted to attend the meeting.
28
29   HAMZEH:            What? He told us you can sit with us; he said you can sit with us.
30
31   SHHAB:             The meeting we could sit with them…
32
33   HAMZEH:            You can sit with them in the upper hall, the first hall we came to see, he
34                      told us if you did not come to this hall, you can’t join the Masons. He said
35                      you have to come to this hall. We will go to the first hall and listen to the
36                      lesson and everything, after which we will see when is the next teaching,
37                      then we will go attack them.
38
39   SHHAB:             But, first we have to bring the weapons. Now, where will we get the
40                      money to bring the weapons?
41
42   HAMZEH:            How much will they cost?
43
44   MUNTASSER:         I’ll talk with him and ask him how much it is exactly.
45




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 1   HAMZEH:            Check and see how much they will cost.
 2
 3   MUNTASSER:         [UI]
 4
 5   HAMZEH:            Can we rent them from him?
 6
 7   MUNTASSER:         Rent? What rent? Listen to this fool!
 8
 9   SHHAB:             He is a dummy, man.
10
11   HAMZEH:            Okay, [UI.]
12
13   MUNTASSER:         He says renting them. [Laughing]
14
15   HAMZEH:            They do not have a license anyway, don’t be afraid.
16
17   MUNTASSER:         Man, I have to talk with him and ask him, what is the price going to be?
18                      Are you able to help me with half of the price?
19
20   SHHAB:             I’ll help you with whatever I can. (UI), what about you Samy?
21
22   HAMZEH:            Sure.
23
24   MUNTASSER:         One is scared there is no planning, I mean.
25
26   SHHAB:             As we are sitting here, let us plan since everyone is saying “We don’t
27                      know.”
28
29   HAMZEH:            I’m telling you if we don’t, if we keep it a secret, if each one has a
30                      weapon, each one has a silencer, and the operation will be one hundred
31                      percent successful. I am telling you, to go with a weapon without a
32                      silencer; we will be exposed from the beginning.
33
34   SHHAB:             Okay Samy, what do you want? We are three and what is your plan. What
35                      do you want? What is the plan and who is going to be driving and how do
36                      you see it? What is your plan?
37
38   HAMZEH:            What am I thinking?
39
40   SHHAB:             Yes.
41
42   HAMZEH:            As I said at the beginning, if we are three, if Mo is with us, Mo will stay
43                      out, one of us will stay at the entrance and lock the door down from inside,
44                      he will be at the main entrance from inside, two will take the elevator to
45                      upstairs, they will enter the room and riddle everyone in it. The one who




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 1                         is standing downstairs will riddle anyone he finds. We will shoot them,
 2                         kill them and get out. We will walk and walk, after a while, we will be
 3                         covered as if it is cold, and we’ll take the covers off and dump them in a
 4                         corner and keep on walking, as if nothing happened, as if everything is
 5                         normal. But one has to stand on the door, because if no one stood at the
 6                         door, people will be going in and out, if people came in from outside and
 7                         found out what is going on, everything is busted.
 8
 9   MUNTASSER:            Yeah, this plan…..
10
11   HAMZEH:               If the door is closed, if the door is closed, one will be at the door…
12
13   SHHAB:                But what if we are only three.
14
15   HAMZEH:               What?
16
17   SHHAB:                Only three on us.
18
19   HAMZEH:               It will be the same way, but without a car.
20
21   SHHAB:                What do you mean without a car?
22
23   HAMZEH:               I mean it is going to be the same way, one at the door, and two will get in,
24                         we will get out normally, but we’ll be walking, we’ll be parking a bit far.
25
26   MUNTASSER:            Um-hum.
27
28   SHHAB:                Yeah.
29
30   [00:16:50]
31
32   HAMZEH:               That is what I am telling you. Because if someone enters and someone is
33                         at the door, he can tell him there is a secret meeting going on inside, there
34                         is police inside, no one is permitted to enter.
35
36   SHHAB:                Yes, but if you are standing at the door and you know what is in your
37                         hand.
38
39   HAMZEH:               Man, you will be standing inside, having it inside with you, are you going
40                         to hold it like this in your hand, man! You are standing inside the door
41                         anyone coming, you will tell him there is a meeting going on and there are
42                         police here, and there are some problems, then you get out and go.
43
44   SHHAB:                But this way, the people will be questioning you when you do this, if
45                         someone comes everyday….




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 1
 2   HAMZEH:            If someone wants to come in, let him in and finish him off, man.
 3
 4   MUNTASSER:         [Laughing]
 5
 6   HAMZEH:            There is nothing wrong with that, come on in, you are most welcome,
 7                      finish him-off at the door.
 8
 9   SHHAB:             Okay what about his kids and the kids inside?
10
11   HAMZEH:            Fuck them mother fuckers, try not to kill the kids, let them be, the old
12                      ones, these are SOBs, man, they have built the biggest Masonic column
13                      next to Ka’ba, this was built lately, recently, recently. You are free to do
14                      whatever, as for me, this is the plan I told you.
15
16   SHHAB:             Okay.
17
18   HAMZEH:            This the best way that it is going to work I am telling you.
19
20   SHHAB:             Okay.
21
22   HAMZEH:            The best way that it is going to work.
23
24   MUNTASSER:         What do you think, man, the Palestinians back home will know about us,
25                      like HAMAS and others?
26
27   SHHAB:             Like HAMAS and so on.
28
29   HAMZEH:            I am telling you, man. If this hit is executed, it will be known all over the
30                      world.
31
32   MUNTASSER:         You think HAMAS will respect us or what?
33
34   HAMZEH:            Sure, all over the world, all the Mujahidin will be talking and they will be
35                      proud of us, what is wrong with you, such operations will increase in
36                      America, when they hear about it. The people will be scared and the
37                      operations will increase, and there will be problems all over, because more
38                      than one problem took place already, and this will be the third problem,
39                      this will lead to people clashing with each other. This way we will be
40                      igniting it. I mean we are marching at the front of the war.
41
42   SHHAB:             Does HAMAS know we are doing this?
43
44   HAMZEH:            No, I have nothing to do with HAMAS.
45



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 1   SHHAB:             [UI] know, you do not.
 2
 3   MUNTASSER:         Do you think they know we are doing this?
 4
 5   HAMZEH:            My dear, no, they don’t know.
 6
 7   SHHAB:             But if they know, they will …
 8
 9   HAMZEH:            Let me tell you, subject like this should not be talked about, whoever it is,
10                      because the spies are all over, the spies are all over the world.
11
12   SHHAB:             You mean like your cousins.
13
14   HAMZEH:            Whoever they…Muntasser, I told you do not speak these matters on the
15                      phone.
16
17   MUNTASSER:         I know, but if we went back home.
18
19   HAMZEH:            Back home is something else, the situation back home is difficult, man,
20                      and you cannot.
21
22   MUNTASSER:         I am saying you do not understand me.
23
24   HAMZEH:            There is the possibility here, approximately 85%
25
26   MUNTASSER:         What is our work, our work as just Muslims or we are with HAMAS
27                      group?
28
29   HAMZEH:            We are Muslims, defending Muslim religion, we are on our own, my dear,
30                      we have organized our own group. We have our own group, not with
31                      HAMAS, not with my ass, we are here defending Islam, young people
32                      together join to defend Islam, that’s it, that is what our intention is. I am
33                      telling you, if there is a fourth one with us, it will be much better, because
34                      the fourth will be driving around the building looking who is coming out
35                      and who is going in.
36
37   SHHAB:             The fourth one is Mo, and you saw how Mo was talking.
38
39   HAMZEH:            Exactly…
40
41   SHHAB:             I am talking seriously now
42
43   HAMZEH:            Listen, let me tell you, I am going to tell you…
44
45   SHHAB:             Do not force him, Samy…




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 1
 2   HAMZEH:            I am not forcing anyone, you listened to me yesterday saying whoever
 3                      wants to withdraw, let him do so, but he must stay silent.
 4
 5   SHHAB:             If he was not interested, he would not have brought Fadi
 6
 7   MUNTASSER:         Yes that’s how I felt. Why did he say he will be bringing Fadi with him?
 8
 9   SHHAB:             And I am afraid he will be speaking Bro, and Bro in front Fadi.
10
11   HAMZEH:            I’ll keep him quite the minute he comes, don’t worry. I’ll take him aside
12                      and tell him not to talk about anything, I’ll tell him. But I am telling you,
13                      if we have a fourth one, he will be guarding the two doors for us, the door
14                      on the side and the front door, with the car, if at any time someone is
15                      coming or something like that, he will send us a message or call us telling
16                      us what is going on, that is the best thing, however, if there is no fourth
17                      one, we will stay on our plan, and God will help us.
18
19   SHHAB:             Okay, nice, this plan is a good one. What do you think Muntasser?
20
21   MUNTASSER:         I told you it is good with me, I like it like it ….
22
23   SHHAB:             Do you have another idea?
24
25   MUNTASSER:         The same shit, I mean it makes sense I mean.
26
27   SHHAB:             I can say I see Samy’s plan make sense.
28
29   HAMZEH:            This is the best one.
30
31   MUNTASSER:         I mean what you going to do?
32
33   HAMZEH:            Because the three of us can’t go in together and leave together (OV) the
34                      three of us can’t go in together and leave tighter, two must enter and
35                      finish-off everyone…
36
37   MUNTASSER:         No man, that’s it. Someone must be in charge.
38
39   HAMZEH:            Exactly, someone must be on the door that is the most important matter;
40                      someone must be lookout at the door.
41
42   SHHAB:             Okay, who will be by the door?
43
44   HAMZEH:            It makes no different for me, I can stand by the door, if you want me to get
45                      inside, and I’ll get inside, you make the decision.



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 1
 2   SHHAB:                What do you want Muntasser?
 3
 4   MUNTASSER:            I’ll stand by the door.
 5
 6   HAMZEH:               You want to stand by the door? Okay
 7
 8   MUNTASSER:            From inside.
 9
10   HAMZEH:               What if there is betrayal?
11
12   SHHAB:                What do you mean?
13
14   HAMZEH:               What if someone runs away, we do not want anyone to run away.
15
16   MUNTASSER:            [Laughing.]
17
18   HAMZEH:               No my dear, listen, when it is serious, and you see the police and so, the
19                         third escape without giving us any signal, this will be a fucked up
20                         situation.
21
22   MUNTASSER:            He will be fucked up outside if he tries to escape [Laughing].
23
24   HAMZEH:               So you are at the door?
25
26   SHHAB:                I am going to be on the door, you and Muntasser will be going in, you and
27                         Samy will go in.
28
29   MUNTASSER:            Okay, it makes no difference to me.
30
31   [00:21:49]
32
33   HAMZEH:               It makes no difference to me too. As long as the one on the door,
34                         understands he has bigger responsibility than the others. For your
35                         information, he has to eliminate everyone around him, those who are
36                         coming and those who are leaving, he has to eliminate everyone, there is
37                         no one left, I mean when we go into a room, we will be killing everyone,
38                         that’s it, this is our duty, as for the one at the door, he must be watching all
39                         four directions, watching the outside and the inside.
40
41   SHHAB:                If the police came, I’ll get inside and will be all three of us against them.
42
43   HAMZEH:               The police will not have time to come.
44
45   SHHAB:                 If it happened, man one has to have the worst possibilities.




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 1
 2   HAMZEH:            What is going to happen, we get all three of us together, and one will go
 3                      separately.
 4
 5   MUNTASSER:         We’ll not let one alone…
 6
 7   SHHAB:             It is going to be like…
 8
 9   MUNTASSER:         I am saying we do not leave one all alone.
10
11   HAMZEH:            I am telling you, as I was saying; all three of us get in together, one will
12                      go, to the one that is staying at the reception…
13
14   SHHAB:             Where? Where she was staying today?
15
16   HAMZEH:            Exactly, if she was alone, it is okay, if there were two of them, eliminate
17                      both of them, of course you do not let the blood to show, shoot her from
18                      the bottom, two or three shots in her stomach and let her sit on the chair
19                      and push her to the front, as if she is sleeping, did you understand? Then
20                      stay downstairs, the other two will take the elevator, to the third floor, go
21                      straight to the room, open the door, shoot everyone, move fast even
22                      avoiding using the elevator and take the stairs running down.
23
24   MUNTASSER:         Yeah.
25
26   HAMZEH:            Using the stairs, the third one on the door will notice us coming down, we
27                      will go out together. No one sees anything and no one knows anything.
28                      We leave, as if there is nothing, no running, no panic--
29
30   SHHB:              Yeah.
31
32   HAMZEH:            -- just regular walking. We’ll get three head covers with three holes in
33                      them.
34
35   SHHAB:             As if we are using them for the cold weather.
36
37   HAMZEH:            Exactly, we’ll get in all three of us together, the minute we get in, we
38                      shoot whoever is in front of us, and all have to be eliminated. One stays
39                      down and two will go up quickly.
40
41   SHHAB:             But you will not be using the elevator, you will be running on the stairs.
42
43   HAMZEH:            Use the stairs, no problem.
44
45   MUNTASSER:         Yeah, on the stairs.




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 1
 2   HAMZEH:            It is faster on the stairs.
 3
 4   MUNTASSER:         The elevator will take time, man.
 5
 6   SHHAB:             Yeah.
 7
 8   MUNTASSER:         Imagine getting stuck inside [Laughing]
 9
10   SHHAB:             No, seriously!
11
12   MUNTASSER:         I know.
13
14   HAMZEH:            But the one who is down stairs, I am telling you, his responsibility will be
15                      the biggest of all because he has to watch all the corridors down in the
16                      building.
17
18   SHHAB:              Where is he going to be staying, the one who is down the building?
19
20   HAMZEH:            At the second door inside.
21
22   SHHAB:             By the reception…
23
24   HAMZEH:            Exactly.
25
26   SHHAB:             So you can see both doors.
27
28   HAMZEH:            Exactly.
29
30   SHHAB:             And you will be stationed on the corner if there is any …
31
32   HAMZEH:            Exactly, you will be standing on the other door which is inside. At the
33                      door, from inside, you will be at the door looking inside and outside. You
34                      will be looking at everyone.
35
36   MUNTASSER:         Yeah.
37
38   SHHAB:             With God’s blessing.
39
40   HAMZEH:            And we will eliminate everyone. No one will see us eliminate them, we
41                      will withdraw and leave.
42
43   SHHAB:             Okay, when we are going to go to Texas? Because this subject is serious
44                      and everything is serious, I am talking seriously now.
45




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 1   HAMZEH:             I am talking seriously too.
 2
 3   MUNTASSER:          I’ll talk with him and tell him I need ….
 4
 5   SHHAB:              When are you going to talk with him and tell him …?
 6
 7   MUNTASSER:          It is going to be tomorrow if you want to.
 8
 9   HAMZEH:             Talk to him tomorrow and see what he will say.
10
11   SHHAB:              Talk to him tomorrow.
12
13   MUNTASSER:          I’ll talk to him tomorrow and ask him for the prices, what do you want
14                       exactly?
15
16   SHHAB:              What we want? What, are you not with us?
17
18   MUNTASSER:          What do we want exactly?
19
20   SHHAB:              Okay, what do we want?
21
22   [00:24:46]
23
24   HAMZEH:             We want two machineguns like the one you have.
25
26   MUNTASSER:          Okay.
27
28   HAMZEH:             And we need two silencers.
29
30   SHHAB:              Three of them.
31
32   MUNTASSER:          Three; you are my dick.
33
34   HAMZEH:             Three, yes three—
35
36   MUNTASSER:          [OV] He is an ass, man.
37
38   HAMZEH:             -- silencers, and that’s it.
39
40   MUNTASSER:          Come-on, bring the third one, no problem.
41
42   SHHAB:              Are you serious? You are …
43
44   MUNTASSER:          I am serious, I don’t give a fuck, by God I am serious.




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 1   SHHAB:             It is all it takes, when it became serious [UI].
 2
 3   MUNTASSER:         I swear to God
 4
 5   SHHAB:             No, because there it is different, man, there is different.
 6
 7   MUNTASSER:         No, no, no.
 8
 9   HAMZEH:            We have started it and we will get out of it just like we agreed.
10
11   MUNTASSER:         Seriously, yes.
12
13   HAMZEH:            As we agreed.
14
15   MUNTASSER:         Seriously.
16
17   HAMZEH:            Your gloves are on your hands, everything is in your hands, and
18                      everything is 100% okay. There will not be any clue about us, we are
19                      going to hide the weapons we used, and it has to disappear.
20
21   MUNTASSER:         We need a place to hide them, man.
22
23   HAMZEH:            You can hide it anywhere, man.
24
25   SHHAB:             Any place…
26
27   HAMZEH:            In the street, out…
28
29   MUNTASSER:         Not in the street, man.
30
31   HAMZEH:            Man, you have to hide them, the weapons must be hidden.
32
33   MUNTASSER:         Where, where?
34
35   SHHAB:             Okay, one moment.
36
37   HAMZEH:            Not in anyone’s house, not in anyone’s quarter.
38
39   MUNTASSER:         Not in my home or yours.
40
41   HAMZEH:            Not in anywhere, I mean in the street is the safest place. The same night
42                      that we execute the operation, the weapons must be hidden, should not
43                      stay with us, they have to be hidden.
44




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 1   SHHAB:             Now, before that, where are we going to put the weapons when we bring
 2                      them from Texas?
 3
 4   HAMZEH:            In the car.
 5
 6   SHHAB:             No, not in the car.
 7
 8   HAMZEH:            Yeah.
 9
10   SHHAB:             What if you were stopped by the police and search you or something like
11                      that, right?
12
13   MUNTASSER:         Right.
14
15   HAMZEH:            And how do you bring weapons usually?
16
17   MUNTASSER:         I put it in the trunk.
18
19   SHHAB:             No, I mean when we reach Milwaukee, man.
20
21   MUNTASSER:         When we reach Milwaukee, where?
22
23   SHHAB:             I am asking.
24
25   MUNTASSER:         You can’t leave it at your home, man.
26
27   SHHAB:             Yeah, yeah.
28
29   MUNTASSER:         You can’t leave it home, impossible.
30
31   HAMZEH:            It will be managed, it will be managed God willing. God willing it will be
32                      managed. If we went to Texas and came back, the second day after we
33                      return from Texas, the operation will be executed.
34
35   SHHAB:             Yeah.
36
37   HAMZEH:            I mean it is going to be executed. After it is completed, we will go to an
38                      alley, or a fucking place on the lake, between bushes and dump the
39                      weapons. So, you would hide them, hide them under dirt, hide them in my
40                      ass, I don’t care. When the weapons are hidden, we’ll keep quiet for a
41                      month, and then, God will facilitate. When I was inside, there was no
42                      camera no nothing, there is nothing inside.
43
44   MUNTASSER:         Did you notice?




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 1   SHHAB:             Yes.
 2
 3   HAMZEH:            The place is one hundred percent safe, one hundred percent, I mean this
 4                      place is the best place you can do it at. The safest place, the safest place. If
 5                      there are children and something like that, take them all and lock them in
 6                      one room, that’s it.
 7
 8   MUNTASSER:         The phones shit?
 9
10   SHHAB:             What about the phones?
11
12   MUNTASSER:         The children’s phones!
13
14   SHHAB:             Whose idea was it choosing this place?
15
16   MUNTASSER:         Whose idea?
17
18   HAMZEH:            Devil’s Temple.
19
20   MUNTASSER:         Devil’s Temple.
21
22   HAMZEH:            Masons.
23
24   MUNTASSER:         He was telling me about two who are working at Landmark from
25                      yesterday, mother fuckers, with long hair.
26
27   SHHAB:             Which one, what is wrong with him?
28
29   MUNTASSER:         They worship the devils, the one who was shouting yesterday.
30
31   SHHAB:             Which one?
32
33   HAMZEH:            Remember the one we played pool with, the one with the glasses?
34
35   SHHAB:             Yes. How did you know?
36
37   HAMZEH:            He is Mason, he told me.
38
39   MUNTASSER:         Really?
40
41   HAMZEH:            Yes.
42
43   SHHAB:             The whole country.
44
45   MUNTASSER:         Do you know the one on pictures, did you see how they look like, man!?




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 1
 2   HAMZEH:                These people are the ones who control the world, man; it came to a point
 3                          for them to build a Masonic column next to Ka’ba.
 4
 5   MUNTASSER:             Fuck, man.
 6
 7   HAMZEH:                All the pilgrims’ attention is toward it, toward the clock not toward the
 8                          Ka’ba, they are not paying attention to Ka’ba.
 9
10   SHHAB:                 I saw, saw the clock.
11
12   HAMZEH:                They are not paying any attention to Ka’ba, man, that clock is Masonic.
13
14   SHHAB:                 I saw it.
15
16   HAMZEH:                The clock is Masonic, and the clock at downtown is also Masonic.
17
18   SHHAB:                 It is a sky scraper [OV].
19
20   [00:28:08]
21
22   HAMZEH:                They are all Masonic; they are playing with the world like a game, man,
23                          and we are like asses, we don’t know what is going on, these are the ones
24                          who are fighting, these are the ones that must be killed, [UI] because these
25                          are the ones who are against us, these are the ones who are making living
26                          for us like hell.
27
28   SHHAB:                 Okay, that is nice. Tomorrow….
29
30   MUNTASSER:             Listen, the important thing is the trust; we have to trust each other’s bro.
31
32   SHHAB:                 That’s it, it hasn’t any, man. No word should get out of three of us…
33
34   MUNTASSER:             I mean seriously, man.
35
36   SHHAB:                 I think that [OV] listen,
37
38   MUNTASSER:             I am scared now that Mo brought this kid, man …
39
40   SHHAB:                 He told him… as for me…listen…
41
42   MUNTASSER:             I get disgusted from these matters, man, and frankly, there are some
43                          Palestinians I do not trust.
44
45   HAMZEH:                Today, today I will talk to Mo and make everything clear with him.




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 1
 2   MUNTASSER:          [UI], okay, I am [UI] it has to stay between us.
 3
 4   HAMZEH:            I’ll tell him this has to stay between us, and it should not be told to
 5                      anyone, and that’s it.
 6
 7   SHHAB:             What do you think, Mo? Yesterday I saw Mo…
 8
 9   MUNTASSER:         I am with Shhab in this.
10
11   HAMZEH:            When Mo called you on the phone today, what did he tell you?
12
13   MUNTASSER:         I don’t know, but he talked to me and we talked--
14
15   SHHAB:             He was playing around, he talked with my uncle, and I was not
16                      comfortable in talking with him.
17
18   MUNTASSER:         Yeah.
19
20   HAMZEH:            Okay.
21
22   SHHAB:             What did he tell you? Why did, what is called… [OV]
23
24   MUNTASSER:         He told me, why you are not going with me, this is fuck up matter, as if
25                      someone is fucking my sister, that is what he is doing to her, I told him,
26                      what the fuck man! You were at work.
27
28   SHHAB:             And yesterday he said he had an appointment at one o’clock, he has a
29                      customer, right?
30
31   MUNTASSER:         Yeah.
32
33   SHHAB:             I saw him a while…Listen, Mo is my friend, a brother and a dear one to
34                      me, do you understand?
35
36   MUNTASSER:         Yeah, yeah, I know, I know.
37
38   SHHAB:             But for this job, I see that he is going …. [OV], he is going to stretch it
39                      with us...
40
41   HAMZEH:            I have a family--
42
43   SHHAB:             Do you understand?
44
45   HAMZEH:            --I have a family too! You think I don’t have a family?




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 1
 2   SHHAB:             Samy, people are not the same, man. I have family, he has a family too,
 3                      man.
 4
 5   MUNTASSER:         He has girls [OV]
 6
 7   SHHAB:             He has his girls, so don’t force him, do you understand me?
 8
 9   HAMZEH:            I am not forcing him, I did not.
10
11   SHHAB:             That’s it, let him alone, and let it be normal.
12
13   MUNTASSER:         The important thing is that he shouldn’t open his mouth about this.
14
15   SHHAB:             Yes, that is it, and do not discuss the notion that we need four people
16                      because he will ask to be included, do you understand, and he will be
17                      postponing and so on.
18
19   MUNTASSER:         always, the devil is active between groups.
20
21   SHHAB:             Exactly. Let it be limited, each one knows about his own, right? And
22                      tomorrow you speak with the man, agree with him, and if they are
23                      available, I am free, Samy knows.
24
25   HAMZEH:            I am free too.
26
27   SHHAB:             I was to go on a trip to Jordan a while ago.
28
29   HAMZEH:            I want to go to Jordan too. I am free now, I don’t have any work.
30
31   MUNTASSER:         You mean after the completion of this thing
32
33   HAMZEH:            Let us finish this thing, depending on God.
34
35   SHHAB:             If you want, anytime the man is ready, we’ll go to Texas.
36
37   MUNTASSER:         That’s it.
38
39   SHHAB:             This is serious talk.
40
41   MUNTASSER:         God willing.
42
43   SHHAB:             With God’s help.
44
45   HAMZEH:            You find out how much the man wants.




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 1    MUNTASSER:           I’ll tell you the price, how much it will cost, man. It is what it is, I am not
  2                        going to pay all by myself, you think I have tree of money?
  4
  5   00:30:58]
  6
  7   HAMZEH:              For now, find out how much it will cost. How much did you pay for your
  8                        weapon?
  9
10    MUNTASSER:           250, $300.
11
12    SHHAB:               Say $300 a weapon.
13
14    HAMZEH:              $300, it will total $600, $300 from me and $300 from Shhab, and we need
15                         two, three silencers.
16
17    SHHAB:               How much?
18
19    HAMZEH:              Three silencers.
20
21    MUNTASSER:           Say two hundreds for the silencer.
22
23    HAMZEH:              For each one?
24
25    MUNTASSER:           Yes.
26
27    HAMZEH:              It means each one needs five hundred dollars.
28
29    SHHAB:               Talk tomorrow with him and ask about their prices. I can afford that with
30                         the help of my family. I could arrange it when it becomes serious. But no
31                         one should know about it, not even your family, Samy.
32
33    HAMZEH:              Yeah.
34
35    MUNTASSER:           Yeah, no one should know seriously—
36
37    HAMZEH:               No one knows.
38
39    MUNTASSER:           --No one should know that we are going to Texas.
40
41    SHHAB:               Yeah. No one else should know that we are going. It will be better.
42
43    HAMZEH:              No one will know, Shhab.
44
45    MUNTASSER:           God willing.




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 1
  2   SHHAB:             And this talk is between us, and we sit, we sit together, there should be
  3                      nothing over the phone. Do you understand what I am saying?
  4
  5   MUNTASSER:         Yes, there should be nothing over the phone.
  6
  7   SHHAB:             Whenever we sit we sit together, and there should be nothing like, “I saw
  8                      Muntasser yesterday and he told me so and so, and I saw Shhab and he
  9                      told me so and so” and the likes.
10
11    MUNTASSER:         [OV] yes, yes, there should no
12
13    SHHAB:             --and everyone acting alone.
14
15    MUNTASSER:         --there should nothing be said outside of three of us.
16
17    SHHAB:             When we sit, everyone should be frank, right or not?
18
19    MUNTASSER:         [UI.]
20
21    SHHAB:             Anyone who is feeling right now that he is not able, or feels that
22                       something is going to happen to him, or be afraid, or anything else, should
23                       speak now, because at that time it will be too late.
24
25    HAMZEH:            Yup. I am ready now.
26
27    MUNTASSER:         Ready.
28
29    SHHAB:             Yes, thank God.
30
31    MUNTASSER:         Yes, thank God.
32
33    HAMZEH:            How many pieces of weapons do you have now?
34
35    MUNTASSER:         I have one piece.
36
37    HAMZEH:            How many handguns?
38
39    MUNTASSER:         Two. I am not going to use them, man. They are registered in my name.
40
41    HAMZEH:            Oh, okay.
42
43    MUNTASSER:         What the fuck, man! [Laughing] He is crazy.
44
45                       [Pause]




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                                                                                 Transcript Page 24

 1
 2   MUNTASSER:         And weed, are you going to quit this shit?
 3
 4   HAMZEH:            Yes.
 5
 6   SHHAB:             As for weed, you won’t be going there stoned or something like that.
 7
 8   MUNTASSER:         [Laughing.]
 9
10   SHHAB:             I am talking seriously.
11
12   MUNTASSER:         No, I know.
13
14   HAMZEH:            I have a feeling that it will be accomplished, but we have to know their
15                      meeting.
16
17   SHHAB:             They have a meeting on the 26th.
18
19   HAMZEH:            27th.
20
21   SHHAB:             It will be on Wednesday.
22
23   MUNTASSER:         What time?
24
25   HAMZEH:            At six. I am saying we should forget this date.
26
27   SHHAB:             Okay.
28
29   HAMZEH:            I am talking about forgetting this meeting, and wait for the next meeting.
30                      We will enter on them on the following meeting.
31
32   SHHAB:             By the way, there are other places; like these people, meetings and things
33                      like that.
34
35   HAMZEH:            We want this place because we saw it, I mean we knew it.
36
37   SHHAB:             Yeah.
38
39   HAMZEH:             But at the same time, we don’t want to get in where there are few people,
40                      you understand what I am saying? We have to know that there will be a
41                      large number.
42
43   MUNTASSER:         What did he tell us? How many people would be there?
44
45   HAMZEH:            He said the other places have more people always.




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 1
 2   MUNTASSER:         Yeah.
 3
 4   HAMZEH:            That is what he said. 5
 6   MUNTASSER:         He said there will be nearly thirty people in this place. 7
 8   SHHAB:             Yeah.
 9
10   MUNTASSER:         30, seems to be small, right?
11
12   HAMZEH:            Thirty--thirty is excellent. If I got out, after eliminating thirty people, I
13                      will be happy 100%.
14
15   MUNTASSER:         [laughing].
16
17   HAMZEH:            100% happy, because these 30 will terrify the world. They will know that
18                      Muslims are mother fuckers nobody play with them.
19
20   MUNTASSER:         But he was talking about our Lord, bro. He talked about God in normal
21                      way.
22
23   HAMZEH:            He talks like that just to convince you.
24
25   MUNTASSER:         You think so?
26
27   HAMZEH:            Oh yeah, man. These freemasons are sons of bitches, man. They know
28                      how to play with your mind.




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30   SHHAB:                  You know ‘O Samy, this maneuver of yesterday had exposed
31                           Mo. The only reason that Mo came is because he has problems
32                           with Muntasser; you know what I mean? This talk is baloney.
33
34   HAMZEH:                 I tell you that Mo showed that he is a big mouth.
35
36   SHHAB:                  He’s only good at talking man.
37
38   HAMZEH:                 So What I did yesterday is that I changed the subject and turned
39                           things against Muntasser--
40
41   SHHAB:                  Yeah, I understand, I understand.
42
43   HAMZEH:                 --Yeah, I turned it around in front of Mo so that Mo would
44                           discard the idea. You know what I mean?
45




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 1   SHHAB:                     I also had the same idea. [Loud conversation nearby]. Even
 2                              when he spoke in the car while Mo was waiting for you; I told
 3                              him that Mo won’t do us any good. You know what I mean?
 4
 5   HAMZEH:                    Yeah.
 6
 7   SHHAB:                     That’s just empty talk man, but we just want to know how; you
 8                              know what I mean?
 9
10   HAMZEH:                    I know that Muntasser, Muntasser is not going to do that.
11
12   [00:28:27]
13
14   SHHAB:                     I… Listen, do you think that I went to bed when I left
15                              yesterday?
16
17   HAMZEH:                    Me neither.
18
19   SHHAB:                     Huh?
20
21   HAMZEH:                    Me neither.
22
23   SHHAB:                     I stayed awake till seven o’clock in the morning.
24
25   HAMZEH:                    All of what happened yesterday was because of Mo.
26
27   SHHAB:                     I thought about calling you at five o’clock in the morning to tell
28                              you “Samy, do you want to come so we can sit together on the
29                              street and talk?” I swear that I could not sleep man. I mean I got
30                              to thinking man; I mean I know Muntasser’s family man, you
31                              know what I mean? I mean that it’s impossible, and besides he’s
32                              right there with us and he’s the one who is tired with his family
33                              and daughter and he has… I mean, you know what I mean? I
34                              mean that he is… You know what I mean? I mean I’m talking
35                              to you seriously.
36
37   HAMZEH:                    I know, I swear that I know.
38
39   SHHAB:                     I mean, you know what I mean? This is what makes me think
40                              that this thing is very unlikely. Also, what makes me think that
41                              this is very unlikely is that if there was anything going on, they
42                              would have come after us--
43
44   HAMZEH:                    Something would have happened.
45




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 1   SHHAB:                     -- yesterday one hundred percent. I swear to God that the main
 2                              door of the apartment would have opened by itself; I’d say
 3                              that’s it, I’ll get myself ready. I swear to God ‘O Samy.
 4
 5   HAMZEH:                    Exactly, so, let me tell you--
 6
 7   SHHAB:                     In front of Mo we abbreviated everything--
 8
 9   HAMZEH:                    We abbreviated everything; exactly, [UI]
10
11   SHHAB:                     He even started talking, man, in the presence of Fadi [LNU] and
12                              his brother.
13
14   HAMZEH:                    [OV] He embarrassed me—he embarrassed me.
15
16   [00:29:25]
17
18   SHHAB:                     But you hit him with the right word man. I didn’t feel like
19                              talking to him; I really didn’t want to talk ‘O Samy. After what
20                              had happened yesterday, I just stayed put in the car; I didn’t
21                              know what to do. You know what I mean? I didn’t feel like
22                              talking. I saw the way he was talking, I saw the way he
23                              approached us. The man’s words are worthless. Thank God it
24                              ended that way.
25
26   HAMZEH:                    The thing now is that we’ve given Mo the impression -I mean-
27                              that we are bullshit.
28
29   SHHAB:                     Yeah.
30
31   HAMZEH:                    We’re done with that topic; do you know what I mean?
32
33   SHHAB:                     Yeah.
34
35   HAMZEH:                    That we’ve turned against Muntasser Like I’m telling you,
36                              Muntasser doesn’t do that; Muntasser has been talking to me for
37                              a long time about this topic. I’m telling you that had Muntasser
38                              wanted to do this, he could have done it a long time ago; you
39                              know what I mean?
40
41   SHHAB:                     I know his parents and such--
42
43   HAMZEH:                    I know where he goes to get the weapons from. I know what the
44                              [UI] is of the man that he gets the weapons from, and that he
45                              brings the weapons through smuggling. He gets the weapons by
46                              smuggling. It means that Muntasser would have been the first
47                              one among us to get busted.

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 1
 2   SHHAB:                     Yeah that’s what I thought, and besides that--besides all that, I
 3                              know his family; you know what I mean? It is impossible that
 4                              he would do something like that; not with you, because had he
 5                              wanted to do it to you, he wouldn’t do it while I’m with you
 6                              because he knows how my family in Jordan is. He knows that
 7                              they would wipe out his family completely.
 8                              Do you know what wiping out means? They would wipe out his
 9                              family in its entirety and no members of the Al-Naaj [PH]
10                              family would be left behind. I mean that’s what crossed my
11                              mind; I mean it’s impossible for him to do that. He is smart; he
12                              knows that he can’t do something like that. He is smart that he
13                              thinks about it and he knows what’s right.
14
15   HAMZEH:                    It’s not in his interest to do that.
16
17   SHHAB:                     And then Muntasser since a long time ago; since the days of the
18                              William mall, he used to talk and say let’s go and do the Mall
19                              and… Do you remember that?
20
21   HAMZEH:                    Yeah.
22
23   [00:30:54]
24
25   SHHAB:                     He’s got [UI] make sense, but he hasn’t shown his true colors;
26                              he’s going along with him in order to get his objectives and…
27                              Do you know what I mean; do you know? This is what made
28                              me feel better yesterday.
29
30   HAMZEH:                    This maneuver that we did yesterday--
31
32   SHHAB:                     That maneuver that you did yesterday was beautiful; it was
33                              very, very beautiful. Today Muntasser called me early in the
34                              morning and then at noon, but I didn’t answer him. I thought
35                              that we’ll sit all of us together so that the talk will be between
36                              the three of us; you know what I mean? So that there isn’t “I
37                              told Samy and Samy told me and so on.”
38
39   HAMZEH:                    Yeah, Mo did show his true colors.
40
41   SHHAB:                     Yeah, in order for you to--
42
43   HAMZEH:                    Like I told you.
44
45   SHHAB:                     Totally man.
46


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1   HAMZEH:                 Yeah. It’s good that we turned the subject around; we have
2                           turned the subject around.




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22   HAMZEH:                 Okay, so Mo hates you; he doesn’t like you.
23
24   MUNTASSER:              Yeah; that’s known and because of that I wasn’t comfortable.
25
26   HAMZEH:                 That’s why we made up this story in order to let Mo get out all
27                           what he’s been keeping in his heart, to get out all what’s inside
28                           his heart.
29
30   MUNTASSER:              Yeah.
31
32   HAMZEH:                 All what’s in his heart. So it got to the point where he started
33                           saying that Muntasser is working for the government.
34
35   SHHAB:                  He started talking to people that --
36
37   MUNTASSER:              That fucking son-of-a-bitch.
38
39   HAMZEH:                 Now cut this short; don’t go and talk to him again about this
40                           subject, because if you go back and talk to him about this
41                           subject, it will be a disaster for all of us.
42
43   MUNTASSER:              No I’m not going to.
44
45   HAMZEH:                 Stay on this thing and say that you work for the government.
46                           That’s it; do you understand me? You work for the government.
47




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 1   MUNTASSER:                 How is that?
 2
 3   SHHAB:                     You work with the government.
 4
 5
 6
 7   [00:52:22]
 8
 9   HAMZEH:                    That’s it; you stick with it.
10
11   MUNTASSER:                 I will expose--
12
13   HAMZEH:                    No you shouldn’t talk in front of people; when Mo… We want
14                              Mo to remain thinking that way.




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               Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
                          Page 32 line 20 to Page 32 line 46
                                                                          Transcript Page 32




20   HAMZEH:                 Now the talk that took place yesterday; Mo said that you are
21                           going to report us.
22
23   MUNTASSER:              Report us? Meaning that I’m going to report myself? Am I
24                           fuck-up--
25
26   HAMZEH:                 Listen to me—listen to me.
27
28   MUNTASSER:              -- am I a fuck-up to report myself man?
29
30   HAMZEH:                 My dear, we understand—we understand. We went along with
31                           what Mo said so that nothing will come out about you.
32
33   SHHAB:                  I said to him “Yeah Mo, that’s true; Muntasser, is garbage” and
34                           so on; you know what I mean?
35
36   HAMZEH:                 So that nothing will come out about you-- so that nothing will
37                           come out about you; you know what I mean? We agreed that
38                           everything will be turned around against you so that nothing
39                           will come out about you. Now they don’t know that you bring
40                           weapons, they don’t know that you know someone who--
41
42   MUNTASSER:              No, they don’t know anything.
43
44   HAMZEH:                 -- they know nothing.
45
46   SHHAB:                  No, they don’t know a thing.




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               Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
                          Page 48 line 37 to Page 49 line 31
                                                                          Transcript Page 48




37   HAMZEH:                 I swear to God; I and Shhab are in agreement, by the way, I and
38                           he can read each other’s eyes. I’ll tell you; when we look at
39                           each other me and Shhab can understand each other. I mean that
40                           when Mo was talking we did agree with Mo but the two of us
41                           understood each other. That’s why we turned against you and I
42                           spoke to you alone and turned on the speaker and made it brief
43                           so that you won’t say something. You know what I mean? You
44                           kept on talking and talking and I would tell you “I don’t
45                           understand; what are you talking about?”
46
47   SHHAB:                  And I told Mo—




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               Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
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                                                                             Transcript Page 49

 1
 2   MUNTASSER:              Yeah, and it’s because of that--
 3
 4   HAMZEH:                 You understand what I mean?
 5
 6   MUNTASSER:              -- was going to get me in trouble man—
 7
 8   HAMZEH:                 Listen.
 9
10   MUNTASSER:              -- was going to get me in trouble; we basically were going to
11                           trick you or I don’t know what. Oh my God, I mean why man
12                           did you go home—
13
14   HAMZEH:                 That’s done with.
15
16   MUNTASSER:              -- and you wanted to get me in trouble man… I swear I was
17                           thinking; [UI].
18
19   SHHAB:                  And I -in the presence of Mo- told him that this Muntasser is
20                           not right and is bullshit talk—
21
22   HAMZEH:                 Yeah.
23
24   SHHAB:                  -- and I told Samy that this is bullshit talk and Muntasser [UI]
25                           and so on in front of Mo, okay?
26
27   HAMZEH:                 You-- we did this entire thing for your sake.
28
29   SHHAB:                  You know what I mean?
30
31   HAMZEH:                 All of it for your sake. You know what I mean?




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               Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
                          Page 78 line 32 to Page 80 line 42
                                                                           Transcript Page 78



32   MUNTASSER:              This is the eye.
33
34   HAMZEH:                 What eye?
35
36   SHHAB:                  The eye that counters jealousy.
37
38   HAMZEH:                 That counters jealousy? You actually believe in these things
39                           man? It’s a Masonic thing or something.
40
41   MUNTASSER:              No, man; this is the eye of jealousy man.
42
43   HAMZEH:                 That’s the Masonic eye, man, look at it.
44
45   MUNTASSER:              No, it’s the eye of the jealous—the eye of the jealous.
46
47   HAMZEH:                 Man, this is—this is [Noise] the Masonic eye.




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                  Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
                             Page 78 line 32 to Page 80 line 42
                                                                               Transcript Page 79

 1
 2   MUNTASSER:                 In Jordan all the people know it.
 3
 4   HAMZEH:                    It’s because of that, you jackass [Noises] [UI].
 5
 6   SHHAB:                     This is a heresy.
 7
 8   SHHAB:                     Every eye [UI].
 9
10   HAMZEH:                    Of course, this eye is well known. Do you have a dollar? Give
11                              me a dollar.
12
13   SHHAB:                     Then again this is against the eye—the eye—
14
15   HAMZEH:                    Give me a dollar—give me a dollar—give me a dollar so I can
16                              show you that it’s the same eye; that it’s the same eye you fuck-
17                              head. It’s the same eye; it’s the same eye that’s spread out all
18                              over the world. They’ve spread it all over the world while we
19                              believe that it’s a jealousy eye. There’s nothing in the Quran
20                              that says that anything like that exists to counter jealousy.
21   [01:43:27]
22
23   MUNTASSER:                 I don’t have a dollar.
24
25   HAMZEH:                    I need a dollar. [Noise] Masons [UI] [Loud noises]
26
27   SHHAB:                     [UI]
28
29   MUNTASSER:                 Do you remember the secrete which we kept?
30
31   SHAAB:                     Yes, yes, yes.
32
33   HAMZEH:                    Yeah, yeah. The Masons are bastards.
34
35                              [Loud noises]
36
37   MUNTASSER:                 Here it is, Samy. Here’s one.
38
39   HAMZEH:                    That’s George Washington.
40
41   SHHAB:                     Huh?
42
43   HAMZEH:                    That’s him yeah.
44
45   SHHAB:                     Wow. [Pause] I’ve told you, Samy that if we go to the temple
46                              we won’t get out; we’ll stay there and get martyred. I don’t
47                              want to get out.

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                  Excerpt of Verbatim Translation of Discovery Disc 79 (FBI 81)
                             Page 78 line 32 to Page 80 line 42
                                                                                Transcript Page 80

 1
 2   MUNTASSER:                 I don’t want to get out.
 3
 4   HAMZEH:                    Me neither.
 5
 6   SHHAB:                     Me neither, I told Samy.
 7
 8   MUNTASSER:                 I swear to God that I will not get out; I swear to God Almighty.
 9
10   SHHAB:                     I swear to God.
11
12   MUNTASSER:                 I’ll have some captives-- some captives with me; that is the best
13                              thing.
14
15   HAMZEH:                    Yeah, if you can get out, why not? That way you can expand
16                              your operations.
17
18   SHHAB:                     If we go into the big temple--
19
20   HAMZEH:                    My dear, if you can get in and get out, then get out.
21
22   MUNTASSER:                 You’re talking about 500 people.
23
24   HAMZEH:                    I understand what you’re saying, but I tell you—
25
26   [01:44:22]
27
28   MUNTASSER:                 I mean you have to tear things up to pieces man [UI].
29
30   HAMZEH:                    My dear-- my dear; I swear that if the three of us were to carry
31                              machineguns we would finish them off in 10 minutes, so why
32                              don’t you just be quiet.
33
34   MUNTASSER:                 Yeah imagine each bullet is that big.
35
36   HAMZEH:                    Yeah.
37
38   MUNTASSER:                 As big as—as big as that.
39
40   HAMZEH:                    If you can escape, do that; that way we can keep doing it and
41                              keep doing it, bigger and bigger. We would fuck them up; it’s a
42                              war mind you. We are defending; it is defense.




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           Excerpt of Verbatim Translation of Discovery Disc 84 Part 2 (FBI 84)
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                                                                      Transcript Page 16




40   HAMZEH:          It’s all Masonic; yeah.
41
42   MUNTASSER:       What?
43
44   HAMZEH:          It is all Masonic.
45
46   MUNTASSER:       Yeah!

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              Excerpt of Verbatim Translation of Discovery Disc 84 Part 2 (FBI 84)
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                                                                                  Transcript Page 17

2    HAMZEH:             That eagle is Masonic!
3
4    MUNTASSER:          Yeah! And the moon and those two--
5
6    HAMZEH:             Exactly.
7
8    MUNTASSER:          --and the circle and the star that’s in the middle. [UI] They were talking
9                        about Halloween also.
10
11   HAMZEH:             And they take those victims [sacrifices] to the devil.
12
13   SHHAB:              I know.
14
15   [01:23:49]
16
17   HAMZEH:             Actually, they kidnap people so that they offer them to the devil.
18
19   MUNTASSER:          Yes, yes.
20
21   SHHAB:              Man, I showed him the video that you showed me last night, has he seen
22                       it?
23
24   HAMZEH:             The one about ISIS?
25
26   SHHAB:              Yes.
27
28   HAMZEH:              Do you know that Da’ish [ISIS] is Masonic? Did you watch its video?
29
30   MUNTASSER:          Part of it . . . But which video?
31
32   HAMZEH:             They destroyed the world, man.
33
34   MUNTASSER:          What?
35
36   HAMZEH:             They destroyed us; they destroyed Islam; they destroyed the world. It is all
37                       written in the Qur’an: “Your bitter enemy is the devil.”




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               Excerpt of Verbatim Translation of Discovery Disc 84 Part 2 (FBI 84)
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                                                                                  Transcript Page 35




38   HAMZEH:            These are recordings, Arabic recordings. Hey guys, I am telling you that
39                      next week when the three of us are available, we will rely on God and head
40                      for Texas. Listen to me until the end, and then talk. Do you understand what
41                      I mean? Now, we have spies in Milwaukee; there are people that know
42                      about this thing. No matter what happens-- no matter what happens in
43                      Milwaukee they’ll say that it’s us. So what I am thinking is to go to Texas
44                      and have the operation carried out over there, then we will come back to
45                      Milwaukee. We will stay two days in Texas. We will go for a visit; we
46                      search on Google and check online about the dates of their meetings, and



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                                                                                    Transcript Page 36

 1                      when everything would be. We will go and watch the location over there,
 2                      check out the situation. Our operation-- if we perform our operation in
 3                      Texas and come back to Milwaukee, we will keep suspicions away in
 4                      Milwaukee.
 5
 6   MUNTASSER:         [UI.]
 7
 8   HAMZEH:            We will keep the eyes completely away from us.
 9
10   SHHAB:             And we will bring the stuff from there.
11
12   HAMZEH:            Exactly. Certainly it won’t attract suspicion over there. Do you understand
13                      what I mean? We will come back to Milwaukee to get far away.
14                      Milwaukee is far from Texas. We will move the weapons far away too. Do
15                      you understand what I mean? After a period of time, if God facilitates it
16                      for us, we will carry out that operation at another location. But I am saying
17                      that Milwaukee…
18
19   MUNTASSER:         The suspicion will be zero; no one can expect that.
20
21   HAMZEH:            Exactly.
22
23   SHHAB:             No one will expect that.
24
25   MUNTASSER:         I mean you are talking about fifteen hours [driving].
26
27   HAMZEH:            Exactly.
28
29   SHHAB:             Fifteen hours and no one will suspect that.
30
31   HAMZEH:            Exactly.
32
33   SHHAB:             Fifteen hours and even-- even like when Mo was talking today about
34                      what’s his name Bro, I mean he was talking about-- Bro what’s his name,
35                      that he had a fight with his wife and had beaten her, and had a fight with
36                      his brother, and then left the house and slept over at Mullah’s and all that;
37                      and that he is ready for everything. You know what I mean? I say it don’t
38                      make sense. What were you doing at Mullah’s? He said [UI] smoking
39                      Hash and so on.
40
41   HAMZEH:            Yeah.
42
43   SHHAB:             Finally I shut him off and told him, “Hey man, what it is called-- I was out
44                      yesterday making love and I am tired.” Do you understand what I mean
45                      when I told you that I am not feeling comfortable unless the three of us
46                      will plan--


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                                 Page 35 line 38 to Page 52 line 12
                                                                                        Transcript Page 37

 1
 2   HAMZEH:               Like I had told you, not only Mo knows--
 3
 4   [02:07:49]
 5
 6   MUNTASSER:            It’s impossible, man, impossible.
 7
 8   HAMZEH:               Let me tell you-- let me tell you, Milwaukee…
 9
10   MUNTASSER:            My dear [OV] praise be to God, one should pray. You are talking about
11                         those couple days during which we will seriously go; they’re not easy
12                         man. You need to know that-- that our God-- I mean that if you die man, I
13                         mean that it is scary.
14
15   SHHAB:                Your intention need to be pure!
16
17   HAMZEH:               Let me tell you-- let me tell you….
18
19   MUNTASSER:            It is scary, man! I –I--I -- [OV] am not sleeping at the night man.
20
21   SHHAB:                And I--
22
23   HAMZEH:               Let me tell you; a temple here is the same as a temple over there; it is the
24                         same thing.
25
26   MUNTASSER:            Temples are the same.
27
28   HAMZEH:               We will go and see; we will watch before we do anything. We’ll stay two
29                         days in Texas, no problem. It is just that we carry out the operation and
30                         exit safely; [snap finger] we will head direct for Milwaukee.
31
32   SHHAB:                Meaning that we will carry out the operation and come back to Milwaukee
33                         right away.
34
35   HAMZEH:               Exactly, to Milwaukee right away.
36
37   SHHAB:                We won’t stay in Texas not even one day?
38
39   HAMZEH:               We won’t stay, never, nothing, that is it. We will drive the car right after
40                         the operation; we will fill up the gasoline until it’s full and then drive on.
41
42   MUNTASSER:            You need planning so that it will be quick.
43
44   HAMZEH:               Exactly, but if we do it in Milwaukee, people will know. They will snitch
45                         on us that we have said so and so, and that means that we did it. Do you
46                         understand me? Over there, no one will suspect us at all; nothing, we don’t


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                                  Page 35 line 38 to Page 52 line 12
                                                                                       Transcript Page 38

 1                         know anybody over there; do you understand what I mean? And we will
 2                         acquire the weapons over there.
 3   [02:08:50]
 4
 5   MUNTASSER:            Here, I talked to my buddies.
 6
 7   HAMZEH:               Exactly, man. Do you understand what I mean? I swear to almighty God
 8                         that if we do it over there, and God willing-- God willing, if God
 9                         facilitates it--
10
11   MUNTASSER:            No, no, no; I talked to him.
12
13   SHHAB:                What did he tell you, what?
14
15   MUNTASSER:            He told me that he is ready, but he said to me: “Tell me exactly what you
16                         need man.”
17
18   SHHAB:                What do you need?
19
20   MUNTASSER:            So that he will tell me the exact prices. [OV] I told him-- I told him I need
21                         two weapons.
22
23   HAMZEH:               Uh-hum!
24
25   SHHAB:                Two?
26
27   MUNTASSER:            I need silencers. I have a weapon--
28
29   SHHAB:                Yes!
30
31   MUNTASSER:            --I need three silencers and two weapons. He asked me, “How do you
32                         want them? Fully loaded?” Meaning that when you pull the trigger once, it
33                         will spray all the bullets or fire a single bullet at a time. These things make
34                         a difference in the prices, man.
35
36   HAMZEH:               Exactly.
37
38   MUNTASSER:            And I told him-- I-- now-- I-- I-- frankly speaking; I had the intention to
39                         go with him to Texas, and I admitted that to you. That is it, as such, we
40                         will be at ease. Because I-- I -- I -- I mean --
41
42   HAMZEH:               [OV] But since the three of us are going--
43
44   MUNTASSER:            -- I will bring the weapons, but let me tell you, if we go-- if we go now--
45                         the three of us, I mean the man will get scared.
46


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                                 Page 35 line 38 to Page 52 line 12
                                                                                       Transcript Page 39

 1   HAMZEH:               Yes of course.
 2
 3   [02:09:49]
 4
 5   MUNTASSER:            Because he told me, “I don’t know these guys.”
 6
 7   HAMZEH:               No, you will go by yourself and get the weapons.
 8
 9   MUNTASSER:            Yeah, but--
10
11   HAMZEH:               We will go with you to Texas, but you bring the stuff with you and the
12                         operation will be carried out over there.
13
14   MUNTASSER:            I told him-- he told me: “It is normal.”
15
16   HAMZEH:               Exactly.
17
18   MUNTASSER:            “Do you trust your friend-- your friends?” I told him, “Man, yes, man; I
19                         mean I told him they are my family frankly speaking. I told him that they
20                         are my cousins.”
21
22   SHHAB:                All right, it is normal so what is the problem if we go with you?
23
24   MUNTASSER:            I told him that I just wanna-- I just wanna bring them with and they wanna
25                         [UI] [OV.]
26
27   HAMZEH:               You mean it is okay for us to go with you?
28
29   MUNTASSER:            Yeah. He told me that “The important thing is that they are not going to
30                         fuck around man.”
31
32   HAMZEH:               No.
33
34   MUNTASSER:            He told me, man, because that “this will ruin his life and my life, man.”
35                         This guy makes a lot of money doing this kind of thing.
36
37   SHHAB:                Do you mean that you don’t trust us to go [OV] with you to get the
38                         weapons?
39
40   MUNTASSER:            I trust you-- I trust you, but I am telling you [OV.]
41
42   SHHAB:                So now we are meeting to [OV] talk about everything; not each one
43                         thinks… The thinking should be one and the same [OV]
44
45   MUNTASSER:            But what I am telling you if you-- if you have someone you know, regarding
46                         weapons, it is something, man. It is logical, not that you will talk to people



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                              Page 35 line 38 to Page 52 line 12
                                                                                    Transcript Page 40

 1                      and bring someone randomly. Of course, you have to get his permission
 2                      first. You tell him, “Listen I so and so; I will bring only my cousins who
 3                      came with me to Texas for fun, normal; I mean they are not going to-- d--
 4                      d-- my family. I mean they are not-- I mean they are not going to turn on me,
 5                      do you understand me? I told him. First he told me: “No, no, no.” Then he
 6                      told me, “Okay, fine.” He told me, “But it is on you.” I told him, “Okay.”
 7                      He told me-- he told me-- he told me-- he told me:”Tell me exactly what
 8                      you need. Call me so I will buzz him and—“[OV] [UI]
 9
10   HAMZEH:            Tell him that we need two weapons, we need two weapons, and three
11                      silencers. That is the only thing we need. That is the only thing we want.
12
13   SHHAB:             What are the two weapons that we need?
14
15   HAMZEH:            Two Machineguns!
16
17   SHHAB:             Single bullet at a time or what it is called, uh?
18
19   HAMZEH:            No, two machineguns [UI].
20
21   MUNTASSER:         I will tell you: if you need… Mine is a single bullet at a time.
22
23   HAMZEH:            No, man!
24
25   MUNTASSER:         If you want full automatic, it can be changed. You know when you-- you
26                      pull the trigger 40 bullets are fired in two seconds, man.
27
28   HAMZEH:            Oh, you mean like that [OV]
29
30   MUNTASSER:         How will he know how your aiming is? [UI] [Laughter] Seriously, man.
31
32   SHHAB:             One bullet at a time is better.
33
34   HAMZEH:            This is not a problem.
35
36   MUNTASSER:         You are talking about a bullet as big as this. Don’t think it is a handgun; I
37                      mean this produces a strong recoil, and you could say that all of your body
38                      will start shaking.
39
40   HAMZEH:            As I told you: when we leave and bring the weapons, we go to an empty
41                      location, in a desert.
42
43   MUNTASSER:         He-- he-- he has-- he actually has the land.
44
45   HAMZEH:            Alright, if he has the land that would be excellent.
46


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                                   Page 35 line 38 to Page 52 line 12
                                                                                      Transcript Page 41

 1   MUNTASSER:            He has the land and we will try them.
 2
 3   HAMZEH:               -- we will try the weapons and we will try the silencers; we will try
 4                         everything.
 5   [02:12:04]
 6
 7   MUNTASSER:            Don’t ask him questions, man!
 8
 9   HAMZEH:               What?
10
11   MUNTASSER:            Don’t ask him a lot of questions.
12
13   HAMZEH:               No, no, no.
14
15   MUNTASSER:            He doesn’t like that. If you talk with him, don’t ask him, “How long have
16                         you been doing this?”
17
18   HAMZEH:               No, we don’t have anything to do with this issue.
19
20   MUNTASSER:            No, no, no, normal; we don’t have anything to do with that. We greet and
21                         chat with each other and everything-- everything cool.
22
23   HAMZEH:                We don’t have anything to do with this issue.
24
25   MUNTASSER:            Yeah, yeah, normal.
26
27   HAMZEH:               We will go and bring our weapons--
28
29   MUNTASSER:            Yeah.
30
31   HAMZEH:               -- and the operation will be carried out over there, in Texas. Do you
32                         understand me?
33
34   SHHAB:                Yeah.
35
36   HAMZEH:               In Texas, and if it takes place in Texas, it will shake the world! It will
37                         shake the world! And if we get out of it safely, I’m telling you; we will do
38                         it in another location--
39
40   MUNTASSER:            We will get out of it safely. The exit will be easy.
41
42   HAMZEH:               -- and a third, and a fourth and a fifth and a sixth. Every state will be made
43                         an example. Do you understand me? In every State we will strike
44                         something.
45
46   MUNTASSER:            We will get out of it safely.


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                                                                                         Transcript Page 42

 1
 2   HAMZEH:               God willing.
 3
 4   MUNTASSER:            We will get out of it safely bro.
 5
 6   [02:12:43]
 7
 8   HAMZEH:               God willing.
 9
10   MUNTASSER:            Because we are from out of State and not from here.
11
12   HAMZEH:               The most important thing is that you keep in mind--You shouldn’t keep in
13                         mind that you will get in and die, no; you keep in mind that you want to
14                         exit safely--
15
16   MUNTASSER:            I know that.
17
18   HAMZEH:               -- but if you die then that’s destiny.
19
20   MUNTASSER:            But I am telling you, one should be ready to die.
21
22   HAMZEH:               That’s it for sure. This is what I am talking about; we get inside, ready to
23                         die, that is it, but our intention is to get out.
24
25   MUNTASSER:            Frankly speaking, this will take more than two days.
26
27   HAMZEH:               How is it not going to take two days?
28
29   MUNTASSER:            It will take three to four days. You said that we have to go on Google as
30                         we did. You need to go and see.
31
32   HAMZEH:               My dear, you haven’t noticed when he told you that you can get the meeting
33                         on Google and see everything on the Internet?
34
35   SHHAB:                Yeah.
36
37   HAMZEH:               You can see everything on the Internet. We will go inside the temple one
38                         day, only one day to see how the temple is; how to get in and how to get
39                         out, that is it. After that, you can go on Google. You can do a search, you
40                         won’t even ask about meetings time, so they won’t suspect a thing. You
41                         look for the subject; you do a search to find out when their meetings are,
42                         those and we are so and so and so. We will go to the meeting; the time of
43                         the meeting. One will stand by the door and the one who stands by the door
44                         will be the one who will shoot all those who are downstairs; those coming
45                         in will be shot at and those going out will be shot at as well; there is no other



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 1                         choice. But little kids; don’t come close to the little kids, don’t touch the
 2                         little kids.
 3
 4   SHHAB:                Of course.
 5
 6   MUNTASSER:            I know.
 7
 8   [02:13:49]
 9
10   HAMZEH:               Two-- two of us will go upstairs, to the place where they meet. They will
11                         spray them all and withdraw silently. We will get out, get in the car and
12                         head for Milwaukee.
13
14   SHHAB:                All right, for us to speak with one voice so that everything will be perfect.
15                         You-- you don’t know this young man. Samy and I know him.
16
17   MUNTASSER:            Who is the young guy? What?
18
19   HAMZEH:               But he won’t come with us?
20
21   SHHAB:                Why? But you have told me-- what’s his name--
22
23   HAMZEH:               But he won’t come with us over there; he can’t come over there.
24
25   MUNTASSER:            Who is this young guy? Wait-- wait-- wait. What the fuck!
26
27   HAMZEH:               The first operation--
28
29   MUNTASSER:            Whom are you talking about?
30
31   HAMZEH:               -- the first operation we carry out over there, and then if God facilitated it
32                         for us then we will talk about the issue--
33
34   MUNTASSER:            All right, but who is [OV] the young fellow?
35
36   HAMZEH:               -- we will have the courage to….This is a young man that I know, I mean
37                         [OV.]
38
39   MUNTASSER:            No, my dear, no, no, no.
40
41   HAMZEH:               Listen to me; the two of us know him, the two of us. He is a very
42                         respectable man and he intends to do this.
43
44   MUNTASSER:            You had told me that Mo will [UI][OV] and shit man.
45
46   HAMZEH:               Forget about Mo; Mo is a different matter man, Mo is a different matter.


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 1
 2   MUNTASSER:            No.
 3
 4   HAMZEH:               Answer me.
 5
 6   MUNTASSER:            Who is this guy? Well my dear [OV]
 7
 8   [02:14:42]
 9
10   HAMZEH:               His name is `Umar; you don’t know him, he’s from Al-Zarqah-- from Al-
11                         Zarqah.
12
13   MUNTASSER:            `Umar who, `Umar who? Tell me who is he? You told us that three of us
14                         will share what we have. You faggots are talking [OV]
15
16   SHHAB:                That is why I said it.
17
18   HAMZEH:               We haven’t said anything yet about this matter, and we haven’t agreed
19                         with him on anything yet.
20
21   SHHAB:                We were…
22
23   MUNTASSER:            How can you trust that he will do that if you had told him?
24
25   HAMZEH:               No, he is one hundred percent for sure; he was the one who used to open up
26                         about such topics without any mention from me about it; without any
27                         mention from me. He wants to do such a thing. He told me that this is it.
28                         The man is extremely religious; he was a drug addict, but he became
29                         religious; that was it. He became religious, with a beard and prayers and all.
30                         Shhab knows him, but we are not going to tell him anything now. We are
31                         not going to do anything now until we carry out the first operation. The
32                         three of us will have to carry out the first operation.
33
34   MUNTASSER:            Do you trust the guy?
35
36   HAMZEH:               I trust him one hundred percent.
37
38   SHHAB:                Did you tell him that we are going to [OV]
39
40   MUNTASSER:            Have you told him-- have you told him anything about weapons about--
41
42   HAMZEH:               I haven’t told him anything--
43
44   MUNTASSER:            -- about me bringing the weapons? Swear on your honor-- on your honor?
45
46   HAMZEH:               -- we haven’t told him a thing. Did we tell him anything?


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 1
 2   SHHAB:                No, all [OV]
 3
 4   HAMZEH:               [OV] I swear to Allah we haven’t even mentioned it; I swear to Allah; we
 5                         haven’t even mentioned it. The fact is that I haven’t seen him for four
 6                         months. As I have told you, the three of us will go to Texas together; we
 7                         will go together.
 8   [02:15:35]
 9
10   SHHAB:                But if we go, don’t let `Umar know.
11
12   MUNTASSER:            Have you talked about his name?
13
14   HAMZEH:               Nobody knows [yelling] No one knows man! No one knows! No one
15                         knows. Nobody knows anything. Now, I-- as I told you--
16
17   SHHAB:                Frankly speaking, have you told `Umar that we are going to Texas?
18                         Frankly speaking?
19
20   HAMZEH:               No, I swear to Allah; I haven’t seen him. Shhab, I swear by Allah that I
21                         haven’t seen him.
22
23   SHHAB:                You told me yesterday to go over to `Umar and talk to him.
24
25   HAMZEH:               Yeah [OV.]
26
27   SHHAB:                I told you to postpone it because of the issue of Mo--
28
29   HAMZEH:               I know.
30
31   SHHAB:                -- and I told him to postpone it; he said--
32
33   HAMZEH:               I haven’t said anything to him, and have not even talked about the topic.
34
35   SHHAB:                -- I know ‘Umar and so on but let’s postpone it because of the issue of Mo
36                         [OV]
37
38   MUNTASSER:            What is his name?
39
40   HAMZEH:               His name is `Umar Hways.
41
42   MUNTASSER:            I don’t know.
43
44   HAMZEH:               He is from Al-Zarqah; he is a new arrival in this country. I mean I know
45                         the guy very well, and I trust him completely, but I won’t tell him
46                         anything until we carry out the first operation. And if God did enable us to


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 1                      carry out the first operation then we will need to increase our numbers. Do
 2                      you understand me? Now we are not going to say anything; we are not
 3                      going to talk about any topic until we finish the operation in Texas. The
 4                      operation in Texas [OV]. Let me finish my point--
 5
 6   MUNTASSER:         You have told them that we are going to Texas and this one [UI] the car.
 7
 8   HAMZEH:            My dear, when we get to Texas, Allah will facilitate it over there.
 9
10   SHHAB:             Alright [OV] alright, one minute; now how do we leave from here? By
11                      what? [UI] How? From Milwaukee with what?
12
13   HAMZEH:            His car.
14
15   SHHAB:             Whose car? Which car?
16
17   HAMZEH:            Muntasser’s car [OV]
18
19   MUNTASSER:         No, we will not get a car [UI].
20
21   SHHAB:             Which one? Okay.
22
23   MUNTASSER:         No one will bring anything under his name.
24
25   HAMZEH:            Of course the car will be parked far away from the temple. [OV] it won’t
26                      be parked by the temple.
27
28   MUNTASSER:         No one will bring anything under his name.
29
30   SHHAB:             I’m not talking about the temple, I’m saying how we get out--
31
32   SHHAB:             The phone and everything will stay here.
33
34   HAMZEH:            Of course-- of course; but I am telling you that with this plan, the most
35                      important thing in our entry into the temple is the person standing by the
36                      door. I am telling you now, whoever stands by the door--
37
38   SHHAB:             Myself.
39
40   HAMZEH:            -- has to know that he has the biggest responsibility. I am telling you; he has
41                      the biggest responsibility because he is the one whose eyes should be open
42                      towards the inside and to the outside because the others will be busy getting
43                      in one room and finishing off whoever is inside. He should keep his eyes
44                      open on all the passages to see who is getting in and who is getting out. I
45                      mean the responsibility will be immense on whoever wants to volunteer—
46


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 1   SHHAB:                I will.
 2
 3   HAMZEH:               --to stand by the door; he has to keep his eyes open one hundred percent.
 4
 5   SHHAB:                I will be by the door.
 6
 7   MUNTASSER:            We agree that you will be by the door.
 8
 9   [02:17:37]
10
11   HAMZEH:               I -- I agree that you will be by the door. But Shhab, your eyes need to be
12                         open 100%.
13
14   MUNTASSER:            And also you have to aim, man.
15
16   HAMZEH:               One hundred percent. No, not the aiming, because there will be one or two
17                         that are going in, but those shouldn’t be a problem. But he has to keep his
18                         eyes open to watch those getting in and those going out which is the most
19                         important thing. When we get inside, Shhab will stop right away. Now
20                         what exactly is going to happen? [OV]
21
22   MUNTASSER:            Now, when he and I get inside, let’s talk about it [OV]
23
24   HAMZEH:               Let me finish. Now, what are we going to bring? Three hats from those
25                         that cover the face except for the eyes and the mouth; they cover the head
26                         completely and leave only openings for the eyes and the mouth.
27
28   MUNTASSER:            Where can we get them?
29
30   HAMZEH:               We can get them at Wal-Mart. Bring three hats and put them in your
31                         pocket. The minute the door opens, you go inside and we quickly put them
32                         on; and anyone in front of us--
33
34   MUNTASSER:            Texas is warm; we don’t want to [UI.]
35
36   HAMZEH:               Understand me-- understand me, we will put them inside, inside.
37
38   SHHAB:                In the car.
39
40   HAMZEH:               When we first open the door [OV] we open the door; but we don’t want to
41                         get in with them on; we don’t want to get inside with them [hats] on. We
42                         will get inside and then we will put them on. There are no cameras inside;
43                         we will put them on when we get through the door, inside. We will put
44                         them on inside at the first door. As soon as we put them on, the three of us
45                         will shoot all those who are closest to us. The three-- the three of us, will



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 1                          clean up everything downstairs, and then the others will go upstairs; they
 2                          go left; they go right, they go to any place.
 3
 4   SHHAB:                 And I remain inside [OV]
 5
 6   HAMZEH:                You will remain standing at the door.
 7
 8   SHHAB:                 Whoever gets in--whoever gets in--
 9
10   HAMZEH:                Exactly.
11
12   [02:18:42]
13
14   SHHAB:                 --I will get him. [OV] whoever gets out-- meaning that whoever gets in
15                          will not get out.
16
17   HAMZEH:                What?
18
19   MUNTASSER:             [UI] more than [UI]
20
21   HAMZEH:                Yes, we will equip ourselves with everything --
22
23   SHHAB:                 Fine.
24
25   HAMZEH:                -- We will equip ourselves with everything. But the most important thing
26                          is that your bullets don’t go for nothing--
27
28   SHHAB:                 Yeah.
29
30   HAMZEH:                -- and to focus and to not be afraid.
31
32   SHHAB:                 I—I have no fear in my heart.
33
34   HAMZEH:                Exactly!
35
36   MUNTASSER:             My concentration will be [OV]
37
38   HAMZEH:                Don’t be afraid at all.
39
40   SHHAB:                 If you are scared and hesitate the last minute [UI] [OV]
41
42   HAMZEH:                Exactly. Now we will get inside together, we will shoot all the people in
43                          front of us. We make sure a hundred percent--
44




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 1   MUNTASSER:             Now-- now-- now, you have to think that if the police arrives, and one of
 2                          us gets shot, what are we supposed to do? Do we leave him or what should
 3                          we do?
 4
 5   HAMZEH:                Who? Who do we leave behind?
 6
 7   MUNTASSER:             I mean if one of us gets shot and falls in front of us, what are we supposed
 8                          to do? Do we carry him with us or put him in the room--
 9
10   HAMZEH:               Well, if-- if one of us got shot, you have to stay with him; there is no other
11                         choice, because if you pull him out we will be exposed, and if you get him
12   out you won’t be able to treat him anywhere. 13        [02:19:38]
14
15   MUNTASSER:             How can he be treated! Who can get the bullet out of him?
16
17   HAMZEH:                I’m telling you, no one can treat you other than a hospital, and if you go to
18                          a hospital you will be exposed.
19
20   SHHAB:                 Yeah, yeah.
21
22   HAMZEH:                I mean if -God forbid- one of us gets wounded, we will keep on shooting
23                          until we all die, or if the others-- the others, are able to escape they should
24                          escape; there’s no other choice. Their names will be circulated of course;
25                          they will be identified. [OV] Yes, the others will be identified. Those then
26                          will get out and carry out an operation at another location right away.
27
28   MUNTASSER:             Randomly!
29
30   HAMZEH:                There’s no other choice; another location right away [OV].
31
32   SHHAB:                 Like what?
33
34   HAMZEH:                But I am absolutely sure that the police won’t hear about the incident; they
35                          won’t hear about it--
36
37   MUNTASSER:             because you have silencers.
38
39   HAMZEH:                Because you have silencers.
40
41   SHHAB:                 Yes.
42
43   HAMZEH:                The silencers won’t give out any noise at all.
44
45   SHHAB:                 It won’t let any sound come out, nothing.
46



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 1   HAMZEH:               And none of the people inside will be armed.
 2
 3   SHHAB:                Yeah. Even the guards will not be armed; the officers that are usually
 4                         inside.
 5
 6   HAMZEH:               Exactly.
 7
 8   SHHAB:                They usually are members from among them but dressed in uniforms.
 9
10   MUNTASSER:            Yes, I know.
11
12   HAMZEH:                If something happens and the police shows up, do not surrender; shoot at
13   the cops until you are shot. 14 [02:20:31]
15
16   SHHAB:                Yeah.
17
18   HAMZEH:               Shoot at the cops until you are shot.
19
20   MUNTASSER:            But the cops usually have small handguns anyway.
21
22   HAMZEH:               Anyway, like I am telling you, we will withdraw if nothing happens and
23                         the cops don’t show up; and I am absolutely certain that the police won’t
24                         hear about it, because we will get inside silently and our weapons are
25                         silent as well. Nobody will hear anything. Bang, bang bang; the others will
26                         go into the room and finish off whoever is inside it, and whoever runs
27                         away, the third one will get him at the door. Do you understand me?
28
29   SHHAB:                At the door, and that is me.
30
31   HAMZEH:               Exactly! That is why I am telling you to open your eyes, because there are
32                         people who will flee, and whoever flees will be shot by the third one.
33
34   SHHAB:                Whoever flees will get down and run in a direction-- he will be running in
35                         my direction and I will be standing outside.
36
37   HAMZEH:               Exactly. Now for example, I and Muntasser will go to the big meeting
38                         room; we would have already shot the ones downstairs and those at the
39                         meeting. We will get inside-- we will get inside where they are and before
40                         we shoot we will tell them, “Take your kids out or they will be killed with
41                         you.”
42
43   MUNTASSER:            If they don’t get them out?
44
45   HAMZEH:               If you don’t get your kids out, then that is it, there is no other choice-- no
46                         other choice.



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 1
 2   MUNTASSER:             Taking out their children [OV]
 3
 4   HAMZEH:                They will get their kids out-- they themselves will get their kids out;
 5                          actually I don’t think there will be any kids in the meeting anyway
 6                          because kids don’t participate in these meetings until they grow up.
 7
 8   MUNTASSER:             Yeah.
 9
10   SHHAB:                 Yeah.
11
12   HAMZEH:                Because those are still learning the basics.
13
14   [02:21:33]
15
16   MUNTASSER:             Little by little, that’s how it is.
17
18   HAMZEH:                Yeah. So there would be no kids; however, if we see kids as we did when
19                          they walk through corridors and stuff like that, tell them to stand aside so
20                          they won’t be shot at.
21
22   SHHAB:                 But if I see a kid getting inside….
23
24   HAMZEH:                That is it, you set him aside and order him to stand over there and don’t
25                          move.
26
27   MUNTASSER:             The phones [UI.]
28
29   HAMZEH:                The kid will lose his mind; I mean he won’t do anything; he will stand
30                          until we get out.
31
32   MUNTASSER:             He will cry and pee in his pants [OV]
33
34   HAMZEH:                Yeah. He will stand until we get out. But the most important thing-- the
35                          most important thing is getting in; our entry is the most important thing.
36
37   MUNTASSER:             This is the most important thing.
38
39   HAMZEH:                Anyone you see with your own eyes has to be shot dead.
40
41   SHHAB:                 Should be shot. Meaning that the first thing the three of us will do when
42                          we get inside [UI] [OV]
43
44   HAMZEH:                Exactly. Anyone you see, and at the reception in particular. You get
45                          behind the reception to make sure; you go around; this is your-- it is your



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 1                      task after we start shooting, you go to the reception area to make sure
 2                      [OV]
 3
 4   SHHAB:             Yeah, yeah.
 5
 6   MUNTASSER:         I will be with him-- yeah-- I will be with him [Shhab] [OV]
 7
 8   HAMZEH:            If someone uses a phone or do anything, you have to go and shoot him
 9                      quickly; there is no other choice. When you finish; you take over the door.
10                      We get in and shoot them dead until we finish them off, and the minute
11                      you see us going downstairs, you get out with us. We will withdraw and
12                      get out.




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27   SHHAB:             I told you to postpone it because of the issue of Mo--
28
29   HAMZEH:            I know.
30
31   SHHAB:             -- and I told him to postpone it; he said--
32
33   HAMZEH:            I haven’t said anything to him, and have not even talked about the topic.
34
35   SHHAB:             -- I know ‘Umar and so on but let’s postpone it because of the issue of Mo
36                      [OV]
37
38   MUNTASSER:         What is his name?
39
40   HAMZEH:            His name is `Umar Hways.
41
42   MUNTASSER:         I don’t know.
43
44   HAMZEH:            He is from Al-Zarqah; he is a new arrival in this country. I mean I know
45                      the guy very well, and I trust him completely, but I won’t tell him
46                      anything until we carry out the first operation. And if God did enable us to



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 1                      carry out the first operation then we will need to increase our numbers. Do
 2                      you understand me? Now we are not going to say anything; we are not
 3                      going to talk about any topic until we finish the operation in Texas. The
 4                      operation in Texas [OV]. Let me finish my point--
 5
 6   MUNTASSER:         You have told them that we are going to Texas and this one [UI] the car.
 7
 8   HAMZEH:            My dear, when we get to Texas, Allah will facilitate it over there.
 9
10   SHHAB:             Alright [OV] alright, one minute; now how do we leave from here? By
11                      what? [UI] How? From Milwaukee with what?
12
13   HAMZEH:            His car.
14
15   SHHAB:             Whose car? Which car?
16
17   HAMZEH:            Muntasser’s car [OV]
18
19   MUNTASSER:         No, we will not get a car [UI].
20
21   SHHAB:             Which one? Okay.
22
23   MUNTASSER:         No one will bring anything under his name.
24
25   HAMZEH:            Of course the car will be parked far away from the temple. [OV] it won’t
26                      be parked by the temple.
27
28   MUNTASSER:         No one will bring anything under his name.
29
30   SHHAB:             I’m not talking about the temple, I’m saying how we get out--
31
32   SHHAB:             The phone and everything will stay here.
33
34   HAMZEH:            Of course-- of course; but I am telling you that with this plan, the most
35                      important thing in our entry into the temple is the person standing by the
36                      door. I am telling you now, whoever stands by the door--
37
38   SHHAB:             Myself.
39
40   HAMZEH:            -- has to know that he has the biggest responsibility. I am telling you; he has
41                      the biggest responsibility because he is the one whose eyes should be open
42                      towards the inside and to the outside because the others will be busy getting
43                      in one room and finishing off whoever is inside. He should keep his eyes
44                      open on all the passages to see who is getting in and who is getting out. I
45                      mean the responsibility will be immense on whoever wants to volunteer—
46


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 1   SHHAB:                I will.
 2
 3   HAMZEH:               --to stand by the door; he has to keep his eyes open one hundred percent.
 4
 5   SHHAB:                I will be by the door.
 6
 7   MUNTASSER:            We agree that you will be by the door.
 8
 9   [02:17:37]
10
11   HAMZEH:               I -- I agree that you will be by the door. But Shhab, your eyes need to be
12                         open 100%.
13
14   MUNTASSER:            And also you have to aim, man.
15
16   HAMZEH:               One hundred percent. No, not the aiming, because there will be one or two
17                         that are going in, but those shouldn’t be a problem. But he has to keep his
18                         eyes open to watch those getting in and those going out which is the most
19                         important thing. When we get inside, Shhab will stop right away. Now
20                         what exactly is going to happen? [OV]




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40   HAMZEH:          Did you ask him how much was the price of the silencer?



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 1
 2   MUNTASSER:       He told me it will cost $175.00 if it is M16, and $200.00 plus for the
 3                    Kalashnikov.
 4
 5   HAMZEH:          What do we have?
 6
 7   MUNTASSER:       We have the Kalashnikov.
 8
 9   HAMZEH:           Do we have the Kalashnikov?
10
11   MUNTASSER:        I don’t know. Do you want M16? I want M16.
12
13   HAMZEH:          What weapon do you have now?
14
15   MUNTASSER:       I have the Kalashnikov.
16
17   HAMZEH:          Now, you have Kalashnikov?
18
19   MUNTASSER:       Yeah, its silencer costs $200.00 plus, and M16’s silencer is big too.
20
21   HAMZEH:          What is M16? Why don’t we bring M16 and that is it?
22
23   MUNTASSER:       The American army has M16.
24
25   HAMZEH:          Okay, M16 is fine.
26
27   SHHAB:           What is the price for M16?
28
29   MUNTASSER:       The black, that that…
30
31   HAMZEH:          The big one!
32
33   SHHAB:           Yeah.
34
35   MUNTASSER:       No, man!
36
37   HAMZEH:          Which one then?
38
39   MUNTASSER:       Not this one. The big one.
40


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 1   HAMZEH:              We want a small one, because it can be hidden.
 2
 3   SHHAB:               No, it is a big one, it can’t be hidden.
 4
 5   MUNTASSER:           No, it means no.
 6
 7   HAMZEH:              We want something we can hide it with us. We don’t want something to
 8                        hold and get into with it.
 9
10   MUNTASSER:           Okay, like this.
11
12   HAMZEH:              Yeah, like this. One hundred percent.
13
14   SHHAB:               Yeah, Kalashnikov.
15
16   HAMZEH:              This is small and light hundred percent.
17
18   MUNTASSER:           Yeah, it is a small one.
19
20   HAMZEH:               Yeah, and it can be hidden. I mean the most important thing is that it can
21                        be hidden.
22
23   MUNTASSER:           Yeah.
24
25   HAMZEH:              You enter, you can hide it inside.
26
27   MUNTASSER:           Yeah.
28
29   HAMZEH:              Of course, all of you should wear jeans.
30
31   SHHAB:               Yeah.
32
33   HAMZEH:              With belts that will hold tight.
34
35   MUNTASSER:           [UI] [Laughing]
36
37   HAMZEH:              You should not wear a pant like this, moving around and upside down.
38
39   SHHAB:               Yeah.
40



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1   MUNTASSER:       [Laughing].
2
3   HAMZEH:          You should secure it and put it on your belt and place your blouse on it.
4                    As soon as we enter into the building, put the hats and start. Each one will
5                    take his weapon and spray those who are in front of him.




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 9   MUNTASSER:       This is the important matter. I had talked with my man.
10
11   HAMZEH:          Yes.
12
13   MUNTASSER:       He told me the prices in Texas. He can get me the weapons from another
14                    place as we want, but cheaper and better.
15
16   HAMZEH:          How much?
17
18   MUNTASSER:       $300.
19
20   HAMZEH:           Really?
21
22   MUNTASSER:       Apiece.
23
24   SHHAB:           Wow!
25
26   MUNATSSER:       However, the only thing that he told me is that the one he has comes with
27                    one button to make it automatic.
28
29   HAMZEH:          Nice.
30
31   MUNTASSER:       If you click the button all [bullets] would come out. He told me that this
32                    place, [is owned by] black guys. He will introduce me to them. They will
33                    bring weapons like the ones I have. The nice thing about those weapons is
34                    that you can switch it. You can make it single bullet or multi-bullets. That
35                    means if we got in and found 30 or 40 persons, you switch it to auto.
36
37   HAMZEH:          $300 a piece?
38
39   MUNTASSER:       $300 a piece?
40

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1    HAMZEH:            And the silencer?
2
3    MUNTASSER:         He told me he will get the silencer for me.
4
5    HAMZEH:             Like that.
6
7    MUNTASSER:         He will get it for me.
8
9    HAMZEH:            [UI.]
10
11   MUNTASSER:         Because, it would cost… If we go to Texas to buy them from him, it
12                      would cost $175, man. You are talking about 175 to 150, I mean,
13                      seriously, if you want the silencer. He told me that the place is in
14                      Chicago. He said that we can go with him to get the stuff. The silencer
15                      costs $75.
16
17   HAMZEH:            Wow [UI.]
18
19   MUNTASSER:         $75. The [serial] numbers…They are all erased.
20
21   HAMZEH:            You mean we get the weapons from Texas and the silencers from
22                      Chicago?
23
24   MUNTASSER:         No, we will get everything from Chicago.
25
26   HAMZEH:            That is the best thing.




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31   HAMZEH:         It has to be close to the highway. If this was the situation, everything
32                   would go well 100%. Make sure 100 % of their schedule so and so and
33                   their meeting time. You must make sure. Before their meeting…before
34                   their meeting, we should visit the temple. We will see how to get in, how
35                   to get out, and where they hold their meeting. Did you understand me?
36                   This way we go straight to the meeting place. We will rely on God. That
37                   is all. Wipe out anyone in your way. Don’t leave anyone in front of you,
38                   no one, no one.
39
40   SHHAB:          [UI].


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1
2   HAMZEH:         No one, you should shoot everybody. Bang, bang, bang as we are in our
3                   way to the inside room, don’t leave anyone. We will depend on God, o
4                   guys.




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HAMZEH:       No; but I say we have to expedite the process, not keep saying later, later
              and later. [Sighs] According to our agreement, that happened yesterday, that
              this coming Friday, there is a meeting at their place at 7:00 p.m.

SHHAB:        Where, in Indiana?

HAMZEH:       Yeah.

SHHAB:        This coming Friday, so if we can bring the weapons, whatchamacallit, this
              week.

HAMZEH:       Exactly, exactly.

SHHAB:        Am I right?

HAMZEH:       This Friday. We will go on Thursday, go in as if everything is normal. And
              Friday we will raid them.

SHHAB:        In this case we have to tell Muntasser to--to try to talk to the man in order to
              prepare the weapons before Thursday, right?

HAMZEH:       Yeah.

SHHAB:        What time is their meeting on Friday?

HAMZEH:       Seven at night. It is going to be a big meeting – for him.

SHHAB:        Tell me about him. Did Muntasser meet him?

HAMZEH:       Yes.

SHHAB:        Uh, how is it going to be?

HAMZEH:       It is going to be a meeting, I mean, with lots of people.

SHHAB:        It’s full, you mean?

HAMZEH:       Yeah, but there is one thing that I am not comfortable with. If we have one
              magazine it is not going to be enough.

SHHAB:        One magazine of bullets? We have to have, whatchamacallit, bullets, right?

HAMZEH:       It’s not about the bullets; the bullets are not important. The most important
              thing is you get done quickly. The magazine will run out and then you have
              to reload [Taps]? This will not work.




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SHHAB:        How many bullets is the magazine, thirty?

HAMZEH:       That many?

SHHAB:        Yes.

HAMZEH:       But you can’t guarantee that each bullet will hit one person.

SHHAB:        What do you mean “guarantee each bullet?”

HAMZEH:       You can’t guarantee that each bullet will hit a person; you are going in
              spraying – and finish them all.

SHHAB:        But the room, I mean, we will enter on them they are like rooms, and you
              have seen it. How can we – how can we miss him, I mean? You
              understand what I’m saying?

HAMZEH:       Let’s say, if I shoot 20, and he will shoot 20--

SHHAB:        And I 30.

HAMZEH:       You will be downstairs. You—you will be downstairs. You will be
              shooting downstairs, I mean.

SHHAB:        Thirty.

HAMZEH:       Yeah. So, on our way out – on our way out – don’t leave before us, leave
              after us. You will get us out; you will watch our backs; in case there is
              someone behind us or something, shoot him. If the coast is clear, leave after
              us immediately. We will return our weapons here and everything is fine.
              The moment we exit the back door, take off the skull cap and put it in your
              pocket and leave. That’s it; nothing will happen to us; with the silencers
              nothing will be heard. The operation will take place inside. But I want to
              ensure that everybody dies, meaning, if anyone lives, he will talk with the
              police – right away.

SHHAB:        If anyone lives?

HAMZEH:       Yeah.

SHHAB:        Ok, when you, I mean, when you in this situation – in this situation you
              shoot like this, whatchamacallit [noise] we shoot a bullet, I mean, in the
              head, right or not, or what?

HAMZEH:       You need to aim; if you don’t aim it’s not going to work.




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SHHAB:        But you will be in a room, Samy. I mean, and this bullet is this size, Samy;
              how are you expecting them to live?

HAMZEH:       It’s not that he will live after the bullet, but that it will run out; that’s what
              I’m worried about.

SHHAB:        What will run out?

HAMZEH:       The Kalashnikov will run empty.

              [Noise].

HAMZEH:       The weapon will have nothing in it. In this case, we’ll have to catch them
              and put them somewhere else and search them and take all their belongings.
              Not leave anything on them; whoever remains alive.

SHHAB:        Okay, Muntasser does have bullets and has bullets--

HAMZEH:       [OV] --Or knives; we can use knives.

SHHAB:        Are we going to take knives with us?

HAMZEH:       Yeah--

SHHAB:        How?

HAMZEH:       Each person will carry a knife.

SHHAB:        What kind of knives?

HAMZEH:       Regular knives.

SHHAB:        Meaning from the kitchen and so?

HAMZEH:       Any knife--

SHHAB:        The ones used in the kitchen, I mean?

HAMZEH:       --any knife; small razor blade, anything. It’s a must; each one has to have a
              knife – also as a precaution. The job will be perfected, God willing. God
              willing, it will be [UI].

SHHAB:        God willing.

SHHAB:        Meaning, if the bullets run out, we can use the knife; right?

HAMZEH:       Yeah.




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SHHAB:            This is an idea.

HAMZEH:           They will be scared and no one will see that you have a knife and attack
                  you.

SHHAB:            Of course, Samy. You – when you enter and so with the weapon,
                  everybody will be scared – you think someone will attack you and so? All
                  will be scared, man, but we want to do our calculations ahead of time.

HAMZEH:           God willing, it will be facilitated, God willing. The important thing is to
                  finish the job without police; that is the most important thing. Your job at
                  the door is the most important thing; you’ll see anyone entering or exiting.
                  Whoever wants to go in, let him in – let him in.

SHHAB:            Let him in? What let him in, how do I let him in?

HAMZEH:           Meaning, let him go in.

SHHAB:            Huh.

HAMZEH:           And shoot him; shoot him inside, not outside.

SHHAB:            No, no.

HAMZEH:           Shoot him inside. And whoever wants to leave, shoot him before he leaves.
                  Understand what I’m saying?

SHHAB:            Um-hmm.

HAMZEH:           With the silencers nothing will be heard. Everything will be concealed
                  [taps]. It will not be discovered until we leave the place. That’s it.

[02:18:20]




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HAMZEH:          Exactly. So we will finish everyone who is in front of us. If – if – if you see
                 little kids, grab the kid tell him to go stand there by the wall; remain
                 standing there and don’t move. The kid will pee in his pans and stay there.
                 Understand what I’m saying? We’ll finish our operation and finish
                 everything and we’ll pull out. [Zipping] Understand what I’m saying?
                 That’s it. No one will see or will know anything. But the most important
                 thing – the most important thing is no one remains alive.

MUNTASSER: [Whispering] [UI].

HAMZEH:          Don’t leave anyone living because anyone calling the police, they’ll come
                 right away, they will close-off the whole area – for your information.

MUNTASSER: Right.

HAMZEH:          It is close to the highway?

MUNTASSER: It is close to the highway.

HAMZEH:          Good.

MUNTASSER: Its location, I mean, is nice. And it will be on the day that we wanted.

HAMZEH:          Nice.

MUNTASSER: I mean, when you were talking about Texas, you said you wanted to be on
           Friday; glory be to God, it came on a Friday-- [Noise].

SHHAB:           I was just--

MUNTASSER: --most of the [UI].

SHHAB:           --I was just telling him, it came by itself, on Friday.

HAMZEH:          And now the silencer on the machinegun would not produce any sound at
                 all?

MUNTASSER: No, it does not, man.

SHHAB:           It is called “silencer” [chuckles].

HAMZEH:          Like this.

MUNTASSER: This one is a jackass, man.

SHHAB:           [Chuckling].

HAMZEH:          One has to guarantee everything. We have to make sure of everything.


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MUNTASSER: A sheep.

HAMZEH:       Ok, this way we are 100% -- 100%, but try not to leave anyone living; that is
              the most important thing. What will happen is we are not going to go
              shooting together. Once we enter the room, you will go in and shoot; I will
              be behind you, understand what I’m saying? The one you shoot up-front, I
              will shoot after, understand what I’m saying? This way we will finish faster,
              not go together and shoot, bang, bang – all of them, randomly--

MUNTASSER: Um.

HAMZEH:       Understand what I’m saying? [Tap] You go in and hold one end, and I hold
              another. We will finish… If you finish and you have few extra bullets, then
              it will be 100% better.

MUNTASSER: This way you are saving.

HAMZEH:       One hundred percent. And always—[OV]

SHHAB:        Why, Samy?

HAMZEH:       --Our pockets – our pockets have to be filled with bullets, as a precaution –
              always, bullets have to be in our pockets.

SHHAB:        Um.

HAMZEH:       You will not need a lot of bullets.

SHHAB:        Why?

HAMZEH:       You don’t – we are the ones who will need.

MUNTASSER: Yeah; we are [UI].

HAMZEH:       You will not need a lot of bullets, but your eyes have to be open [OV]--

SHHAB:        [OV] But you don’t know what is going to happen. You have to be ready.

HAMZEH:       No, man, we are going to go in with you; we will be shooting with you,
              meaning, once we go in, we are going to start shooting.

MUNTASSER: Yeah.

HAMZEH:       You understand what I’m saying? We are going to go into the reception. As
              I told you, once we go in, you are going to jump on the reception--

SHHAB:        Yeah, yeah.



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HAMZEH:         You will go into the reception, from behind, you’ll finish them all and go
                back to the door, right away – right away; you’ll stand by the door and keep
                monitoring. Your weapon on you and no one could see you. Your hoodie
                on your head and anyone who wants to go in, let him go in.

SHHAB:          Um.

HAMZEH:         Stand aside and let them go in securely. Once he enters, you shoot him and
                go back to your place.

SHHAB:          And leave him dead at the door like this? I have to remove him.

HAMZEH:         The door would be closed, but you have to shoot him inside.

SHHAB:          Yeah, yeah.

HAMZEH:         Make sure you do not touch anybody – make sure you don’t touch anybody.
                Do not touch anybody.

SHHAB:          With my hand you mean?

HAMZEH:         Yes; be careful. Be careful not to touch anything with your hands.

SHHAB:          Um.

HAMZEH:         We would be wearing gloves, but still don’t touch anything – do not touch
                anything.

SHHAB:          Huh.

HAMZEH:         You shoot, leave him thrown on the floor; don’t lift, don’t push and don’t do
                anything. Shoot him; let him pass; as a matter of fact, he will be shocked
                the moment he gets in.

MUNTASSER: [OV] I’ll kill him fast. [Noise].

HAMZEH:         Quickly.

MUNTASSER: Your eye has to be ready, man; meaning, [UI]--

HAMZEH:         I’m telling you, you are the most important person among us.

SHHAB:          Yeah.

HAMZEH:         We will go in and finish whoever is there and leave. Once we leave, we’ll
                head toward the car fast, start and pull-up. We’ll pull-up without – meaning,
                straight to the highway. We will have memorized the direction to the
                highway also without a GPS.


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SHHAB:          Um-hum.

HAMZEH:         We would have passed by it and memorized it 100%. Understand what I’m
                saying?

SHHAB:          Um-hmm.

HAMZEH:         With this, everything will be perfected.

SHHAB:          God willing.

HAMZEH:         And, I say that the best thing for us -- the best for us is if the storage to be in
                Indiana.

SHHAB:          Oh, no, man.

HAMZEH:         Yeah.

MUNTASSER: For Goodness sake, man!

HAMZEH:         Or – or – or – or – or--

MUNTASSER: The moment we leave, man, we go to Indiana?

HAMZEH:         --Understand what I’m saying – understand what I’m saying. Or--

MUNTASSER: What the fuck are you saying?

SHHAB:          No, man.

MUNTASSER: --you are talking 10 hours [chuckles] [OV]--

HAMZEH:         Or—or—[OV]

MUNTASSER: --four hours.

[00:44:55]

HAMZEH:         --The weapons have to leave our possession, man. They can’t remain with
                us. We have to hide them somewhere. The weapons have to be hidden
                somewhere.

SHHAB:          Where do you want to hide them?

HAMZEH:         We’ll see; we’ll go check out places.

SHHAB:          Meaning, we leave the weapons in Indiana and return to Milwaukee without
                weapons?


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MUNTASSER: It’s not in Indiana.

HAMZEH:        I’m saying that we are going to place it--to drive attention away from us. So
               that if the police comes right away, the weapons are not on us. If we get
               captured, there would be no evidence against us, understand what I’m
               saying?

SHHAB:         Um, um.

HAMZEH:        Our weapons, our masks, all our stuff would be all in a garbage bag that is
               tied and hidden in any alley; put it in the garbage, man.

SHHAB:         But this way we are going to lose the weapons, right?

HAMZEH:        No, we are going to return to it, man, we are going to return to it. I’m
               talking in the case if the police would show up.

SHHAB:         Um.

HAMZEH:        In the case the police would show up. We have everything ready. We
               would have identified which garbage – the nearest garbage to us. Anything
               like this, I mean, like a hidden alley, something hidden.

SHHAB:         Yes.

HAMZEH:        We would have put the bag and prepared everything in the car and
               everything is fine. We will finish the operation [tap] and get in the car, all
               our stuff get put in the bag and the bag will be tied; if we hear the voice of
               the police, we need to get rid of the weapons. We have to get rid of it; we’ll
               hide in any alley– we would have identified which alley – we would have
               identified where it is. Once we are done with the weapons, we will pull up
               driving on the highway wherever it takes us. That’s it [clap] – this way we
               would have removed suspicion from us. Understand what I’m saying? But,
               if we are caught with the weapons on us, we’ll be fucked.




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HAMZEH:         Listen to me: if we take to the highway—[OV] [UI]

SHHAB:          You’ve told me in Indiana?

MUNTASSER: I was telling you Indiana is where he wants to get the storage, man.

SHHAB:          Oh.

HAMZEH:         Now listen to me: if we go on – if we are able to get on the highway, know
                that we have made it safely.

MUNTASSER: The highway is difficult, man. There are cars--

HAMZEH:         I’m telling you, if we can go with the car on the highway, we are safe. But
                I’m saying that the matter of changing the numbers [license plate]… because
                I’m afraid it will be picked-up by the satellites.

MUNTASSER: Makes sense. Yeah, yeah, yeah. Yeah.

HAMZEH:         Understand what I’m saying?

MUNTASSER: Makes sense. Yeah. The plate [UI] will not come for us, or for anyone.




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HAMZEH:         They may monitor us with the satellites. So when we leave – when we leave
                the place and we have taken off our masks, we have to leave the hoodies on.

MUNTASSER: Um.

HAMZEH:         The hood has to remain on you.

MUNTASSER: Um.

HAMZEH:         You leave the hoodie on your head tied like this [taps]; thus you will not be
                uncovered and nothing will show.

MUNTASSER: Um.

HAMZEH:         And the situation is under control. Of course, the hoodie which we are
                wearing will be thrown away – it will not remain with us, meaning, after we
                ride in the car and drive a little, grab the hood and throw it in the street. This
                way we are far from suspicion and far from everything. God will facilitate.
                That’s it. This is the plan as I explained it to you. The license plate will be
                Indiana plate—[OV]

MUNTASSER: [OV] Did everyone has his money ready?

HAMZEH:         That’s it, God willing on Monday.

SHHAB:          How much?

MUNTASSER: Man, if you want to borrow. If you can bring 400, bring it, man.
           Understand? [UI] vest. He said he’ll bring a lot of things.

HAMZEH:         You said vest; we did not say vest.

[00:49:00]

SHHAB:          How much is each weapons?

MUNTASSER: Three-hundred.

SHHAB:          Three-hundred exactly?

MUNTASSER: Three-hundred. But if you can bring more, good, but we don’t—[OV]

HAMZEH:         We don’t need a vest, because if you are wearing a vest and you get shot,
                you’ll fall and get caught. So it’s better that I die without a vest.

MUNTASSER: Um.

HAMZEH:         I’d rather die than to get caught.



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MUNTASSER: Um.

HAMZEH:         Am I right?

MUNTASSER: Right.

HAMZEH:         So forget about the vest; we don’t want vests.

MUNTASSER: That’s it.

HAMZEH:         If we can bring the money for the vests, we might as well bring another
                magazine which will be ready and filling our pockets -- better. This will be
                better. How much does another magazine cost?

MUNTASSER: It doesn’t cost much; $20.

HAMZEH:         This is the best thing; meaning, we’ll get another magazine. Each person
                will have an extra magazine in his pocket.

SHHAB:          In this case I’ll talk to my uncle tomorrow and I’ll tell him that we want – I
                want… I’m embarrassed, man; I mean, he got me the apartment, understand
                what I’m saying? And he helped me and so. I keep telling him I want
                money and I want and want. That’s it. Tomorrow I’ll talk to him and tell
                him--

MUNTASSER: Tomorrow you have to talk to him for sure because, I’m telling you, on
           Monday, if he calls me [UI]--

SHHAB:          No, I swear--

MUNTASSER: --he will tell me where exactly we are going, without fucking around [UI].

HAMZEH:         Why don’t you have you father transfer to you?

SHHAB:          Where is he going to transfer to me [OV]--

MUNTASSER: No, we don’t want checks and money transfers, man—[OV]

SHHAB:          [OV] --money transfers and so.

MUNTASSER: [OV] –you draw attention, no, man.

                [Banging].

HAMZEH:         No, no problem, there is nothing in it. Transferring money, there is nothing
                in it.

MUNTASSER: No, man.



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HAMZEH:         There is nothing in it, as long as you don’t transfer $20,000!

MUNTASSER: Yeah, yeah, [UI] because you are at the hotel – because you are at the hotel--

HAMZEH:         Three-hundred dollars!

MUNTASSER: --and you don’t have cash money; that’s it.

SHHAB:          I may talk to my brother Sayf today--

HAMZEH:         Yeah.

SHHAB:          -- And tomorrow Sayf will transfer to me.

HAMZEH:         Tell him $300 – I need 300 – I need $350, send them to me.

SHHAB:          He will transfer to me. Tomorrow he’ll transfer to me.

HAMZEH:         Yeah.

SHHAB:          I’ll talk to him today.

HAMZEH:         I mean, you are not asking for a big amount. Once we get them, we’ll go on
                Monday and arrange ourselves and arrange all our matters. The subject from
                this point on [tap] is sealed. Is that it? Are we all aware of what we need to
                do? [Noise] It is sealed.

SHHAB:          [OV] You are saying on Monday you’ll probably go to this one.

MUNTASSER: [OV] [UI].

HAMZEH:         I’m going on Tuesday.

SHHAB:          That’s it.

HAMZEH:         Thursday.

SHHAB:          And you—has the man assured you it’s on Monday?

MUNTASSER: He told me Monday. He told me, I mean, there is 99% chance that it will be
           on Monday.

HAMZEH:         That’s it.

SHHAB:          That’s it.

HAMZEH:         100% [OV].




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MUNTASSER: [UI] send us the address and send us where exactly are we going. We also
           have to get another telephone [UI]. Any kind. [Noise].

HAMZEH:         This is disgustful!

SHHAB:          I told you, its smell smoke.

HAMZEH:         Ok, guys [shaking hands]. We’ll see you tonight [shaking hands].

MUNTASSER: So that we can call you tonight. [Claps]. I swear, yesterday we won [UI].

SHHAB:          [UI] two.

HAMZEH:         Oh, two?

SHHAB:          [UI] two?

HAMZEH:         Yeah.

SHHAB:          How did [UI] win two?

HAMZEH:         We won by two [noise]. [UI] from the house and [UI] [OV].

MUNTASSER: [OV] [UI] they won over us, man. I swear, two, I said let’s leave with our
           dignity intact, man.

SHHAB:          I was tired, I slept, man.

HAMZEH:         Guys, what I told you, think about it 100%. Everything I told you has to be
                ready.

SHHAB:          That’s it.

HAMZEH:         All of it – all of it has to be ready. If you have time today, and are able to go
                to Wal-Mart buy three masks, go; it makes sense.

SHHAB:          Um.

HAMZEH:         Understand what I’m saying? It makes sense. Prepare our stuff and finish
                everything quickly.

SHHAB:          Should we get masks only, or also gloves?

HAMZEH:         [Lowering voice]. Listen, what we need from those people, two
                machineguns, and three silencers and three magazines.




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13   HAMZEH:     Okay, the second issue: I’m really worried about the blacks when we go to bring
14               them; the blacks that we will be purchasing them from, and you know that
15               Chicago is the dirtiest place, and the dirtiest blacks are the ones there.




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20   HAMZEH:            Mo spread the word. He spread the word widely, I’m telling you. This is a
21                      symbol that when I told you I will do my istikhara [guidance prayer] and if
22                      God wants that to happen, it will, and if not then it’ll be ruined. As you
23                      can see now it is ruined. So, just believe in God.
24   MUNTASSER:         What did he tell you?
25   HAMZEH:            Who?
26   MUNTASSER:         Carry on…
27   HAMZEH:            Yeah, he came to me and told me he heard that we are going to a Masonic
28                      temple and will start shooting.
29   SHHAB:             Oh [UI].
30   HAMZEH:            I swear, I am not lying to you at all. I told him, who told you that, man?
31                      We have never talked about this thing to begin with. He said, I heard that,
32                      and Samy don’t lie to me. I will not let you do that. I said, Mo, what are
33                      you talking about? He said, I know who is with and I know…anyway, I
34                      asked him who is with me, and how did you know? I told, if you know
35                      the story then I would know that you know about the thing but if you told




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1                      me something else then you are fabricating things. He told me you guys
2                      are going to a temple, so, and so….
3   SHHAB:             When you asked him who is with me, what did he tell you?
4   HAMZEH:            Wait, he continued with story. He said, you, Shhab and Muntasser are
5                      going to go to a temple, shoot and do such and such and such. . . and you
6                      will start shooting and such and such and such….
7   SHHAB:             Wow!
8   HAMZEH:            I swear by God Almighty.
9   MUNTASSER:         We are exposed.




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 2   HAMZEH:          He told me that, next year, there is a big possibility that they will attack us
 3                    next year. And at this time we are ready. The Sheikh told me everything. I
 4                    told him, what we are doing is right. He said: ‘What you are doing is
 5                    100% correct, but attacking them is wrong.
 6   SHHAB:           True. He has a point --
 7   MUNTASSER:       You want to tell me that he is also preparing himself?
 8   HAMZEH:          Listen my dear, he is a Sheikh. These are Sheikhs --
 9   MUNTASSER:       Sheikhs --
10   HAMZEH:          Yes, they are Sheikhs, these are the ones to refer to, and they are the
11                    scholars. These are the ones who guide the people; these are the ones who
12                    designate the right path from the wrong.
13   SHHAB:           True, true.
14   HAMZEH:          These are the ones. They will not going to buy weapons… these are not
15                    going to buy weapons and bring you weapons. These ones will not. You
16                    go and ask them…
17   SHHAB:           Guide --
18   HAMZEH:          And they will tell you what you are doing is right or wrong.
19   SHHAB:           They tell you [UI].
20   HAMZEH:          So you think about this matter and I said what I had to say.
21   MUNTASSER:       We are in agreement.
22   SHHAB:           We are in agreement.
23   HAMZEH:          We will go tomorrow and get the weapons, and I am ready tomorrow to go
24                    and get the weapons.
25   SHHAB:           And I am ready too.
26   HAMZEH:          I am ready to go tomorrow and get the weapons.
27   SHHAB:           And I am ready. What’s new with you regarding the weapons? What did
28                    he tell you?
29   MUNTASSER:       Tomorrow, that’s it -- --
30   HAMZEH:          Why I am saying about the weapons --
31   MUNTASSER:       Tomorrow for sure we will go --



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 1   HAMZEH:          Why do we need to go and get the weapons? It’s because we want to
 2                    guarantee your friend. Because if we got the weapons he will be sure
 3                    about us in case in the future if we need more we talk to him and he will
 4                    tell us come on.
 5   SHHAB:           True.
 6   HAMZEH:          But if we don’t want to go and get the weapons he will say that we are not
 7                    serious.
 8   SHHAB:           True, they are really not serious.
 9   HAMZEH:          But I am willing to go and get the weapons tomorrow.
10   SHHAB:           Me too.
11   HAMZEH:          And we hide them, and anything that happens to us, we are for it.
12   SHHAB:           If we get them tomorrow, where do we put the weapons?
13   HAMZEH:          In the storage; we get anything. Or everyone will take his own weapons
14                    and put them in his house.
15   SHHAB:           I am here, Samy. Where do I put them in my house?
16   MUNTASSER:       Put them in a hotel, man?
17   HAMZEH:          Give them to me and I will put them in my house for you.
18   SHHAB:           Ok, that’s fine.
19   HAMZEH:          I will put them in my basement for you.




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              Excerpt of Verbatim Translation of Discovery Disc 104 (FBI 105)
                           Page 15 line 22 to Page 16 line 25
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3   HAMZEH:          The fear is regarding the issue that the weapon is not licensed.




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               Excerpt of Verbatim Translation of Discovery Disc 104 (FBI 105)
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 1   MUNTASSER:       No one can find out anything, man. Do you think they check every
 2                    weapon, man? It’s up north, most of it…in the middle of the woods, man.

 3   HAMZEH:          And how much your guy told you?

 4   MUNTASSER:       $300, but if it is…If it is without a silencer, he could not [UI].

 5   HAMZEH:          I mean, 300 with a silencer? Which one is better? Should we get a silencer
 6                    or not?

 7   MUNTASSER:       [UI].

 8   HAMZEH:          What do you think, Shhab?

 9   MUNTASSER:       [UI.]

10   SHHAB:           What did you say?

11   HAMZEH:          I say: let’s not get the silencer, right? Let’s not get the silencer. We don’t
12                    need it.

13   MUNTASSER:       We talked about this yesterday, man. We said we will get it later if we
14                    need it.

15   HAMZEH:          Because if we bring a silencer, this will only increase, increase doubts
16                    about us.

17   SHHAB:           Right...

18   HAMZEH:          Do you follow me?

19   MUNTASSER:       Um.

20   SHHAB:           Right.

21   HAMZEH:          As to the weapon. I liked it. I liked to obtain. I mean, whatever happens, I
22                    like the weapons and I liked to obtain a weapon.

23   SHHAB:           Right.

24   HAMZEH:          I got it smuggled, I would be imprisoned for six months rather than being
25                    imprisoned because of a silencer for I intended to do something.




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               Excerpt of Verbatim Translation of Discovery Disc 104 (FBI 105)
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 6   HAMZEH:          You are getting an unlicensed weapon. This is what we are getting.

 7   MUNTASSER:       Okay.

 8   HAMZEH:          [UI.]

 9   SHHAB:           We are scared as much as the dealers are scared.

10   HAMZEH:          Because if we are caught in this, we will be considered as terrorists, there
11                    is no…It is inevitable, I mean.




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              Excerpt of Verbatim Translation of Discovery Disc 104 (FBI 105)
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2   HAMZEH:          I thought they would be like yours, man. We came on the basis that the
3                    weapon was like yours. That’s what we agreed on.

4   MUNTASSER:       Okay, you should not get upset with me, man.

5   HAMZEH:          But, that’s what we agreed on, Muntasser. It is not right that we come and
6                    find a different weapon, but, okay, it is okay. It is not a problem.




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